                  Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 1 of 99 Page ID #:1



                     N/S/I
                                                                                   ~~~~~




                                                ~
                                                l
                    MAG HOLDINGS TRUST ASSI~NE~~~      ~~~
                                                  ~,~Q~/                   ?OFD ~I~.~ _8 ~~ ~:
             1                                                                                   O$
                    M.L,WICKS BEN OF S.P.R.R.
             2
                    Emissary                                               vCEF R~~_~[~iSi~_GF~ ~~URT
                                                                                 ~~~ ~,~c~E5~l1~".
             3      3795147TH
                    PALMDALE, CALIFORNIA                                   BY_~,      `
      `~     4      213-314-9172                                                          ~"~``"---
        ~~
                    magholdingstrust2@gmail.com
  1          5
  t          6                                   UNITED STATES DISTRICT COURT
 '\
                                                      CENTRAL DISTRICT
 ~~           ~
,r~,~
 ~.          8
              9
                                                             Case No.:
             10
                                                             COMPLAINT TO QUIET TITLE,NOTICE OF
             11                                              DECREE AND ADJUDICATION OF 1902
                 ! M. A. R. Assignee for
                   MOYE JARVIS WICKS TRUST Moye              QUIETING TITLE UNLAWFULL TRANFERS,
             12                                              IMPERSONATION, CONSTRUCTIVE FRAUD,
                   Jarvis Wicks SUCCESSOR TR of the
                                                             MISEPRESENTATION,COLLUSION,DECEIT
             ~3    MOYE JARVIS WICKS TRUST, THROUGH OR
                                                             WITH THE INTENT TO DEFRAUD
                   UNDER DECEDENT, AND ALL PERSONS
                                                             EMBEZZELMENT BRIBERY,BUSINESS AND
                   UNFQ~IOWN CLAIMING AN INTEREST IN THE
             14                                              PROFESSION VIOLATIONS,CORPORATION
                   PROPERTIES ESTATES OF 1919 MIRAMAR
                                                             FRAUD, FRAUDULENT DEVALUATIONS AND
             15    STREET TRUST ASSETS,2000 MIRAMAR
                                                             ASSESSMENTS,PUBLIC OFFICER CRIME
                   STREET TRUST ASSETS,M.L.WICKS
                                                             PENAL CODE 424 ,TITLE 18,U.S.C,
             16    UNDERGROUND   BUNKERHILL TUNNEL SYSTEMS
                                                             Sec.731 CONSPIRACY TO COMMIT CRIMES
                   TRUST ASSETS, JENNIE L.WICKS,
                                                             AGAINST THE UNITED STATES:TITLE
             17    JENNIE L.WICKS GRAND STREET TRUST
                                                             26,U.S.C, Sec 7201-TAX
                   ASSETS,HELOW FIFTH & GRAND STREET
                                                             EVASION,INJUCTIVE RELIEF, MEMGRANDUM
                   TRUST ASSETS,M.L.WICKS TRUST ASSETS,
             18                                              OF POINTS AND AUTHORITIES; AGRIEVED
                   M.L.DlICKS, MOSES LANGLEY WICKS
                                                             PARTY DECLARATIONS OF JESSIE
                   JR,MILTON LANGLEY WICKS TRUST ASSETS,
             19                                              CRUZABAUER ,DECLARATIONS OF
                   M.L.W.TRUST ASSETS,PERCY L.WICKS,
                                                             M.L.WICKS,ASSIGNEE Mumina A.Rahman
                   PERCY L,.WICKS TRUST ASSETS,
             20                                              ,AND EXHIBITS IN SUPPORT THEREOF
                   P.L.W.TRUST ASSETS,ROSALIE ELCAN
             21    WICKS TRUST ASSETS ,SARAH AMANDA
                                                             Date ..      ,2015
                   WT_CKS ,SARAH :AMANDA WICKS TRUST
                                                             Time .. 8:30 am
             22    ASSETS,MOYE WICKS STEPHENS TRUST
                                                             Dept.
                   ASSETS, M05ES JARVIS WICKS TRUST
             23    ASSETS, WICKS FAMILY SUBDIVISION
                                                             CCP 526,527; CRC
                   FIRST AND HILL STREETS TRUST ASSETS W
                                                             Rules 3.1150 and 1202.
             24    I K J, M,L.WICKS EXTENSION OF SECOND
                                                             FILED AS TO
                   STREET TRUST ASSETS 1913, MATILDA L.
             25    WICKS STEPHENS,MATILDA L. WICKS
                   STEPHENS TRUST ASSETS, STEPHENS TRUST
             26    ASSETS, PRUDENT BEAUDRY TRUST
                   ASSETS,VICTOR BEAUDRY TRUST ASSETS,
             2'7   H.W.b1TLLS TRUST ASSETS, M.L. WICKS'
                   SUBDIVISION OF GARBOLINO,COOPER,
             2.$   SOUTH   A PORTER TRACT TRUST ASSETS,




                                Complaint to Quiet Title     Notice of Adjudication of 1902- 1
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 2 of 99 Page ID #:2




        B.D. WILSON TRUST ASSETS,SOUTHERN
        PACIFIC RAILROAD COMPANY TRUST
        ASSETS,SOUTHERN PACIFIC COMPANY TRUST
        ASSETS,SOUTHERN PACIFIC
  _j    TRANSPORTATION COMPANY TRUST ASSETS,
        UNION PACIFIC RAILROAD COMPANY TRUST
        ASSETS, M.L.WICKS SUBDIVISIONS TRUST
        ASSETS, LOS ANGELES AND SANTA MONICA
        LAND WATER COMPANY TRUST ASSETS, aka
        L.A.S.M.L.W TRUST ASSETS,ABSTRACT
  6     TITLE CGMPANY TRUST ASSETS, RANCHO
        SAN JOSE BUENOS AYRES SAN JOSE RANCH
        COMPANY TRUST ASSETS,CLAIMANT OF LOS
        ANGELES WATER COMPANY TRUST
        ASSETS,ATCHISON TOPEKA SANTA FE
        RAILROAD TRUST ASSETS,LOS ANGELES
 ,~     EXTENSION RAILWAY TRUST ASSETS,LOS
        ANGELES SANT?, MONICA RAII,WP_Y TRUST
iU      ASSETS,UNION RAILWAY TRUST
        ASSETS,LOS AIJGELES METROPOLITAN
"~1     TF2AN~3IT TRUST ASSETS GOLD LINE VP.LLEY
        RIVERSIDE SA11 ERNANDINO VENTURA COAST
1 <..   STARLIGHT SOUTHWEST CHIEF SUNSET
        LIMITED TEXAS EAGLF: PACIFIC SURFI,INER
13      METRO SILVER LINE METRO GREE2~ LINE
        METRO RED LINE CALIFORNIA HIGH SPEED
i9      RAIL TRANSBAY TERMINAL NATION.~L
        RAILROAD PASSENGER CORP, doing
~ ~,    business AMTRAK TRUST ASSETS, LOS
        ANGELES SAN GABRIEL VALLEY RAILROAD
1 c_~   TRUST ASSETS,SOUTHERN PACIFIC RAILWAY
        TRUST ASSETS,TH~ LOS ANGELES RAILWAY
        TRUST ASSETS,MAIN STREET F,ND
        AGRICULTURE PARK RAILROAD COMPANY
~o      TRUSTS ASSEmS,CLAIDIANT OF BELOW THE
        SURFACE OF SUBWAY TERMINAL 406 OLIVE
19      STREET 5149027004 5149027001
        5149027002 5149027BI2K TFACT 53831
_;      5149027018 5149027019 5149027020
         TRUST ASSETS,CLAIMAINT ANI) HOLDER IN
        DUE CGURSE IN BEHALF OF IRENE
        C.CHIRNSIDE 0273640 TRUST ASSETS, SIX
~~       HUNDRED AIdD ONE ACRE S OF PALNIDALE
        71AND PATENT ASSETS,SIX HUNBRED ANU
~3       FORTY ACRES OF LANCASTER LAND PATENT
         TRUST ASSFTS,HAWTHORNE ELECTRIC AND
24       WATER COMPANY TRUST ASSETS, BALLONA
         HARBOR IMPROVEMENT COMPANY TRUST
25       ASSETS, SIMI LAND WATER COMPANY TRUST
         ASSETS, MAP OF MOORPARi< TRUST ASSETS,
2b       M.L.SUBDIVISION OF PART OF U AND
         ADDITION TQ MOORPP,F~K IN THE Rr'~.NCHO
G -~     SIMI VENTliRA COUNTY CALIFORNIA TRUST
         ASSETS,MAPELTNE POINDDFi~TER TRUST
28       ASSETS,WICKS RQAD TRUST ASSETS,WICKS




                      Complaint to Quiet Title     Notice of Adjudication of. 1902- 2
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 3 of 99 Page ID #:3




       TAVERN ROAD TRUST ASSETS,WICKS CORNER
       TRUST ASSETS,LOS ANGELES AND PACIFIC
  2    LAND COMPANY TRUST ASSETS,MATEO
       STREET AND SANTA FE STREET CAR
  3    COMPANY TRUST ASSETS,SANTA MONICA
       WHARF AND TERMINAL RAILWAY TRUST
       ASSETS,LOS ANGELES TRACTION COMPANY
       TRUST ASSETS,ANAHEIM WATER COMPANY
       TRUST ASSETS,NADEAU TOWNSITE COMPANY
       TRUST ASSETS,SOUTH ANTELOPE VALLEY
       IRRIGATION COMPANY TRUSTS ASSETS,
       ASSETS,PUBLIC LAW 95-586 ACT OF
  i    CONGRESS ASSETS,PUBLIC LAW 780 ACT OF
       CONGRE,ri5 TRUST ASSETS,MUDD SPRINGS
  0 i~ TRUSTS ASSETS,ABITA SPRINGS TRUST
       ASSETS,PACIFIC LAND COMPANY LTD TRUST
       ASSETS,HERMOSA BEACH WATER COMPANY
       TRUST ASSETS,MOORPARK MUTUAL WATER
_0     COMPANY TRUS'P ASSETS,WICKS REALTY
       TRUST ASSET~,SIMI LAND WATER COMPANY
11     TRUST ASSETS,LOS ANGELES CITY WATER
       COMPANY TRUST ASSETS,WILLIAM MOORS
l      TRUST ASSETS,CRYSTAL SPRINGS WATER
       COMPANY TRUST ASSETS,CITIZENS WATER
1?     COMPANY TRUST ASSETS,G.J.GRIFFITH
       TRUST ASSETS,PHINEAS BANNING TRUST
       ASSETS,JUAN BERNARD TRUST ASSETS
       SUSANA MACHADO TRUST ASSETS,
1 ~.   M. L.WICTCS ADDITIIOIJ TO TOWN
       OF PORT BALLONA MR 23-33/36 093
16     093B153   185 ASSETS,PIO PICO TRUST
       ASSETS MARQUEZ FAMILY TRUST ASSETS,
17     LOS PNNGELES GAS AND ELECTRIC
       CORPORATION TRUST ASSETS, SOUTHERN
18     CALIFORNIA GAS COMPANY TRUST ASSETS,
       SOUTHERN COUNTIES GAS COMPANY OF
19     CALIFORN~ TRUST ASSETS, A.~.POMEROY
       TRUST ASSETS,S.C. HUBEI,L TRUST
20     ASSETS,I~LL UNKNOWN ASSETS OF LEMURIA
       ALL UNKNOWN ASSETS THROUGH FIRST EL
21     CALIFIA M.A.G.C, WORLD WIDE GOLD &
       SILVER TRUST ASSETS, G. WARREN
22     SHUFELT TRUST ASSETS,REX I.MCCREERY,
       TRUST ASSETS MARQUEZ FAMILY TRUST
23   ASSETS

29                      Plaintiff, vs.


25
     THE MAGUIRE PARTNERSHIP, INC aka The
26
     Maguire Partnership, Inc. M.
27
     ( IMPERSONATED. Wicks DOB:4-7.2-1652
28




                   Complaint to Quie~ Title    Notice of Adjudication of 1902- 3
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 4 of 99 Page ID #:4




        ENGSTRUM PARTNERSHIP, Inc. aka

 2      Engstrum Partnership, Inc. M.

 3      IMPERSONATED. Wicks DOB:4-22-1852

 q      FORTY THIEVES, INC aka The Forty

        Thieves, INC. M. IMPERSONATED. Wicks

        DOB:4-22-1852




 s~                       Defendants

 9




                         "THE MASTER MIND BEHIND GETS THE MOST TIME"
,,
                                                     TFABY O
,~
             Plaintiff, MOYE JARVIS WICKS TRUST alleges as follows:
  _;
        Plaintiff is, and at all times material hereto for over one hundred years a o
15
        public body, authorized CR 3801 and entitled to exercise the power of Eminent
16

,,      Domain for public purposes, ART I Section 19 of California Constitution,

        California Utilities Code Section 3000, 33027 and Sections 130000-132650 and
_/
                                                                                  by
_ ,     California Code of Civil Procedure 124010 -1273.00 and existing under and

_~      virtue of 83dCONGRESS PUBLIC LAW 780 Chapter 1264 2d Session H.R.9859 RIVERS

        AND HARBORS, 95th Congress Public Law TITLE -VALIDATE THE CONVEYANCE OF
~~ ~

        CERTAIN LAND IN THE STATE OF CALIFORNIA BY THE SOUTHERN TRANSPORTATION COMPAN'
L~

        forming part of the right-of-way granted by the United States to the Central
  .~

                                                                                   of
        Pacific Railway Company under the Act entitled" An Act to aid construction
~,,

        a railroad and telegraph line from the Missouri River to the Pacific Ocean,

        and to secure to the Government the use of the same for postal, military and
~c
        other purposes" approved July 1, 1862(12 Stat.489, as amended, are hereby


   st




                        Complaint to Quiet Title   Notice of Adjudication of 1902- 4
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 5 of 99 Page ID #:5



                                                                            States i
 1     legalized, validated and confirmed, as far as interest of the United

                                                                           if the
       such land is concerned, and shall have the same force and effect as

                                                                             e under
       land involved in each conveyance had held, on the day of the conveyanc

       absolute free simple title by the Southern Pacific Transportation Company,

       subject to reservation to the United States of the minerals therein.

       Title II- To CONFIRM A CONVEYANCE OF CERTAIN REAL PROPERTY BY THE SOUTHERN

       PACIFIC RAILROAD TO M.L.WICKS.

                                                                                real
       The conveyance described in section 202(a) of this Act involving certain

       property in Los Angeles County, California, is hereby confirmed i9n the

       successors in interest to M.L.Wicks, the grantee of such conveyances, with

       respect to interest of the United States in the rights to the real property

1 ;'   described in section 202(b) of this Act. Portions of the real property

13     described in section 202(b) formed part of a right away granted to the

                                                                                 the
i4     Southe=n Pacific Railroad Company, a corporation, by the United States by

                                                                                  in
15     Act entitled "An Act to incorporate Texas Pacific Railroad Company, and to

ir     the Construction of its Road, and for the purpose "approved March 3, 1871

~7     (Stat.573)   M.L. Wicks, Government Licensee and Assignee for Secured Party

1      creditor organized and existing under and by virtue of trust laws and

                                                                              other
~ c,   according to the Friendship and Peace Treaties, International Laws and

20     various entities governed by Government Code 6103.

                                                                                trus
21     Defendants is and all times are various individuals and corporations and

22     organizations.

23                          I.   FIRST CAUSE OF ACTION


24        1. Plaintiff is the owner of title to properties since 1887, in fee simple

75     absolute, adjudged and decided on the on the Fifth of March 1902, in

                                                                              subjec
26     the case of S.J Northcutt vs. Wicks et,al , the properties in which is

                                                                       4TICKS "OPMLW"
27     of this action is hereafter, referred to as the "OPERATION M.L.

                                                                      ownership in
~g     A decree quieting title and dispute of certain land rights and




                     Complaint to Quiet Title   Notice of Adjudication of 1902- 5
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 6 of 99 Page ID #:6




    1
                                                                               of
        Real and Personal Assets including leases and annuities in a multitude
;~
        Properties previously adjudicated.
    i
                                                                                1574
        Exhibit "A" Decree to Quiet Title and Adjudication of M. L. Wicks, Book
    i
        Pages 17 to 28 of Deeds and authenticated by Exhibit A-1 Notice of Public

                                                                                8
        Records recorded March 7, 1902 in Los Angeles Herald Volume Number 158,
    0
        March 1902 and by Exhibit A-2 Indenture of Appurtenances and Leases Filed in

        Book 319 page 47 and A-3, followed by A-4 SHIPING AND WAREHOUSING INDENTURE

        PAGE 462 BOOI{ 2 r1ISCELLANE0U5 RECORDS AND BOOK MISCELLANEOUR RECORDS PAGE 508
    9
        2 PAGE EXHIBITS A, 1, 2, 3, 4
~G

           2. At no time did the plaintiff and defendants directly enter into any

~2      agreement in writing willingly. The defendants made agreements with certain

i3      other organizations, charters, banks and institutions regarding annuities,

        bonds, real estate, private railroads belonging to the plaintiffs herein.         I
1~

1`      At various times plaintiff successors in interest and associates made

i       unauthorized agreements to lease certain tenements, THROUGH OR UNDER

1       DECEDENT, AI~TD ALL PERSONS UNKNOWN CLAIMING AN INTEREST IN THE PROPERTIES

18      ESTATES OF 1919 MIRAMAR STREET TRUST ASSETS, 2000 MIRAMAR STREET TRUST

19      ASSETS, M.L.WICKS UNDERGROUND BUNKERHILL TUNNEL SYSTEMS TRUST ASSETS, JENNIE

20      I~.WICKS, JENNIE L.WICKS GRAND STREET TRUST ASSETS, BELOW FIFTH

LI      & GRANDSTREET TRUST ASSETS, M.L.WICKS TRUST ASSETS, M.L.WTCKS, MOSES LANGLEY

22      WICKS JR, MILTON LANGLEY WICKS TRUST ASSETS,M.L.W.TRUST ASSETS, PERCY L.WICKS,

23      PERCY L, WICKS TRUST ASSETS, P.L.W.TRUST ASSETS, ROSALIE ELCAN WICKS TRUST

24      ASSETS ,SARAH AMANDA WICKS, SARAH AMANDA WICKS TRUST ASSETS, MOYE WICKS

25      STEPHENS TRUST ASSETS, MOSES JARVIS WICKS TRUST ASSETS, WICKS FAMILY

26      SUBDIVISION FIRST AND HILL STREETS TFUST ASSETS W.I.K.S. J,

27      1913, M.L.WICKS EXTENSION OF SECOND STREET TRUST ASSETS, MATILDA L.

29      WICKS STEPHENS,MATILDA L. WICKS STEPHENS TRUST ASSETS, STEPHENS TRUST ASSETS,




                     Complaint to Quiet Title   Notice of Adjudication of 1902- 6
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 7 of 99 Page ID #:7




 1
                                                                              TRUST
         ?RUDENT BEAUDRY TRUST ASSETS, VICTOR BEAUDRY TRUST ASSETS, H.W.MILLS
,
,
                                                                              TRACT
         ASSETS, M.L. WICKS' SUBDIVISION OF GARBOLINO, COOPER, SOUTH A PORTER

         'RUST ASSETS, B.D. WILSON TRUST ASSETS, SOUTHERN PACIFIC RAILROAD COMPANY

                                                                               TION
          ASSETS, SOUTHERN PACIFIC COMPANY ASSETS, SOUTHERN PACIFIC TRANSPORTA

         :OMPANY TRJST ASSETS, UNION PACIFIC RAILROAD COMPANY ASSETS M.I,.WICKS

                                                                              COMPANY
          SUBDIVISIONS TRUST ASSETS, LOS ANGELES AND SAN'PA MONICA LAND WATER
 i
                                                                             TRUST
         'RUST ASSETS, aka L.A.S.M.L.W TRUST ASSETS, ABSTRP,CT TITLE COMPANY
    ~s
          ASSETS, RANCHO SAN JOSE BUENOS AYRES SAN JOSE RANCH COMPANY TRUSm ASSETS,
 :~
         :LA.IMANT OF LOS ANGELES WATER COMPANY ASSETS,ATCHISON TOPEKA SANTA FE RAII,ROA
~0
         'RUST ASSETS, LOS ANGELES EXTENSION RAILWAY TRUST ASSTS, LOS ANrELE5 SANTA
ii
          fONICA RAILWAY TRUST ASSETS, UNION RAIT_,WAY ASSETS, LOS ANGELES METROPOLITAN

         'RA2dSIT ASSETS GOLDLINE, VALLEY, ORANGE, RIVERSIDE, SAN BERNANDINO, VENTURA,
l3
          :OAS'P STARLIGHT SOUTHWEST CHIEF SUNSET LIMITED TEXAS EAGLE PACIFIC
19
          URFLZNER METRO ~1LVER LINT METRO GREEN LINE METRO RED LINE CALIFORNIA HIGH
i~
          PEED RAIL TRANSI3AY TERMINAL NATIONAL RAILROAD PASSENGER CORP, doing business
1 F;
          MTRAK ASSETS, CLAIMANT OF BELOW THE SURFACE OF SUBWAY TERMINAL 406 OLIVE

          TREET 5149027004 5149027001 5149027002 5149027BRK TRACT 53831 5149027018
1
          14902"1019 5149027020 TRUST AS~~TS, CLAIMAINT PL'1D HOLDER IN DUE COURSE IN
;~
          EHALP OF IRENE C.CI32RNSIDE C273640 TRUST ASSETS, SIX HUNDRED AND ONE 1;CRES

          F PAIdVIDALE LAND PATENT ASSETS, SIB{ HUNDRED A~1D FORTY ACRES OF LANCASTER LAND
?1
          ATENT TRUST' ASSETS, BALLONA HARBOR IMPROVEI~NT COMPANY TRUST ASSETS, SIbi.T.
,,

          A2~~ll WATER COM~AN`I TRUST ASSETS, MAP OF MOORPARiC TRUST ASSETS,
~~
          .L.SUBDIVISION OF PART OF U AND ADDITION TO MOORPARK IN THE FZANCHO SIMT
24
          ENTURA COUNTY CALIFORNIA TRUST ASSETS, ?IADELINE POINDDEYTER TRUST ASSETS,
25
          ICKS ROAD TRUST ASSETS, WICKS TAVERN ROAD TRUST ASSETS, WICKS CORNER
2.6
          RUST i1SSET5, LQS ANGELES AND PACIFIC L•AI~TD COY4PANY TRUST ASSETS,MATEO STREET
27
          ND SANTA FE STREET CA.'2 COMPANY TRUST ASSETS, SANTA MONICA WHARF AND
28




                       Ccmplaint to Quiet Title    Notice of Adjudication. or 1902- 7
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 8 of 99 Page ID #:8




  i    TERMINAL R.~ILWAY TRUST ASSETS, LOS ANGELES TRACTION COMPANY TRUST

       ASSETS, ANAHEIDi WATER COMPANY TRUST ASSETS, NADEAU TOWNSiTE COMPANY TRUST

  j
       ASSETS, SOUTH ANTELOPE VALLEY IRRIGATION CGMPANY TRUSTS ASSETS, SOUTHEF~N

       PACIFIC RAILWAY TRUST ASSETS, THE LOS ANGLES RAILWAY TRUST ASSETS, MAIN

       STREET AND AGRICULTURE PARK RAILROAD COMPANY TRUSTS ASSETS, PACIFIC LAND

       COMPANY LTD TRUST ASSETS, HERMO~A BEACH WATER COMPANY TRUST ASSETS,

  1    MOORPI~~EC MUTUAL WATER COMPFNY TRUST' ASSETS, WICKS REALTY SYNDICATE TRUST

  ~}   ASSETS, SIMI LAND WATER COMPANY TRUST ASSETS, LOS ANGELES CITY WATER COMPANY

       TRUST ASSETS, WILLIAM MOORS TRUST ASSETS, CRYST.~L SPRINGS WATER COMPANY TRUST

1J     ASSETS, CITIZENS W~TEF. COMPANY TRUST ASSETS, LYLE CREEK TRUST ASSETS

i~     G. J.GxtIFFITH TRUST ASSETS, PHINEAS BANNING TRUST ASSETS, JUAN BFRNF~FtD TRUST

       IySSET5, S:JSANA MACHADO TRUST ASSETS, PIO PICG TRUST ASSETS, MARQUEZ FAA1"1LY

~L     TRUST ASSETS, LOS ANGELES GAS AND ELECTRIC CORPORATION TRUST ASSETS, SOUTHERN

7 -1   CALIFORNIA GAS COMPANY TRLIST ASSETS, SUUTFi~RN CAI~IFURN EDISON COMi~PNY TRUST

i '~   ASSETS, HAWTHORNS ELECTRIC AND WATER COMPANX TRUST A.~SETS, SAN DIEGO GAS

.E     ELECT"RIO COMPANY TRUST ASSETS, SAN DIEGO ARIZONA AND ESTERN RAILWAY TP.UST

       ASSETS, SAN DIEGO P.ND ARIZONA RAILWAY TRUST ASSETS, METROPOLITAIN WATER

lc     DISTRICT TRUST ASSETS, CLAIRMONT TRUST ASSETS, ROSEMEAD TRUST ASSETS,

19     GLENDORA TRUST ASSETS, SAN PEDRO TRUST ASSETS, WILMINGTON TRUST ASSETS,

20     LUFLINGER TERRITORY TRUST ASSETS, REDONDO LAND COMPANY TRUST ASSETS, MARINA

LZ     DEL'REY TRUST ASSETS, SOUTHERIQ COUNTIES GAS COMFANY OF CALIFOr'ZNA TRUST ASSET ,

22     A.E.POMEROY TRJST ASSETS, S.C. HJBBELL TRUST ASSETS, ALL UNKNOWN ASSETS OF

23     LENitiRIA ALLY UNKN.7WN ASSETS THROJGH FIRST EL CA'LIFIA, M.A.G. C, WORLD WIDE GOLD

24     & SILVER TRUST ASSETS, G. WARREN SHUF~LT T12UST ASSETS, REX I.MCCFtEERY,

2J     DIARQUE: FAMILY TRUST ASSETS, NORTHWEST TERRITORY ELDER TRUST ASSETS

26

27
          3. An ar_tual and justifiable controversy now exist between the parties as
G J




                     Complai:~t to Quiet Title   Notice of P_djud=cation of 1902- 3
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 9 of 99 Page ID #:9




 1     To their respective rights and duties under the Family Trusts former

       Leaseholds claimed by defendants named herein.

                                                                              TRUST,
       Moye Jarvis Wicks was and is the Successor to MOSES JARVIS WICKS FAMIY

       SARAH AMANDA JENNINGS WICKS TRUST, MATILllA L. STEPHENS WICKS TRUST,

       M.L.WICKS TRUST and MILTON LANGLEY WICKS TRUST ET AL.

 c     Notwithstanding any other trust created by such trust.

 7     Since the death of Trustee Milton L. Wicks there have been no new agreements

 8     made directly with by or between the defendants named in the complaint.

  ~~      A . Plaintiff has sought to find numerous properties belonging to the

~U     The trust by fraudulent transfers. All traces went back to the defendants, t

       records which were adverse and hostile to plaintiffs' claims of ownership

       thereof:

       In many instances under the Government Doctrine no taxes were due on the land.

~4     We do have ta:c~n possession of a few properties described herein.

15     The defendants and their consorts have contacted us in regards to our claims

1 ~5   but they have avoided the Trustee by refusing to compensate for any losses

1 -,   suffered regarding contracts, leaseholds and the selling of plaintiff assets.

18     The intentions of the each and every defendant was to defraud the victims.

19        5. Plaintiff through Operation M.L.Wicks "OPMLW" have given Notice

20     To Officials in charge of San Diego, Los Angeles and Ventura County Archives

21     that Probate Case Number P44995 for M.L.Wicks is gone missing and also, Case

22     Number P057729 and P58439 for M.L.Wicks Jr. and part of Percy L. Wicks Probat

23     Case Number 36443 has also gone missing. EXHIBITS E 1, 2,3,4,5 Missing Cases

24        6. Plaintiffs' claims are SUPERIOR CLAIMS through Water and Land Patents

25     and Private Railroads properties. The claims of land are extensive and are in

26     every area in UPPER and LOWER CALIFORNIA, SAN DIEGO, SANTA ANA, GLENDALE,

27     POMONA, REPUBLIC OF MEXICO, SAN FRANSCISCO, MALIBU, VENICE, HAWTHORN, EL

28     SEGUI~TDO, OCEAN VEIW {5ANTA MONICA}, MOORPARK, BE~7ELYHILLS, NORTH HOLLYWOOD,




                    Complaint to Quiet Title   Notice of Adjudication of 1902- 9
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 10 of 99 Page ID #:10




    1
                                                                               .
          TEJUNGA, UNINCORPORATED AREAS, and ANNEXATIONS named in the complaint

             Plaintiff will prove up at trial that we have never received Notice
    3
                                                                            unknown
          about any abandonments had by defendants or their corporations or
    q
          persons working in concert with them.
    7
                                                                                the
          No leaseholds or purchases of trust properties have been presented by
    e:
          defendants to the Trustor Moye Jarvis Wicks. Moye Jarvis Wicks is of

          sound mind, witnessed by current contracts and orders, executed and

                                                                                  and
          signed by him. The principal trust remains in existence with full force
    c
          effect since the year 1822 and are to remain the same perpetually.
~ r)

„_            7. The Defendants, THE MAGUIRE PARTNERSHIP, INC aka The Maguire


1~        Partnership, Inc. M. IMPERSONATED. Wicks DOB:4-22-1852, ENGSTRUM PARTNERSHIP,


13        Inc. aka Engstrum Partnership, Inc. M. IMPERSONATED. Wicks DOB:4-22-1852 FORT

1_ /~     THIEVES aka The Forty Thieves, INC. M. IMPERSONATED. Wicks DOB:4-22-1852, we

                                                                                       s
i         have discovered have had a personal and business relationship with plaintiff


16        former attorneys at law. It was through these means and other insider inform-

i         ation that these defendants learned of the whereabouts of plaintiffs numerous


l~        properties.


1 ~^ I       8. Upon discovery of fraud committed and created by defendants OPERATION

                                                                                  and
20        M.L.Wicks OPMLW was created to recover all assets remaining undisclosed


21        Unlawfully transferred. There are a multitude of properties and claims of


22        ownership or and or interest rights claimed by plaintiffs. We have been

                                                                                     ow
23        working diligently to learn and receive information. Each property has its

                                                                                    y
24        footprint or assessor number assigned in ~ahicli they had to be surgicall

                                                                              defendant
25        analyzed and investigated while serving constructive notices to the


26        and their known affiliates and associates.


27        It has been discovered through "OPMLW" Plaintiff and Defendants, have

                                                                              and re
28        associates in common and that the defendants impersonated M.L.Wicks




                        Complaint to Quiet Title   Notice of Adjudication of 1902- 10
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 11 of 99 Page ID #:11




  1
                                                                          thereof,
         entered into the old agreements, and to actions in contemplation

                                                                                    s.
         which provided for the conveyances to defendants legal teams and associate

         We have given constructive notice to defendants in regards to expired leases

                                                                                 result
         terminations and encroachments and for almost two years to date without

         of payments by the defendants.
  6
             9. Plaintiff seeks to quiet title against defendant's claims of fee

         Simple Absolute title, the properties Defendants claim is without right,

                                                                                       s
         and defendants has no right, title estate, lien, or interest in the propertie
   y
         or any part thereof.
~~ ~i
             10. Plaintiff seeks to quiet title as of MARCH 7, 1902 by Judgment and
-,
                                                                                         A
         Decree Entered and Entitled by the name, Northcutt vs Wicks et, al Exhibit
1~
             11. The defendants have been maintaining, holding, selling, loaning,
'_ 3
         parting, donating, transferring negotiating, forcing, trapping, changing the
l~
         integrity of all the properties and holding back plaintiffs' properties
15
         without any due compensation.
l b"
             12. The plaintiff has had a long term contracts with the defendants
11
         associates in in common. The defendants used their position with the
18
         associates to unlawfully acquire plaintiff's properties through
19
         leaseholds that expired. More of the leases will expire after the year 2015
20
         or after ninEty nine years is up.
21
             13. Defendants, and each of them, on the other hand contend that the
22
                                                                                and
         subject properties was properly acquisitioned, acquired, and purchased
23
         was proper and in fact made statements that no violation of theft. or federal
24
         laws were violated or occurred at any time.
25
             14. Plaintiff is informed and believes and based upon information and
26
         belief thereon alleges that defendants, and each of them, may deny the
27
         contentions of Plaintiff.
28




                      Complaint to Quiet Title   Notice of Adjudication of 1902- 1.1
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 12 of 99 Page ID #:12




 1         15. Plaintiff claims to be the owner of certain properties, these acts of

 2     defendants would amount to a dedication, we have not dedicated certain lands

 3     to them and if we did we have the power to recall and rescind it as long as

 4     it is not used for the purposes intended.

 5     Our remedy, if any, would be to seek compensation for the use and or Quiet

 6     Title.

 7     Without some restraint the State, or its authorized agent, could take

 8     private property for public use without first paying for it and we know of no

 9     reason why a person may not waive his constitutional right, and allow his

10     property to be first taken and then paid for, or be taken without any

11     compensation whatever. C. C. 3,513 3,515 Fifth Amendment Just Compensation

ZL
           16. Plaintiff request a judicial determination of the respective rights
i3
       and duties of Plaintiff and Defendants with respect to the property.
14
       More particularly, Plaintiff seeks to a judicial declaration that:
15
                (a)        All unlawful transfers is void.
16
                (b)        Defendants have violated Federal Law:
17

18              (c)        Defendants violation of Federal Laws has harassed

19                         Plaintiff intentionally.

20              (d)        Plaintiff is the rightful owner of the property: and

?.1             (e)        Plaintiff is entitled to an Order of this Court canceling

?2                         any Deed ,or Instruments quieting Title in the Plaintiff,

23                         free and clear of claim of any defendants named herein.

24              (f)        Plaintiff is not only entitled to compensatory relief but

25                         Should receive full restoration and return of their

26                         properties held unlawfully by defendants.

27

28




                      Complaint to Quiet Title   Notice of Adjudication of 1902- 12
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 13 of 99 Page ID #:13




     J




                                II.    SECOND CAUSE OF ACTION

                                      AGAINST ALL DEE'ENDANTS

                                  IMPERSONATION, CONSTRUCTIVE ~'RAUI~,

                                      MISEPRESENTATION, COLLUSION,

                                  DECEIT WITH THE INTENT TO DEFRAUD


1:
               17. Plaintiff repeats, r~alleges and incorporates by reference
_ ~
          Paragraphs 1 through 14, inclusive hereinabove, as though fully set forth

          Herein.
~ z
          'laintiff's estate has been impaired by the defendants usurping of plaintiffs
i9
           .ames and estate. At every vocation we go to make claims of our property the
,~
           defendant's names and addresses are present. Making claims to the Wicks
16
           properties. It's happening in every city, township, at every port, every
i ~
           .arbor, claimed waterways, all terminus and annexations.
18
               18. The def.~ndants have defrauded Plai.ntiff_s by deceit and impersonation
19
           ith intent to deceive, criminally done with the intention of gaining an
20
           dvantage over the plaintiffs and heirs oP M.L. Wicks DOB:4-22-1852.
21
            deceptive trick, scam, game, artifice, cabal which is and was committed to
?_ 2.
           Beat, mislead the family, and contributing something useless to some~hing in
23
           rder to gain advantage. The defendants maintained an existing misjudgment to
24
           nduce others to make a contract with them. They enriched themselves by
25
           ntentionally reducing the value worth of assets in secret.
26
           lie Fraudsters did not make a wrong, mistake, error involuntarily and
27
           nr_onsciously it was their intentions to methodically take over every
2~




                       Complaint to Quiet Title    ~lotice of Adjudication of 19J?.- ].3
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 14 of 99 Page ID #:14




1     property and (All) assets belonging to M.L. Wicks DOB:4-22-1852 mentioned

2     within this missing or stolen probate case.   Debugging the Impersonation and

3     frauds which are heavily committed on documents and bring them to light has

4     been difficult but not impossible task. Experienced auditors detected fraud

5      hanks to their knowledge and experience. The defendants have left traces and

6 ~ ~our experienced auditors have found actual fraud. We have found tr:e fraud and

 7    Fraudsters by tracking traces.

8        a.    The imposters Modus of Operandi was to link up with insurance

 9    companies, water companies, train technology, assessors, light & power

10    suppliers, all community based facilities owned and operated by P;.L.Wicks.

11       b. To a~qui.re a leasehold in these properties was the goal, then they

~2    would fish a loan on the leasehold, in many cases these are subleases.

13    Next the defendants would petition city officials to use their eminent domain

14    Doctrine to acquire properties. In some cases. The defendants would give cash

15    In hand for the favor of using the City's Charter Powers under Taking Rules.

16    Under Health & Safety Codes.

17    Then at last they would lose the property at foreclosure sale,or, purpose, and

18    to buy it back from their fr.ie~ds with the banks help at a lower price.

19    Never loosing they kept the initial loan monies and then brought bark the

20    properties keeping them for over thirty years in M.L.Wicks inventory.

21    The subject properties are always devaluated way below market value.

2L       c. While in possession in many cases they changed names at thz recorders

23    begin b~:ildirg the profile. They ultimately procured a loan.

24    Meanwhile working the title information that occurs when you record a

25    document. Using M.L.Wicks Title and Insurance companies to effectuate their

26    plans.

27    In many cases the Eminent Domain cases were filed and then dismissed.

Zs    No final judgments were sought, only a rouse to acquire the properties long




                    Complaint to Quiet Title   Notice of Adjudication of 19Q2- 14
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 15 of 99 Page ID #:15




        Term.

        We will prove up by a Jury Trial, evidences to support our contentions.




                              III. THIRD CAUSE OF ACTION

                                   AGAINST ALL DEFENDANTS

                                        GRAND THEFT,
  i



                18. The undersigned is informed and believe that:
  r~
        On about April 3, 1977 in and throughout the Southern and Northern District
10
        of the Republic of California, San Diego, Los Angeles and other Counties
l~
        including out of state and internationally, the defendants was an agent,
~ ~~
        servant, and employee, investor in the State of California, did unlawfully
i3
        take from said Republic of California and the Wicks Family member's money and
'~ 9
        personal property of a value exceeding Four Hundred Dollars ($400), THE
~~
        MAGUIRE PARTNERSHIP, INC aka The Maguire Partnership, Inc. M.IMPERSONATED.
1G
        Wicks DOB:4-22-1852, ENGSTRUM PARTNERSHIP, Inc. aka Engstrum Partnership,
17
        Inc. M. IMPERSONATED Flicks DOB:4-22-1852, FORTY THIEVES, INC aka The Forty
18
        Thieves, INC. M. IMPERSONATED. Wicks DOB:4-22-1652 and entered into an
19
        agreement together to Commit GRAND THEFT PENAL CODE SECTION 424 (a), was
20
        committed by defendants, who being the person described in Penal Code 424
21 I~
        charged with the receipt, safekeeping, transfer, and distribution of public
2z
        moneys, did in a manner not incidental and minimal knowingly keep a false
23
        account, and make a false entry and erasure in an account of relating to the
24
        same with the intent to impersonate M.L.Wicks and take over his properties
25
        and assets.   All defendants are being charged with the receipt, safekeeping,
26
        transfer and distribution of public and private monies, did in a manner not
27
        incidental and without authority of law, appropriate the same, did and a
28




                      Complaint to Quiet Title   Notice of Adjudication of 1902- 15
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 16 of 99 Page ID #:16




 1     portion thereof, to personal use and the use of another.

       On December 5, 1919 M.L.Wicks was run over by a car driven by Louis C. Hill

       of The Hollingsworth Construction Company at age (67) Sixty Seven years of

 ~~    age. Leaving behind three sons, namely M.L.Wicks Jr., Milton Wicks and
       Percy L. Wicks. , M.L.Wicks Jr died in 1922, two years after the death of

       his father, Percy Wicks died in 1949 at his home in MOORPARK California,
 6
       Milton L. Wicks died in the year 1972. The current Successor Trustee MOYE

       JARVIS WICKS the first grandson of M.L.Wicks, son of Milton L. Wicks, is
 8
       Eighty five (85) years of age.

       All defendants have been NOTICED that Constructive Claims have been filed
 C;
       against there, through State of California Secretary Of State's Office

       See EXHIBIT          U.C.C.LIENS COLLATERALIZATION ATTACHMENT CLAIMS

       Although, M.L.Wicks being dead for (95) Ninety Five years his Trusts are

       currently entitled to annuities and still owns multiple properties and assets,
I~
       including land patents, leases, mines, irrigation rights, and extensive
1.5
       railroad interest. EXHIBIT               LEASES, MINING, ELECTRIC RAILROADS
16
            19. On or about December 5, 1919 by the acts of Defendants THE FORTY

       THIEVES and their present accomplices they allegedly caused harm to the

       personal effects and assets of M.L.Wicks.
1G
       The Trusts properties have been looted with the help and assistance of
20
       M.L.Wicks own Legal Representatives, unfortunately John D. Bicknell
21
       Law offices worked alongside defendants NO"l, NO"2 NO"3 this has been
2?_
       presented into the courts records.
23
       EXHIBIT B DECLALRATIONS OF JESSIE CRUEZABAUR
24
       FILED BY LAW OFFICES OF CHAPMAN & CHAPMAN
25

26

27
       //
28     //




                     Complaint to Quiet Title     Notice of Adjudication of 1902- ?6
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 17 of 99 Page ID #:17




 1 i//
    //
    //
    //
 3  //
       //
 9     //
                        IV. PUBLIC OFFICER CRIME

                    BRIBERY CONSPIRACY TO COMMIT MISAPROPRIATION

                             OF PUBLIC AND PRIVATE FUNDS

            20. Plaintiff repeats, realleges and incorporates by reference Paragraphs

       1 through 18, inclusive, hereinabove, as though fully set forth herein.

       The defendants named herein has become aware of the eternal legal discord by

       And between F.A BERLIN, the convicted attorney for Jennie L. Wick's

       plaintiffs the (GRANDMOTHER) In Re: ADMINSTRATOR OF JENNIE L.WICKS case.

       See EXHIBIT B    Jessie Cruzebaur Declarations filed by LAW OFFICES OF

       CHAPMAN & CHAPMAN.
].9
       The properties here mentioned in the Complaint with Declarations
1.
       currently describe some of the lost assets complained about by
16
       Jessie Cruezbaur the daughter of Jennie L. Wicks during her mother's ten year
17
       Probate case.
18
       It is alleged that the property described in the above case that each of
19
       these defendants knowingly asked for, recei~,~ed, and agreed to receive of and
GO
       from each other, a bribe of ONE HUNDRED THOUSAND DOLLARS (100,000.00) and to
21
       steal over T~~O HUNDRED AND TWENTY BILLION DOLLARS ($224,000,000,000.00) for
22
       the purpose of influencing the action of said defendants and upon an
23
       agreement and understanding that the action of said defendants upon a matter
24
       thin pending before the said defendants in their px•ivate and official
25
       capacities, to wit Exclusive Partnership with each other to be the
26
       (PRINCIPALS OF LOS ANGELES).
27
       M.L.Wicks was and is known as "THE PRINCIPAL OF LOS ANGELES".
28




                    Complaint to Quiet Title   Notice of Adjudication of 1902- 17
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 18 of 99 Page ID #:18




       The Trusts and its victims are accusing each and every defendant with PERJURY

       BY DECLARATION, THE MAGUIRE PARTNERSHIP, INC aka The Maguire

 3     Partnership, Inc. M.IMPERSONATED. Wicks DOB:4-22-1852, ENGSTRUM PARTNERSHIP,

 9     Inc. alca Engstrum Partnership, Inc. M. IMPERSONATED Wicks DOB:4-22-1852

       On or between April 3, 1977 and December 11, 2015 throughout California,

       Pennsylvania, Illinois, New York, Republic of Mexico, Texas, Virginia,

 _~
       Mississippi, Arizona, the crime of PUBLIC RECORDS VIOLATION, in violation of.

 8     GOVERNMENT CODE SECTION 6200, a Felony, was committed by defendants THE

 9     MAGUIRE PARTNERSHIP, INC aka The Maguire Partnership, Inc. M.IMPERSONATED.

10     Wicks DOB:4-22-1852, ENGSTRUM PARTNERSHIP, Inc. aka Engstrum Partnership,

11     Inc. T1. IMPERSONATED Wicks DOB:4-22-1852, who is an officer having custody of

ZG     a record, map, book, paper and court proceeding, filed a deposited in a

13     public office, and placed in the defendants hands and, as to the whole or

"14    part thereof, did steal, remove, secrete, destroy, mutilate, deface, alter

15     and falsify said documents.

16
                                     V. CORPORATE FRAUD
17
            21. Plaintiff repeats, realleges and incorporates by reference
18
       Paragraphs 1 through 19, inclusive, hereinabove, as though fully set Forth
19
       herein.
20
            22. At all times material to this Information, defendant THE MAGUIRE
21
       PARTNERSHIP, INC aka The Maguire Partnership, Inc. M.IMPERSONATED.
22
       Wicks DOB:4-22-1852 was the Original Party who manufactured and cause direct
23
       injuries to the properties of. Plaintiffs, Mumina A. Rahman Assignee for
24
       MOYE JARVIS WICKS TRUST TR SUCCESSOR TR Moye Jarvis Wicks of the MOYE
25
       JARVIS WICKS FAMILY TRUST, THROUGH OR UNDER DECEDENT, AND AI,L PERSONS
26
       UNKNOWN CLAIMING AN INTEREST IN THE PROPERTIES ESTATES OF 1916 1919 MIRAMAR
27
       STREET TRUST ASSETS, 2000 MIRAMAR STREET TRUST ASSETS, M.L.WICK5 UNDERGROUND
~1




                    Complaint to Quiet Title     Notice of Adjudication of 1902- 18
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 19 of 99 Page ID #:19



                                                                              GRAND
       'BUNKERHILL TUNNEL SYSTEMS TRUST ASSETS, JENNIE L.WICKS,JENNIE L.WICKS

                                                                                TRUST
        STREET TRUST ASSETS, BELOW FIFTH & GRAND STREET TRUST ASSETS, M.L.WICKS

  j
        ASSETS, M.L.WICKS, MOSES LANGLEY WICKS JR, MILTGN LANGLEY WICKS TRUST

        ASSETS, M.L.W.TRUST ASSETS, PERCY L.WICKS, PERCY L.WICKS TRUST ASSETS,

  r     P.L.W.TRUST ASSETS, ROSALIE ELCAN WICKS TRUST ASSETS, SARAH AMANDA WICKS,

  c,    SARAH AMANDA WICK5 TRLIST ASSETS, MOYE WICKS STEPHENS TFUST ASSETS, D10SE5

 7      JARVIS WICKS 1RUST ASSETS, WICKS FAMILY SUBDIVISION FIRST AND HILL STREETS

        TRUST ASSETS, 'A I K S J OF MOTT TRACT, M.L.WICKS EXTENSION OF SECOND STREET

 9      TRUST ASSETS 1913, MATILDA L.WICKS STEPHENS, MA`I'ILDA L. TAICYS STEPHENS TRUST

]L      ASSETS, STE~PHENS TRUST ASSETS, PRUDENT BEAUDRY TRUST ASSETS, VICTOR BEAUDRY

,~      TRUST ASSETS, H.FI.MILLS TRUST ASSETS, M.L. WICKS' SUBDIVISION OF

~z      GARFiOLINO, COOPER, SOUTH A PORTER TRACT TRUST ASSETS, B.D. WILSON TRUST

~ <     ASSE'"S, 50UTHERN PACIFIC RAILROAD COMPANY ASSETS, SOUTHERN PP_CIFIC COMPANY

~_4     ASSETS, SOUTHERN PACIFIC TRANSPORTATION COMPANY ASSETS, UNION PACIFIC

1 ~,    RAILROAD COMPANY ASSETS, BLACKLINEASSETS, M.L.WICKS SUBDIVISIONS TRUST

i6      ASSETS, LOS ANGELES AND SANTP. MGNICA LANDWATER COMPANY TRUST ASSETS, aka

        L.A.S.M.7~.W TRUSS ASSETS, ABSTRACT TITLE COMPANY TRUST ASSETS, RANCHO SPL~]

~ s~    JOSE BUENOS AYFtES, SAN JOSE RANCH COMPANY TRUST ASSETS, CLAIMANT OF LOS

1 ~     ANGELES WATER COMPANY SETS, ATCHISON, TOPEKA, SANTA FE Ft1~12LROA~ TRU5T

20      ASSETS, LOS ANGELES EXTENSION RAILWAY TRUST ASSETS, LOS ANGLES SAI~'TA D10NICA

21      RAILWAY TRUST ASSETS, UNION RAILWAY ASSETS, LOU ANGELES METROPOLITAN TRANSIT

22      ASSETS GOLD LINE, VALLEY, ORANGE, RIVERSIDE, SAN BERNANDINO, VENTURA, COAST

23      STARLIGHT, SOUTHWEST CHIEF, SUNSET LIMITED, TEXAS EAGLE, PACIFIC SLJRFLINER,

24      METRO SILVER LINE, METRO GREEN LINE, METRO RED LINE CALIFORNIA HIGH SPEED

25      RAID, TF2ANSBAY TERMIP7AL NATIONAL RAILROAD PASSENGER CORP, doing business

26      I~MTkAK ASSETS, LOS ANGELES SAN GABRIEL VALLEY RAILROAD TRUST ASSETS, SOUTFIERN

27      PACIFIC F.AILWAY TRUST ASSETS, THE LOS ANGELES RAILWAY TkUST ASSETS, MAIN

28      STREET P.ND AGRICULTURE PARK RAILROAD COMPANY TRUSTS ASSETS, CLAIMANT OF BFLO[~




                     Complaint to Quiet Title   1Votice of t~djudication of 1902-- 19
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 20 of 99 Page ID #:20




    l
         'HE SURFACE OF SUBWAY TERMINAL 406 OLIVE STREET 5149027004 5149027001

          >149027002 5149027BRK TRACT 53831 5149627018 5149027019 5149027020 TRUST
    3
          ASSETS, CLAIMAINT AND HOLDER IN DUE COURSE IN BEHALI' OF IRENE C.CHIRNST_DE

         :273640 TRUST ASSETS, SIX HUNDRED AND ONE AC12ES OF PAI,NIDALE LAND PATENT

          ASSETS, SIX HUNDRED AND FORTY ACRES OF LANCASTER LAND PATENT TRUST ASSETS,

         [AWTHORNE ELECTRIC AND WATER COMPANY TRUST ASSETS, BALLJNA HARBOF2 IMPROVFN~NT

         :OMPANY TRUST ASSETS, SIMI LAND WATER COMPANY TRUST ASSETS, MAP OF MOORPARK

         'RUST ASSETS, M.L.SUBDIVISION OF PART OF U AND ADDITION TO MOORPARK IN THE

          ;ANCHC SIMI VENTURA COUNTY CALIFORNIA TRUST ASSETS, MADELINE POINDDEXTER

         'RUST ASSTS, WICKS ROAD TRUST ASSETS, WICKS TAVERN ROAD TRUST ASSETS, WICKS

          ORNER TRUST ASSETS, LOS ANGELES AND PACIFIC LAND COMPANY TRUST ASSETS, MATEO
i
          TREET AND BI~NTA F~ STREET CAR COMPANY TRUST ASSETS, SANTA MONICA WHARF AND

          'ERMINAL RAILWAY TRUST ASSETS, LOS ANGELES TRACTION COMPANY TRUST ASSETS,
~ ~
          NAHEIid WATER COMPANY TRUST A5SET5, NADEAU TOWNSITE COMP.~NY TRUST ASSETS,
1.5
          OUTH ANTELOPE VALLEY IRRIGATION COMPANY TRUSTS ASSETS, ASSETS, PUBLIC LAW

          5-586 ACT OF CONGRESS ASSETS, PUBLIC LAW 780 ACT OF CONGRESS ASSETS, NNDD
~;
          PRINGS TRUSTS ASSETS, ABITA SPRINGS TRUST ASSTS, PACIFIC LAND COMPANY LTD
LE
          RUST ASSETS, HERMOSA BEACH WATER COMPANY TRUST ASSETS, MOORPARK MUTUAL WATER
19
          OMPANY TRUST ASSETS, WICKS REALTY TRUST ASSETS, SIMI LAND WATER COMPANY
2G
          RUST ASSETS, LOS ANGELES CITY WATER COMPANY TRUST ASSETS, WILLIAM I~OCRE
~1
          RUST ASSETS, CRYSTAL SPRINGS WATER CQMPANY TE2UST ASSETS, CITIZENS WATER
2~
          OMPANY TRUST ASSE'~.'~, G.J.GRIFFITH TRUST ASSETS,PHINEAS BANNING TRUST ASSETS, ,
~~
          UAN BERNARD TRUST ASSETS SUSANA MACHADO TRUST ASSETS, M.L.WICKS ADDITIION TO
24
          OW'_~1 OF PORT BALLONA MR 23-33/36 093 093B153 185 ASSETS, FIO PICO TRUST
25
          SSETS MARQUEZ FAMILY TRUST ASSETS, LOS ANNGELES GAS AND ELECTRIC CORPORATIODI
26
          RUST ASSETS, SOUTHERN CALIFORNIA GAS COMPANY TRUST ASSETS, SOUTHERN COUNTIES
c7
          AS CGMP.~NY OF CALIFOI2NA TRUST A.'`,SETS A.E.POMEROY TRUST ASSETS, S.C.. HUBELL
28




                      Complaint to Quiet Title    Notice of Adjudication o£ 1901- 20
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 21 of 99 Page ID #:21



                                                                                FIRST
         TRUST ASSETS, ALL UNKNOWN ASSETS OF LEMURIA ALL UNKNOWN ASSETS THROUGH

  2      EL CALIFIA, M.A.G.C, WORLD WIDE GOLD & SILVER TRUST ASSETS, G. WARREN SHUFELT

  j      TRUST ASSETS, REX I.MCCREERY, MARQUEZ FAMILY TRUST ASSETS.

   3

           23. At all times material to this Information "Coconspirator No" 2 was the

         Co-owner of the ENGSTRUM PARTNERSHIP, Inc. aka Engstrum Partnership,
  6
         Inc. M. IMPERSONATED Wicks DOB:4-22-1852

           24. At all times to this Information `Coconspirator No" 3 FORTY THIEVES
   R
           INC aka The Forty Thieves, INC. M. IMPERSONATED. Wicks DOB:4-22-1852
   ~j
         have been the Financiers of THE MAGUIRE PARTNERSHIP, INC aka The Maguire
1'.
         Partnership, Inc. M.IMPERSONATED. Wicks DOB:4-22-1852 .
L -,_
           25. On or about July 26th 3, 1978, Coconspirator t7o"1 and 2 filed certain
~_C

         Created certain instruments, namely Grant Deeds Recorder Numbers:

         78-81?928 FILED ON JULY 26, 1978, causing them to be recorded in the City of
1 ~l
         Los Angeles within the County of Los Angeles, the ENGSTRUM PARTNERSHIP. INC
i'
         At 2414 Pilgrimage Trail Los Angeles, California
1 t;
         SEE EXHIBITS B, 1, 2,3,4,5 SOS NO RECORD, CORPORATION GRANT DEED BETWEEN

         COCONSPIRATOR NO" 1, 2 and 3
1r

          26. The Secretary of the State of California has NO RECORD FOR the

2 ;;~ i ENGSTRUM PARTNERSHIP OR PARTNERSHIPS


21

22       //
         //
23       //
         //
29       //
         //
25       //
         //
26       //
         //
27       //
         //
28       //




                      Complaint to Quiet Title   Cdotice of Adjudication of 1902- 21
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 22 of 99 Page ID #:22




1      //
       //
2      //
       //
3      //
       //
4

5

6

7

 s,



l0

11

12

13

14

15

16

17

18

15

20

21

22

23

24

25

26

27

?g




                   Complaint to Quiet Title   Notice of Adjudication of 1902- 22
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 23 of 99 Page ID #:23




                                                                                    . ,

2



9

5

6

7

8

 9

10

11

12

13

14

15

16

17                                                 ~..1,~-~ ~.bs
                                                                   °°tt4ecl~~~i
             .                                                                 s
18               Lflgn,ecl thin xpt~ ~                                        ~,
         '~ .,                        y of November Z~
19

ZC

21

22

23

24

25

26     PART 1 RALPH SIMMONS AGREEMENT W ETTIE LEE I~~'cl~s1~9;~~~'34
27
      Phase 1
28




                     Complaint to Quiet Title            Notice of Adjudication of 1902- 23
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 24 of 99 Page ID #:24




                                                                                                                            t

                                                                                        36" }
                                                                                            ~~ r           ~       ~        ~            y~      4~
 2                                                                                 ~               ;..
                                                                                                                                                               ~~                   z    'Y ~~
                                                                                                                        ~                 ~                                                          `lM,
                                                                                                                                                                                                       ~
                                           ~~s~ ~.                     ~~
                           r                           M               "w~,Apr to t+~dreiw ls~y. Z~Si~I ~r1t1: Nfiantrw
                                                           s                                                            arcs±w

       ~              ', ~ ~~ ~~ _                             r~i t►~ 4+as.r ,~! trvso a.~ec+~i 11pri1 !t, ~95~,
                                                                                                                  toursA to •~t~i                                                                           ~'~`,~ ,~.
 4                     ~ x; ~`                                            ~rflshlri~lrac~irav•Ct~d~i Czart baLn
                  m „,~~, ,s, '~               8,                  ►a ter                                            ~ itt~4 +.t..yrwf
                           ,~' `,
 5                              ~~t~.         klsOlA KrR d~wd vt krust Ir~oa Nary and 611s*b~wt.
                                                                                                 7+ CarnR., .
                                              1'itU 1~a'tulu~cv► s ttwt CamC~+Yr to ~e~cur~
                    ;~~~,U ~'                 11~0.0~.~1D• ~lour~d                          inA~t~ke4.r~wa•
                                                                                               ltt ¢pllay O! tltlr #rssutarsri Oakdd
 6                ~> ~ p -                    x93A.                                                                                  ~~,~ 77.

                   "r'            :S,        Poll d! C1 tl~ ins~t~nat drtLO~# limy 1t3,
                                                                                             I.~5#.
 ~                                           Mutus I.ifa~ Zns xurt~G G~►1ar x ~p~'a►rirtq ~arA lns~rr ~r •d = .; :far.
                                             COgeeras t4 T1tlt Itutt~'lncc~NN 8 'Xrust              ~t trust +z•;~
                         '« a:                                                         Cr,~peny.
 g                              ', i=       i4li~hlt~ :~Ct~ar tk~panp (h+rrainat+t~r "I~C't
                                             t3OTbf t~1it12~ KOtl1llM/Y ~{Fr
                                                                                            escr~r ;r,a-r,~:.-
                                                                      °       I9I~y ~,tiY"rt~C'd f`49Y the :~ .ynak ~~e.n
                                            bl' HEIi'Ty 6. C'd.W[!!A ~tlbA Ck'kSA Llf#f.

                  {~.~           ~.l~.      inP.'C allMllldrl~ant Lo irsC.rt2c~~ir~t~ c2.nffied
 /~           ~'~i' ~ 4.                    @6.rr
                                                                                                                                    ~c~,~~;Y_~rsr ;2~                                    :;;~:;~~,*4~
                                                                                   ~{      {
1J                              `~~~f       41Pa•
                                                /~~s
                                                  µ~       ~t ~JI~y3        R
                                                                            ^P,~ 3      pSP}XJFYQS ~     Ye1{.++   w b.4AY.       t~ftr~—~ t R   1JCttlidlY `, ~ ?. ~«R~:~
                  ~                         fi~ i~~ f                                                                                                                          I~       ~ '~ i e
                                                                Y~ii+~S~f a


ll
                                       •    R6W      ~Ri~~G                              W1~~'4ri{~4'. ~'
                                                                               M~                       ."u~~~Q~       ti~Fk+R[    ~Q~fiRS.iJWC
                                            $e7i1~ ~f ~r`0~lSAt"w ~"t3YY14~C~P$6C~.                                                                       b ~S~     l:A ~:^3             ~'   'p~1
                                                                                                                                                                                              r '~y* m
12                               '~,        IiE(: ~Mi~il: t0 tII~t2'C5Git
                                                                          1!`~'~~ d~tabd Lk*fitst!cFYtZ 3. iASa4,
            v <;.'~.                         ~ i,s►oo.Ui► iYsc~t tC~ Y~ae ~axld ts~' pr                                                                                                 »~I~tdlt~r¢
                                            3lamumr ~sQ w. G. ~elA~ by ,~ecie t.~e.                                                           f.u~*~ry re~rt~*~ cr                      caipr~
                                  ,:
13          x ~ ~q
             e +:,~k~            •'~,       Cr~~t De~A tYC4t ti[Yzy ati+~ lt2i~~#aa~th
                                            3tt~l~~tats~~ s1a tree! 11ao~                 ~tt~snrn to Yttie 3,«br re
1~            ~          k~ .                                             r 2i, ~ 9 "~~ .
                  ~4' ~~ ~4,                l+i:ll of Da1M, CoWru~n~ -tom etti~ haw le+~~
                                            da*,~~ OrCas~tier 28, Iii" A .                .i~ tc~l~ ,~7 f~,~ ~c~-:x-.,
i5
                            '~~~2~,         1ft~           t W insc -uetic~s~• re oF~c:rowa ;Jiia anct 13;~N.
                            "~"~,;.         dtta~t ~#1►pMsy 1?, 2A5'S~ Pctpas+d                                                                                                                                          ~
16                                                                                xcu algnatutctt of Rnc; •a
                                            ilsor,C!!Nr d~antra a[tR1 Eddlnytau.

17                                 ~~        ~r ~wst~3nwnc to xn~!ru~cs~imr da~taG'1 :Ian,anry 1r,. !ry*s;, wj~+ti
                                             tr+.~ h~tfQMrittsn innc[1Felcsn~ °rnnubL
                                                                                      r~."

18
                                                 ~ ~,~ . ~`                                                  ~i~
19                                                                      ~~~              ',~                                                     ~~    r,,,

20

21

22

23                                                                                                                                                                              _------------..—_..
                                                                              _.                                   _ _--------------- --_

24          ART 2 RALPH SIMMONS ALLEGED AGREEMENT WITS-MI:~~~'A~~E
25         ALLEGEDLY RALPH SIMMONS NEGOTIATIONS WITH ETTTE LEE ON NOVEMBER 10, 1954


26
           PHASE 1
2i

28




                                                     Complaint to Quiet Title                                                        Notice of Adjudication of 1902- 24
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 25 of 99 Page ID #:25



                                                                                                                                                                                     s
    i

2                                  k tCbRDING f~EQUEST[p BY
                                  MACKAY, M~GREaOR ~ BliNNI01J                                                                                       ~KD3143P~391
3                                                                                                                                      RL'WH(lEU IN CN~FIGIAL
                                                                                                                                                              RRC AL F
                                                                                                                                       of cos aviceus c~unTr,

    4                                                                                                                                                         2965
                                                                                                                                               P.Gi. DEC 10
                                                                                                                                   3~ vast %%
                       ,,.,,, ~ MACKRY, Mc:Gf2~GOR 7c IIENNIOt7~                                                                                         Rxorder
                      ,,,,, 523 wept S1xth StrreL                                                                                     RAY E. LEE, County
5                       +••~• Suite 828
                      ~,.,. ions Angeles, Callfurr~la 9001
                      ,~.~. i_                                                          J
    6                                                                                                      SPACi ABOVE THIS UNE iOR NECgRUER'8 U5H--

                                 Mail future tax statements to
                                 E;"PIE LE'3 HOMES, INC.                                                    No IR3 stam~~ required, cor:~iQeration
                                                                                                            len3 than $100.00              ''
                                 661 South Shatto P1¢ce
                                 Los Ange2~s, Csliforr.ia 90005

8                                                                                   Ar1'i ~a I.I(.t.5        _ __   rv TuwSn~cr.
                                                                                                                                                                           ~~

    9
                                                                    _ _~
                                                                    ,                       Grant Dced                           ~_
lc                                                                  t llll IOYM lYRNIYM[O ~Y ~ITLC IN~UII~MC[ AND
                                                                                                                                TRULT CO4~~Nv




                                                                                                            , I~ fiTTIE LEE S
11                               f'UR A VAI.UAULE CUNSIC~E;RATION, recripi of which is IiereLy ~tknuwlrJged
                                                                           grantor,       and    I,  ETTIfi   LEE, trustee, grantee,
                                 a sing:.e woman, individually,
                                 under Croat daCed April 20, 19b0,
lc                                h~•rebr GRAM'ISI ~u ST'PIE LEE HOt+I~iS, IPlC.
                                                                                                                        ~~


13
                              the (olluw;np drxrilwd real property in ~h~ Cilty Ole X09 Angeles
                             Cou~iyo~ Los Angeieu                             ,Sb~rof!:~li(ornfa: SE tS5 feet oC Wf 750 feet
                                                                                                        feet of Lit 13; and
14                           (ex. oi' St.) of Lot 12, and SF. t15 feet or NW 150
                                                                                             of I,ot 14, in Hlock 108 of the
                             341 32 feot of SE 8j feet of NW 150 feet                                      as per map recorded
                             Hel].evue Terrace Tract, Sn the City cf Los Angeles,                                 of the County
ZJ                           in fJook 2, page ~t35 of .Miscellaneous F{ecords in the office
                                                                                                                 to as EngsCrum
                             Recorder of aflid County, more commonly known and referred 27,
                                                                                                                     Call.ornia.
                             Apartments, located at 623 West Fifth Street, Lis AnRelen
lE

17

18

19

20                                                                                                                                     . ,~:_ ,
                                                                                                                                   ~_r~_r.. r_.._--
                                                         June 16, 19G5_                                  ._._ ~
                                      I ~.~i„I                                                                      F.t~C~iee,~          iridi~xaUaiiy, ,~T'Af1t02`
21                                                                                                                        r.                        _ ..
                                                                                                                    L~ ~tie yLee°"Lruc£ee; Erantee,
                                  .r.~ir uv r.~i.ieiui.i~                                   ~'"~                    atidrr tru:~t• dated April 20, 1960
                                  i:ul -.TY OY'.L03 I~nge_l..oa.                                                                                                                p,
L                                 ;~~~ .June 1G, 1965                                 i„a,.~: ~.•. ~~~,. ~~~„u~.
                                   ~~i~. ~l. a V~nu11 I'ul~Ii, IA an~I !.x WuI ~lil~•. ~x•I+nAII1 LI~t~~•+~~~I


23                                   ~;~rris,r~E
                                                                                            . e.,.... ,~ ~„
24                                 ~.,i,• ~i~.~,,,..~„               , is
                                                           .i.,.. ~~,,,.           .,~i~.,~~i.d„~ ~i„•.;~i~a~
                                                                                                                       t   ~~~               ~'F1L1~L i11L
                                   P 1'i'S41~• un 6sm1 unA ~.IP...d ..~uL              ~                                                   BETH 1. HENTON
                                                                                                                           f.            N0/MY ~W~IC   .~L4l~MM1I.   i
                                                     ~ /
25                                .:~~u,i~,n~ /~:~-C...L ~L .~
                                                                                    .l,~.E' 7 L C.n~                                        rMn.cva usr~ci ~w

                                                  Beth L. lier,ton                                                     ~. __
26                          ►ly Cemmitron GT~es .ieia. 11,1 19$/

                                   'fitir Ordrr \n.                                                        _.F.srrnw ..r Lnnu ;\u...

27                                    Mail Tax S t~ emen ~ v                                  r,.~       p ove.
                                                                                                                                                       ~.~,~....~...~,.....r~sm
                      -•—              —               --
          --                                                       _.
2~
               PHASE 2 ETTIE LEE TC-ETT~E -LEE F~~~VI~ -I~~10,195
                                                                                                                                                                         Wicks Claims

                     Complaint to Quiet Title                                                     Notice of Adjudication of 1902- 2~i
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 26 of 99 Page ID #:26




 1

                                      R~conoiNa neuv~nco er
 Z
                                                                                                        '78— 8129'7
                             'ant::, ^i;7 •rC,                     ",~i;'Y.
                                                                          ^i';                                         N hC01!i7[0 W Oii1GK RE('ptp8
 3                                        •h4 W~~CN M~CI'U~O[O Ma1L t4
                                                                                                                         a ins avcun aourm. cti

                                                                                                                           JUL $41978 AI8 Apt
                       " '•` 6t[Le Lee Nnmea. Sne
 4                   •~~~,•,•, st46 N, wlne nva.                                                                               Rawrdae'a Offka
                               f.0. Sox 979
                       °i";Oa(dvin ~srk, Cm 9170h
 5                   'I'itl~~u~dn :\...h. ~'S~6~Y~w l:., n.w \o. 5446
                                                                                                        3vwcE AUUVY TNiQ ZINC 1'ON HECON UEN'S Vb~ ---

 6                                                                                                      N~Ne ~~~'~~~~
                                                                                \i n~ l.lt..8           mo b/ ~. 'lln, .r~u.

 7
                                                                                                                                                             E


 8 '                                                              (~r~rpurition (h~iii~l~iini Ileed ~                                                   a3

 9
                                     l.ThlION.1 4'(W1+R'~tIO2I, n corporation

l~

                                     6TfIN. LL•'C lICt~1kS~ ItdC.~
11

                                U.,, ~.:i. ., ~~~: .I. -~ ~~L~,I ~ •..I ~.nq,•~i~ m ~L~~       _LOY Ary:elu~.. _.      „~mu~ ..f
                                                                                           _
12
                               ri„~;:~• i.~ru„~o~ ,~i i,~~aN ~t, i'a ~~n,i w „ isi«ck inn .,i cn,~ i,.•t~.•vu., •n•r~.~.,~ •,~,~rr,
                               I n [i~.• ~:f ry of I..v. .1n~:o 1~•~. ax per isp rucurArd In itan4 'l. 1':~gc 58Y oC '1l vccl la~a•nun
13                            Rcn~~d:i In thy ~~I'l loo of thi• County Rrcacdcr nt rraW Co~mty. dr~C ~llioi :~x
                                                                                                                           whula                                          ~~
                              :n, Inl t~ru:i:

                               9vginaiiy; ,it a point In [I~r t7urd~~~Hy llnv of I'1(U~ +tn~•c, nv cunv ryvd t~, the
14                             r.icv ..f Lan auy:c lvr:, by dovJ r.rrorduJ In O~onk SLO Pa~,u ^_5h nC ~k•oJa, Jlac:inc h5
                                 ~ ~~t fines t~•rly Cr~~~n i[n lntnrKuct t~~n vl th the Gnx tnr ly ifim of dope Ftrec t:
                                tlu~ne~• Ca•~t.aiy :~}~+ep; w:i t,l Ilnv of ~'Ift4 St rcn e. H'i i~eul t~~ Ita Intvrwo~rf~~u
15                             vi th thu Uaw[arty llrn~ of :~ l.•-Cuuc ~il ley cxtvndl nF: North nnA South tl~rnu~th x:itd
                               b lock; d~rncr Norcn„rly nlon~; va bl Ilea tvA l' Iln~•. balry; I•:~ral lcl ai[h the
                               Iin:urrty ilni• a( ,~:i 1J I.ih~ l2. U nMi 15, lit C~•cc; them:o Wen[~rlY Kral lol                                                     ~
                               v tit~ Use t.ort6vrly lino d Vl Ytii Strcr~. K5 Pvv4: Ihanar Snut6crly I.." lvc~ ~u
16                             c 4,• p,~~~u ,.r bcr.inn~ ~y:.


                                                                                                                  1.1,10ONn FUUiJUAY tOY, n t.~lli urnlu
17

18                         r.~o.l      Jnnc t7, L')7ll
                                                                                                             J,Eurl GprseCc ~. PrealJont
                                                                                                           /  ~     ,i~      ... .1
                                                                                                           '
                                                                                                           y I( J:"Nul lard, ,~yaistunt ticcrcc~n~y
i9
                            n~•.n ur                           ..w.cty                 ~ ••


20
                                                                                                                               Wt~q NOTARY 5fA{. OA 5TA NP

21
                                    . ~~I•~~ .w~~ ~.. ,I I.• In•. .w ~r~„li~i~..r~ ~A +1. I.~,r~l ..1
                                                                                                                                                                 ~,
2G
                                             •71y~;~yp C. ttrnvra
2,}

24

25
            PHASE 3 LIAHOI~IA FOUNDATION TO ETTIE I,EE HOMES J~~~~C~~ r
2h

2'7

28




                   Complaint to Quiet Title                                                              Notice of Adjudication of 1902- 26
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 27 of 99 Page ID #:27




1
                                            m'.cv~ioiHc wcoucerao or
2                                                                                          .               IR— ~129~~
                                 lIh1EIi;L'APJ 7!T'I i_ fY ~+~+:~A ~~'                                                       -It[C011UED IM pfICIN. P[CORGS
                                                                 ..                                                             a to u~acus oounn. c~.
3
                                              ,..~.....~.... ,,.u.,. ~„„ ..,                                                        JUL 2V L978 AT B/W.
4                     .   .»,              Cngatrmu larte~rrh ty                                                                          R°~°^d°ri atlo~
                     .. ,.,..              2h15 tilgrlmngo Tratl
                                           Los Angolct, Ce, 90068
5
                                                ~~~• ~~~ .~~I~.~~rw ~..           ~~                       SFA4:l ~11<>Vl Tl11•. tINL' VC1R Ifft;tlRnP.F'•u V19L

                          w...                                                                             I1...   r•~n.~~      ~.I~ ~     ~ a   162.50
6
                      ••.~~•.. ..,         sawn a9 above                                                   i j ~,nn~~wr,l ~~,~ bJi ,.,i~r~ I.... If„~. a rn~.mJ,~.uw ~•.
                                                                                                               n n~.~~~ u • ih~~n,.i. .o i~w~~ ..I ..~4•
7

8
                                                                              I;m~pur,Etion lir~int Il~~r~l                                                                i3       ~~
 9

                               EST 1F LEE NCt~S, INC.                                                                                                 /
10
                               . . .,~..,~.~,~..~"., ,~~.,:,.i ~~~~.1.•~ i6.. i,~,....f ~L~~ u,e~ ..i        Cal ltornl~
                                ~. ~~ ., i,1:1\I .,     . ~.
11
                               ENCSTRi~t Y~IRTNE7tS7lIl, a Reneral partnerehlp

                                i~~~ ~~.U,.....,,       ~~i.~,i ~,.d i.~~~i., ~o ,~~ d~,                city of Lm Ange W~
12

i3                                   1Yu+~v pnrtfmc: of 1•~tu I_', 17 nrKl IL lu Muck 108 ut lhr nwl luv~w 7crraco 1'iact,
                                      I n thy CI[v of I.nn An^.clen, :~n per rmp n~rurd o,~ 1n Nnul: ? Pn;•r i~5 n1 "iixvl la iH•~~uv
                                     ka~eordu iu H~v of(tc~ ~~( [h~• Comity I:ecarder of Najd fn~grty. d~^Crlho~l :u: iAinle
                                     .r.: f~.l lov,::
14
                                        ; 'Innt~G• :et .i paint to tl~r !:n1'tl~exly Il~w of Ftfd~ Sttt•r[. nv couvc~yeJ to th.~
                                     C try• ..f Lin d~q;olcu. Ly JCr;I rrrordcd In ':           `ibU I'~f:v ='~6 of IluCdss. ~Jictant /rS
15                                    ~ o.•t 1:nr.ugly frrna 1co inu~reoctfon v!U! tlu,;.l,at:teriy Unv ut Pop• !ttrc~ot;
                                      t hvncr i:ai~tcT l,v nlnni! x:~lJ i{ru~ of I'U'th ti t~~•rt~ !:'~ fc~•1 to Sf.n L~tvmrr.t lnu
                                     ut W thv ' •r Icily Utu• of a is-font n1 Iry .•xtvr~l U.~t I:ortn urvl l;nutl. tl~~uu~~i n.U.l
                     .,              !~lui•1; rL.mcr ~:orthrrly nluup. aatd t~a~c~-rly 11 ir•. A~~t ~t~. parnl lrl vitl~ tl~c
16                                   1-u:toflr ilnv of xu tJ ln~ti~ 1'_', :~S :i nt Id, 11'_' lust: [Iuv~l'C iw•i:t^rly par:~l it•1
                                     41th tl„• l:oz thvfiy IIM' of }'11th ti[fuot~ ~S (.•ut: tha~ncc tinutiwrly 162 I~~ot f..
                                      p ~..• ~+glut u! hrf;i unl ry:.
17                        3
                                                                                                                        ET'!IL LYE YgVS. INC.
                                                        July l9, 1`i78
                               ~ t~~• ,!
18                                                                                                                  iyZ J. F rl///
                                                                                                                                'Cw•rrbt              ~ ~ ~                •.

                      f                                                                                        'Il. J. :d                lord                  ,~%::~/ ~7..~ ~'
19                                                                                                                                                            .`
                                                                                                                                                              ,
                                ,,~ .n ,~~ Lou Mge]cu                                        ~ ,
                              ~ ~. „ulY °U. 1970                                   ~.~.~. ~ .. ,~~ ~ .~.
2~                                                  . ~4nrl Garrett
                                                                                                                                           ~ ~Jq N~~TAIiV YC11~ (~H 9T~MP

21                                   y~ ,/               ..               ...,.. ....,.        .. , .
                                                                                                                                                                                c
22
                                                                                                                                     i,... .
23                                         611znbeUi.C. Nnuveu


24                                                                                                          --------__
                                                                                                            i ..,,,,. ~.. 3'~J~
                                                                                                                                                              -- --_ ._. ___ -1
                                                    ~~ P~~~        _—MAIL TAX 97A7CMENT6 AS UIHEC/C{~ Al1lWE

25

26                                                                                 .2~~~s8
        ETTIE LEE HOMES Corporation Grand Deed to Engstrom Partnership 78-812~~[~~yL

27      Phase 4

2g




                     Complaint to Quiet Title                                                                 Notice of Adjudication of 1902- 27
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 28 of 99 Page ID #:28




1

2                                                                                                                                                                                                                             y
            YI  ~J                                                    ASSESSFO   I1014 YnF5     LIISI MIyIAIl W/11                 1FNAlIYS        I                           IE1ypMy /101~It~     ~p
             ♦~ ~    I                                                 Y~ILf     ~liCluhG kwVtS ~SECp1D WS1~II~M1I
 3                                                                                                                                I,ND COSfS                                  IdRCi ASSM'IS     ~   IOOR



                                            SECUIFD T1Uf ROLL OF MOrElTY IN TFIE COUgTY Of lOS ~NpEIES, UUWANU, YEAR
 4          ~,10                        ~~n.w~o.a:wuwiaa uo:awuiu www~a rrH~
                                                                                                                                                             X919 ~uw                 ZO nct        74198A
                         uusst Mew, M.u.b ~ooRu s cww uxr~CM n rgRm                                                                                                                                             uuue ww
                                                                                            tw    w                                IE~1[S                KM41tS          I0141tYff   ~'dw ~aNn      WIE Sf%D
                                    •uio.'ww ~FtlW4 f11fMIf ExlwiCx  10fLL u<i                         i..   ILK    MUMkI                                                                                          uNU
                            tu1D                                                                                                                         WO <O31
                                                                                                                                                        ~uro
                                                 MOr[nr tnF         uuge ruu w~             Boa ac     wi          rr~ r.au   F awuw~ea nw                           IKIWKd1lM~ ow<~:irn            K<7rq
 5                       ~ CT" N T    NE LIN of }ADS         TH                                                                   S            tit3.3            ~d3 1         SCRs          Kn                FLAND0.Ek
                           THERE     TO BEG        ART 6F                               1                                                                                                                      [IO fIU
                                                                                                                                                                                                                1 200 VIl
                             51 1      E4                                                                                                                                                                      LOS ANGE
 6                                                                        1)6115                                              T       6726~dS                             7133IZ3                                  DONNEY

                         fENiRAI ANTS 1NL:                                                            WOS 5151 014 03) 1              1)92'60             81155           1476;15
                         i9(!p TRl SST                           ~                                             AEG 20                                                                                               tA32'
 7                       UiY Of C ERGE.0                22                                                                                                  ;                 j
                             TAAL~ 21113 lOT COM EON NW LINE                                                                  2       1392.39             86155           14T9U{         67;64 L 030.11
                             Of XO~E 51 100.5 fT fROM ST LOR OF '                                                                                                                                              CIUSf~1N
                                                                                                                                                            i                           290,19 L 18B,S1        P OBOX:
                             LOT 1 1 N R~23 73" V 2f ,52 T TH.
8                            S ASi02 <0" Y 59 12 'fi TH S 3) 36'67"                                                                                                                                            Paioiu c.
                            60 FT T NY AXD OLLOVING BDAY LINE Of                                                                                                                                                  DOYNEY
                           ~ SD LOT 0 8E6 P RT OF                                      1                                                       ~
                                                                                                                                                                               i
 9                           52710                                                                                                                                                                                  iE~(
                                                                           S2)70                                              T       27!5;19               '             2955;29
                         ENGSTAUM AATNFASH P                                                          0008 5151 17 1 1                                   279;61                                                ININCO
IU                                                                                                                                    ~6d0!22                             <939jb3                    1979      UO J M ~
                         2 15 PIIG IMAGE TR ll              623 v WS ST                                         REG 23                    ~
                         lOS ANGELS G            90 d8      LOS A GELES LA If                          17                                                                                                      1200 Vl~<.
                           BELLEW iEARAfE TRACT SE DS f Of NY                                                          2                                 202;61                                                lOS w~L
                                                                                                                                      4660;22                             6942;83       13;251 030.71            t
                           150 fT X 0/ Si f LOT 12 AND E 8S fT                                                                                                                         iDS;<1 L 1l8.S1
11                         Oi Hu 1 0 FT Of OT 13 1~+ . SW Z fT OF
                           SE 05 1 OF NW 1 D ii Oi                          1f 10E                                                                                                                                  f705
                            50000     150000
12                                                                       200000                                               T       YS20;4i                             9042;66
                         NE BN+KE HILL CO                                                               S 31 tT                       t919~91           1)A;14            3157;75
                         /0 HANOI YISPEA                                                                     RE4 23                                                                                             zao uusi
13                        1 W OOS ST                                                                                                                                                                            Of ANGELI
                         OS ANGEL S tAUf                    1)                                                                                                                                                   004MEY 1
                          AONDf T (T                                                   1                                              2979 ~I1          1A1 ;14           S1t0;7S       2l ;29 030.71            faon no
14                                                                                                                                                                             I        91 ;I7 1pe.51            62120'
                           RddGS         t70                                                                                                                                                                     62120' i
                                                                         126915                                                       595l~2                              dS1d;50                                102 Fl 1
                                                                                                                                          ii                                  ~
15                                                                                                                                                                                                                  2895

16
                                                                                                                                                             i
17

18                                                                                                                                         i

19                         roues
                                                                  t               s              cn t        as               a          ~rn ti                                ~           en                     ~a«~s
                                              06                                                 ~    76)3)S.~E                    66039;98                                                p0
                                                                                                                                                                                                                         OT
                               020             7<198                  3R66d2S         1534d6T X10        161333 ~7                 fW63 ;98                                          5254 F4          SiSt
                                                                                                                                                                                                     Aul
2~                                                                    ~.SStSYD
                                                                        Y.LLIR
                                                                                   0141Mi
                                                                                   KIWY XWIIIf
                                                                                                       It Wy1Nl YlM
                                                                                                      C(kq M511LLxlM
                                                                                                                                   kW.lilf
                                                                                                                                  ~MD COfiS
                                                                                                                                                                               ~flSpMl 1101f1f1
                                                                                                                                                                               d~ER ~11M'IS         100




21
                                                                                                                                                                                                               ~-
22

23
      LOS ANGELES COUNTY ASSESSORS SPECIAL INVESTIGATIONS UNIT Information
24    ENGSTRUM PARTNERSHIP Address 2415 Pilgrimage Trail Los Angeles, California

25

26

27

28




                            Complaint to Quiet Title                                                         Notice of Adjudication of 1902- 28
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 29 of 99 Page ID #:29




 1

 2

 j
                                              State of California
                                               Secretary of State
.;



                                             Certificate of No Record
                                               Limited Partnership
               I , DEBRA BOWEN, Secretary of State of the State of California, hereby certify
 g
               That, the Corporations Code of the State of California provides for the execution and
 c~            acknowledgment of a Certificate of Limited Partnership and the subsequent filing in the
               office of the Secretary of State and,
10
               That, the Corporations Code of the State of California provides far the filing in the office
               of the Secretary of State of an Application for Registration in order to register a foreign
11             limited partnership to transact intrastate business in this State.

12              further certify that there is no record in the limited partnership files of this office of a
               California or Foreign limited partnership, active or inactive, of the name:
i3
                                               ENGS7RUM PARTNERSHIP
19

15

16
                                                                   IN WITNESS WHEREOF, f execute this
17                                                                 certificate and affix the Great Seal of the
                                                                   State of California this day of July 1,
                                                                   2013.
18

ig
                                                                                                                       r
20

21
                                                                DEBRA BOWF,N
22                                                              Secretary of State


23
                                                                                                               v s;
               NP-25(REV 18007)
24

25                                                                                                       Wicks Claim

26

27     I NO RECORD OF ENGSTRUM PARTNERSHI

28




                        Complaint to Quiet Title                       Notice of Adjudication of 1902- 29
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 30 of 99 Page ID #:30




 i



                                                                                                    ~tU[ pCLt~'.Y XUIt YI L{;11: YTASIV ()N 1.Y1
                    • ~                  ~. n   V,1k.k~1`.:irt,   t'~„R>~},'i"<i ~. t.~.iAIX):;cl

                .~ :~kN          ~!~tW.v6N M A 4A4KIN              •~; j..l} I:ax'1~8c`].
                                         ~M'wHY~
 '
 C


                                                                                                                              .~
 7                                                                                                           MAY ~9 19$5
                                                                                                     1 ~inryR k :.u~:i{ t;C)1iry(y, (FyQ,l{I(
                                                                                                             rJ (iLlfG;~T~                 ,
8                                                                                                         ar t ruvr~cu.iw



 9
                                   s;Jp~~7on couar or ~-e~ srnz~e of c.+urotuv~.~
                                             NOlt 'Ttib t:0[IN1'Y OF I.(?S ANGL'GJFS
1~

                                                                                                                 l'a)'tJt~~~~
          -: J'1M.4:;?tiT1.Y RN Dk:VC.L.AP~L1:N'1' Au'E NCY >NQ.
11
           _...         ~_. ..                                                           ~ CUC:~f'L\.LN1 i.td 'e:Ati\~11' AO:~'.ATN


12

13                               - c> vicron uea~uo~aY,
                                 .                                                       ~
          : '~:1 ^.u: :'N;? SiBIR5 F.H'.~ DL'V S3CE5                       )
             '~5~.,`i"Odt :A.A4`E'iR'L , DEC'EHSED, ANU                    }
                  1t r-S r^,~' i'!.s^.:'Sl:~ e„ HY.. 'CtlituUr.~Fi.         ? IP~s:::vy 5~14~1-'7.-2 end
14            ?J:a„"_ < 3P,>J FF;.:EU~:i'f • AC1U ALI,                      1 Liyi Cpl 5149-•'1.7-4:
                  J•:", clN I:N~Ji~JN 'C,a,,I b1T N+:     AN    LN'S`Hi::d'T)   -                        y.
              ':?L. {+}20P~:R':'Y; TYiE c..~;'^ATk: Ur                  ~  )
        ..•.;.LEY~f:' FtiF.A.v     U4iY,   i)L.t:3i..A~G'Ur  'L'HL+
15        :riti~ ,.N~u~ i1k:'✓":FtiF.Si U6' PiiJi]k:i7'.i'                 )
           `-.UJET't ~ «"ECBA::t.'[l. ANti AGL FP1 iL.;ON9 1
               ii1:7/Ct H", '1H1iO~iGki~ Oi{ UN ill:N                       )
         . ~,
            ':> "..Ti.:::t~?.NT. AN17 ALt. P'BFt~'iON,                     )
16          ~ ^.I :,wMt ~: 5.,,*h Z'y£.NLi AN 7:9'!'L':df`s^'P' LN
            .                                                               1
                  pf~:iP f_'<=^~: ~1TY UF' S,~'I.S A'•~i.F.2.EC. )
            r:-~r,,-:.~._.    .     ~:aryar ae Eor         .aGU:RY.,/ ~)
         .,.;r!',5                  'is3 - L1~7 t' -"~: i[I::tHt..l.,SS
17                    '. N,:u1~e ie t~-.,hl p;. {3YL HUN KIi ti S -['>

                          airs        ~.a ~:; xcnc~s, r,                               .n,
                         ;:7; .. F:; l:ttlAX;.ft    ~.1~i1RL?NAF.1fU7~ ,
18              'J4
                -                li ~:A UURYt +..GU 27E k.~
                  a:i ^U~!f:~; .:i b~hpR RlP.1d 7.4: t3.. -. HF.ty 2J tus~1'; ,
                         :t, VT Li<g?,"#st 'I'2iCS l2F.'i4: f+,.        ~.
19                 ~t.i i°cis :r~3U~tsT A^~:>i MC~N'E <,~(~15
                    . ..               :2!I~f3.;$PIC?~i G+lti.~ti2f:J. .~.

                                       ~~.:~c~~~,~ isc«~.at~r
20
                                                                                 a;.
21

22

                                                                                                                                                   Wicks Claims
23

29

25
      Assessor Number fraudulently used 5149-027-001 5149-027-2 ORDS SURVEY
      The correct Assessor numbers are 5151-017-028-B1k 108 Belleview Terrace Tract
26
      As described in Probate case Jennie L. Wicks Deceased 1892-1912
2?
      PHASE 5 PAGE 1 of 2 C549523
28




                                          Complaint to Quiet Title                                                        Notice of Adjudication o£ 1902- 30
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 31 of 99 Page ID #:31




  r        di'hNT tkt:i [1il?7Kr:R HILL C(l. ~ T2IE } ~/
        ,~,P~d $x~1TF3i~ L?F Al~RdCAf ARNQLO              )
          ;PflA~ G+rnez~l partner, ENE t1UNAl;Nk✓
         .   L tt1NPAtiY c },!y'tgTlipGF. GRU~N           )
        .'.`8S'F01t~; ~.(tY,IR TITLf7 tllS'fFAA!iC£       1
           MAAf~' OP 4ALfFUNt3IA, Truntau;                T
          :tAIB "itt?`.:"T & SAYINGS ti.~NK;
        '    KEP~LL~R C~^!Yi'RR SEt<:T::E                 )
           KpORAi`ICNF; ~YG5TRtR.1 P~RTVR.ifiIPr          3
        ' .~4:5 CJ:IVBYA~:B ~~RPOFUTIUti.                 1
         . ~3taet ~'["PI:: Lk~ H~aME3, LN~.F              1
        '    !f-d UNPCF:? ~oliC:~~~ St(X°.K-P:k"PH, T'7C.1)
           tS7 Blt3;M1E55 fiAP11t; TH6 ~HhS~:             )
          :a~A'T.A:~t :~tt,N1t; TEiP;' pBNNSYLVA~I:A      )
1 '~
           ~,t,TL' 5G2Sf`A?. 61~t1'f,0Y53' RHTIRi:F9:N'^
           ~::SM, ~^t~~bieer .SIN iJtiR3G7 NY4N.; 1
             F Tk• ':.Al. A3?A It2TERYA'PSONAL,
IZ                i'l. t. t. Eti'!"$R:I.iTIONi~L~ INC.t   i
           =xwn s•A'tP.S rcr~~r,u, SERVI~L:               ~
         :T$D STa1TE5 P4S9'AL INSPEi".TQRS 7              3
12        ~)RPE, SUt.L1.vhN, WnK~G~tAN 6                  Y
            ~APEr ?RCTF'2~ 5C141TNH83:' ftLAL'SY; )
         (~i~t~ll 6, CA~^~'R, cioin9 buei:~ass
             P$~3F~5SIUVAL SflRVICY.S UWAER-              }
13         SYS'TC,: FREEl1A`3 6 !~t1LL3
        ::JOltB4x"SA;~D: DAVSD i30fJ~ND; G.A.             i
          ';?RI$R 3ERVI~~j Mi~F.'fQN ::Y..LUBL 6
14         ?tP.\.~i2' IVC'QiiPi3EXAT'F.OI NATI.:NAC.      y
           _:,NL~1:> €~RS:i~+NvR. OAP., doing

15        rJlSLB~."t. doing Guaine~s an LES               )
          :Oeuchv s nss,crhTPR~ L.R.                      r
        .:yY, JR.. i 5TA':S O[~ CALIFORNIit.              1
         '=A.*~^-`!48NT GN t;BNB RAL SE RV IL6S7          I
16       ', r. 4.IAL31Tt SItNEBT t',EORGE                 j
           ...         J~VMES J. WSLLI$MS;                ~
                         tlwG GUY',:tCTU &                1
17                    ..Fn?t~?~Y     N.  FCP24FRFsLi1:    1
            ~-             "y:tlANT.LLTATIC?~J 6          I
                                 f3JF`F'L'T£itiA, LT(1.7  f
                           .. ~"Yf'1!RY A'ARKTNti. INC. 7
18

              :. '+'      ~;E 4Rc:P -1ALYEitScN: 'f.        )
19                                L.R. LLfit7 e


20                     .. .       NeS1~Lfit:44C1Nt hk~GNA 'C.i
                              °;~t'ATl~ ~'' CRGCF'Ul;NLIt, 1

                                )!tP.. Ci!' AMKRICR ~       1
ZZ                                                          }
           ,',r .: „3.~ :~'.'•': 36itht7~'l: W.J.
           .:<r~rri, ~Soanq twwinumq as 19                  !

22                                        7MC.; GA I:.       }


2?

L4


25
                                                                                   Wicks Claims
z6

        PHASE 5 PAGE 2 of 2 EMINENT DOMAIN ACQUISTION P:,ANS TO ACQUIRE PROERTIES BY
        DEFENDANTS NO"1 NO"i NO":3 NOW MISSING FROM COUNTY ARCHIVES ihANAGFI2 MFIRK
?8      HOFFTQAN REPORTELY LAST PULLED FILE # 12307.6450 C549523




                                      Complaint to Quiet Title   Notice cf Adjudication of 1902- 31
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 32 of 99 Page ID #:32




  1                           EXHIBIT J-5



        CITY OF CAVERN VS. SOUTHERN PACIFIC RAILROAD, M.L. WICKS ET, AL




11

12

13

14

15

16

17

18

19

20

GZ




22

~3

2 ~l

2J

25

27

28




                    Complaint to Quiet Title   Notice of Adjudication of 1902- 32
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 33 of 99 Page ID #:33




    3                              SUPERIOR COURT OF THE STATE OF CALIFOKNIA

                                                 COUNTY OF I.OS ANGELES


                L.A. City Com. Red. )                                        Cace No: C549523
                       Plantiff     )
                                                                             Certificate of Clerk
    i                    V8.           )

                Est. ofBeandry         )
                       Defendant       )


                         I, William H. Mitchel], Clcrk/Executive Officer of the Superior Court of the State
    9           of California, for the County of Los Angeles, do hereby certify:

1~                       That according to the records on Yile in my office the Following Deposit was

                 made.
11
                         Dais:      - --                       ~ ~sit~r: __
                                               Am~nt: —-- . _-j}

IZ                       05/31/1985            ~997,000.00            L.A. Comm. Redvmt Agcncy

13                       That according to the records on file in my office the following Withdrewnls were made.

                         llate:                Amount:                Depositor:
14
                         08/05/1993            35?,000.00             Comm. Redevelopment Agency

15                       0911 1/1985           644,000.00             L.A. City Comm. Red. Agy. Calif

16                       That according to the records on file in my office, a balance of 50.00 remain on

                deposit with the Clerk of the CourUCounty Treasurer.
17
                         IN WITNESS WHEREOF,I have hereunto set my hand and affixed the seal of tl~e
18              Superior Court this day ~U°'of May 2013.        - -          - -   __   ._..

19                                                            WILLIAM H. MITCHELL Clerk/Execurive Officer

                  ~'n`~`..~~;
                            „'~'                              Ofthe Superior C    o1'the State of California
20                              '
                 ~~i~, $ ;.y 5~:+~                            For the Count of'Lo Angeles,
                 f r~s ~"~             ~
                 ~Q 4~rJ' his ~ • ~'~ ~.
LZ                                                            B                                      , lleputy
                  ~ ~,.     ~          ~~~
                     ,..v>~4tSsari='
                                   ,
L


23

24

25                                                                                                            Wicks Claims

26

27
         PHASE 5 CASE DISMISSED NO JUDGMENT MONEY REMOVED BY DEPOSITORS NO AQCUISTION
28




                            Complaint to Quiet Title                            Notice of Adjudication of 1902- 33
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 34 of 99 Page ID #:34




1     ~
2               .,

                       t

                                                                   ~~~~
3                      3
                                     ~    ~~~
 4                   _ ~s.~                                                 RNIA
                                     S UPERIOR COURT OI' THE STATE OF CALIFO
5                      5
                                              1~OR THE COUNTY OF LUS ANGELES
                       6
6
                       7
                         COMMUNITY REDEVELOPMENT                               ) Case No: C549523
7
                       8     AGENCY,                                           )
                                         Plaintiff,                           )
8                      9                                                       ) AFFIDAVIT OF CUSTODIAN OF
                                       Vs.
                      10 ESTATE OF dICTUit AEAUDRY,                           ) RECORDS RE CASE FILE
 9                                       Defendants.                           ) UNAVAILABLE OR PUBLIC
                      1l                                                          1NSP~CTION
                                      __..                               _.._._) RL: MISSING FILE
10                    12

                      13
it
                                                                                                  Calitbnua,for the
                      14         I,John A. Clarke, Executive Officer(Clerk ofThe Superior Court of
12
                      15 County ofI.os P.ngeles declares:
                                       That I am duly authorized custodian of the records for the above court;
13                    16

                      17               That the case file for the above subject case should normally be stored in the
14
                                                                                                             10012;
                      18         County Records Center, 222 North Hill Street, I.os Angeles, California
15                    1
                      )
                                        That un July 30,2010,a request was made to inspect the case file for the above
16                    20
                                 subject case which is on microfilm;
                      21
17                                      That upon request a missuig case file search for the microfilm reel # t2~U7
                      ~2
18                    23         was initiated;

                      24                That the security reel which is stored in the Chatsworth Courthouse has been
19
                      25
                                 requested to be pulizd;
20
                     ?G
                                                                                                            subject case
                                 That based upon tl~e rrcceding ~nPomlation,:he case file for the above
21                    ~7
                                                     for inspection by the public, due to the microfilm reel # 12307(both
                      zs was not readily available
22

23

24

25
                                                                                                     CLAIMS OF WICKS
26

27

          AFFIDAVIT OF MISSING CASE C549523 FROM COUNTY ARCHIVES LAST SEEN BY MANAGER
28
          MARK HOFFMAN




                           Complaint to Quiet Title                       Notice of Adjudication of 1902— 34
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 35 of 99 Page ID #:35




1

2

3
                                              State of California
4                                               Secretary of State
5

6

7
                                             Certificate of No Record
                                                   Corporation
8

                                                                                                   certify:
9                I, DEBRA BOWEN;Secretary of State of the State of Cal'rfornia, hereby
                                                                                    for the
10               That the Corporations Code of the State of California provides
                 preparation and  executio n of Articles of Incorpor ation and their filing in the office
                                                                                           ion; and
11               of the Secretary of State in order to incorporate a California corporat
                                                                                                      in the
                 That the Corporations Code of the State of California provides for the filing
12                      of.the Secretar  y of State of a Stateme  nt and  Designat   ion and  a Certifica te
                 office
                                                      of Articles or Certifica te of Incorpor ation as  to a
                 of Good Standing (certified copy
13                orporati on  qualified prior to Septemb  er 18,  1959)  in order  to qualify a [oreign
                 c
                 corporation to transact intrastate business in this State.
14                                                                                                this
                  further certify that a diligent search has been made in the corporate files of
                                                                                            active or
                 office and that there is no record of a California or foreign corporation,
15               inactive, of the name: THE MAGUIRE PARTNERSHIP

16

17
                                                                IN WITNESS WHEREOF, I execute
18                                                              this certificate and affix the Great Seal
                                                                of the State of California this day of
19                                                              April 17, 2013.

20

21

22                                                           ! (n s...        ~C,~,..


23                                                               DE131tA t3UWEI~I
                                                                 Secretary o[5cate
24
                                                                                                          mms
25
               -NP-25(REV 12007)
                                                                                               s
26

2~
                                                                   :r
28




                      Complaint to Quiet Title                      Notice of Adjudication of 1902- 35
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 36 of 99 Page ID #:36




 1


2


 3

4

5

 6




 8

 9

i0

11

12

,~


l~

i5

~~

17

18

19

20

21

22

23

24

25

2h

27

28
                                                                        Wicks Claims

                   Complaint to Quiet Title   Notice of Adjudication of 1902- 36
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 37 of 99 Page ID #:37




 1
                                    STATE OF CALIFORNIA
 ~~                                 BUREAU OF REAL ESTATE
                                                                                                           Estate(CaIBRE) database
       The license information shown belovi represents public information taken from the Bureau of Real
 3
       at the time of your inquiry. It will not reflect pending changes which are being reviewed for subsequent database updating.
                                                                                                                   licensees
       Also, the license information provided includes formal administrative actions that have been taken against
                                                                                                                                  is
       pursuant to the Business and Professions Code and/or the Administrative Procedure Act. All of the information displayed
                                                                                                                   information is
       public information. Although the business and mailing addresses of real estate licensees are included, this
 G     not intended for mass mailing purposes.

       License information taken from records of the Bureau of Real Estate on 12/12/2015
        11:47:40 AM


        License Type:                             CORPORATION

 9      Name:                                     Tf~e Maguire Partnership Inc

1'J
        M ailing Address:                         1800 CENTURY PARK EAST
11
                                                  LOS ANGELES, CA 90067

12      License ID:                               00312425

13
        Expiration Date:                          02/20/78
14
        License Status:                           EXPIRED
15
        Corporation License Issued: 02/21/70 (Unofficial -- taken from secondary records)
16

17      Former Name(s):                           NO FORMER NAMES

18      M ain Office:                             NO CURRENT MAIN OFFICE ADDRESS ON FILE

~9
        Licensed ~Officer(s):                     NO LICENSED OFFICERS
20
        DBA                                       NO CURRENT DBAS
21
        Branches:                                 NO CURRENT BRANCHES
22

23      Comment:                                  NO DISCIPLINARY ACTION

24




26

27

28




                            Complaint to Quiet Title                 Notice of Adjudication of 1902- 37
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 38 of 99 Page ID #:38




                                                                                                                                     -- --_ __   1

                                                             ~                                                        ~

                                 It     ii.I.ww~~I r~y~~Y~~~N~ru..~~~M~~.flw~{~I~W~I~I. NI~J.~r r..e~w~~~.i1Jl.n
                                        ~ r~~..w.w'r YN~Hr Ir ~I~F~++~~~~l J~.«I l~rl.w ~. >. ~~I.wl.~nr ~1 J~IW,
                                        f..11.'~i e~J~...l~~„.~.~I~n~NIw~.I J~I~wrl l~~~wn .I J. ry.ir.~y1 J~~.~w~l

                                                                           WA

                                11.. Dew ~.~...Mrr(a.~.~.41 M11 ~I D.bJN\II. A~..~Iw.11~\J..e.rY~~i.~lA ~.
                                     y.y...11.M,•~~~1..~•~~.OI....w~Yr.•N J~L...I fvN1. A~...~.a...n.i.n .y
                                     Ir~4~~~~~• •~Ii11~i..1.~w~.~Y~.Y1 J~o+~I~~r~~1 ~M ~~~.~~.,/..IId V~I~J

                                          VI,MI~w1~I1.1.N.~... ~ ~~ ~r., i.r..i r ww~i~wi~ .1 u.~~.'p.J :.~.1
                                         ~                                                           ~~



                                      1. 4.~..~ wlu ~1 il. n.~b~ Mb ~ ~1. 4~~1i~Y N Nid Y. Ilh.. R•xwl M..i..~wx~l ..
                                           ~ .Jr I~IIY r111.I.i sl V. Ir~MI. ~M ....~I... +f h.~l... w...r..:Yl~~;.. r X1....1..
                                        ~Tn.~l ~1 J. wn ~~•.~ d V. r^I.n ..d. v1i.1 i1. lu~.~....~ p J. 11•L..I.p'.fy..J
                                        1 1.1y r4 ~..~1.Y.. 1:.~ rr L~.n .• IWr.~~ P..~J L~r~..~ L J. P.J.nI.Nr« ~ J~
                                        .
                                         nln~ly~~Nw~.4\:I{u Je~rI J~I..rynl ~+~M V~I~.f ...l tnN~~l~ ~ru Bev                                     ~
                                        1 Y.~ y61.


                               14 W~~~~. ~J ~~I~i ~MIr~~.1~4 Wd~nLpl~ao~1~~~~r4r .u1 flua.IJ ~.~1.~.itl119 /.Y.rYr
                                  w fu u.Yf.~✓.... r.N•.J r 41i.. ~J u..w.1.a L,.a ..1 Mi.~I w.w.v n 1~~1.. fd1..~

                                                                        CCATIf1GTlfri

                                    AID       R~Evrt ~. IHaelie iii
                               nlb J~~ X11. R~1.r~L~u'~ Sr~r .~ ~l QwIlf ~.iM~r ~n1 (Yn.IJ Il~s.~~ll~li~~ ~~~ ~M w.•I.I ..Ywry
                             ~1 J~ ~.1.~.I~Fi~ ~ul~l4~tir u1 fi.u~~~ r~yw.Mlliq. 4J.IM~ I~.n~.l .4~....~...w w• v! wwr
                             ~ J~Mw M. 1 ' ~+~.~ .n~Mi~IJ
                             .

                             Ou.6                                                 O.w~


                                                    .~..                                      —~.


11                             [~v~Anplc~n        hll&mvle 90(Al                                                              `+'~


                                 w..l b.~~~~nu..~      .Mir ~.a~r nn..4 u..nh..i r.u~.I.nwW...nq.1~
                              w ILLW.i.~f~...r Lwy b..I.y~M~4 i4r.i~r~r~d lrlYl~~W Y~1~R.wwly~~                                      '
12                            ~
                               .~«~'~nMn~w
                                                         ~~1...~~~..1~o~..liy~~rN ~q Y 1~.w.~.~w1wo~.1~M'"~~
                              M ~4rv~~o 1J~~. W~4w...I..~fr.~~..r~~~iq ~~wiu ~NYWNWYgw ~lu~Y~l~w~~
                                                                                                 ._ . .._._
                              r wo~na w..                          •~.
                                                                           •........ .,..w..

13                                                                              {

14

15                           ACTED FAR VALUE
                        i
                        ,
16
                        ~
                        '
                        .
                        4s
17

18

19                                                                                                                                        13S
Zo
2i
                                                                                                                                                     R


~2

23     SIGNATORY PERSON RESPGN~IBLE FOR THE MAGUIRE PAF~TNERSHIP, INC
       SIGNED UNDER PENALTY OF PERJURY DEFENDANT NO" 1
G Q




25

26

27

28




                    Complaint to Quiet Title                                        Notice of Adjudication of 1902- 38
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 39 of 99 Page ID #:39




                                 VI. VIOLATION OF THE UNIFORM

                                    FRAUDULENT TRANSFER ACT

                                                                            28 of thi
        29. The introduci~ory allegations set forth in paragraphs 1 through

       Information are hereby realleged as if fully set herein.

                                                                             s "THE
       Beginning no later than December 22, 1965 after the death of M.L.Wick

                                                                               ia and
       PRINCIPLE OF T,OS ANGELES" and within the Southern District of Californ

                                                                           aka The
       elsewhere. Defendants, Conspirer NO" 1 THE MAGUIRE PARTNERSHIP, INC

                                                                     conspired and
 ci    Maguire Partnership, Inc. M.IMPERSONATED. Wicks DOB:4-22-1852

9      agreed with Conspirer NO" 2 FNGSTRUM PARTNERSHIP, Inc. aka Engstrum

                                                                                  d and
10     Partnership, In r_. M. IMPERSONATED. Wicks DOB:4-22-1852 and also conspire

                                                                             INC. M.
11     agreed with Conspirer NO"3 FOF.TY THIEVES, INC aka The Forty Thieves,

                                                                            as
12     IMPERSONATED. Wicks DOB:4-22-1852, hereinafter collectively referred

                                                                              y given t
13     Coconspirators to commit the following offenses against ttie Authorii:

                                                                             owned Y
14     M.L.Wicks by the UNITED STATES OF AMERICA, Numerous Superior Patents,

i5     M.L.WiCks EXHIBITS LAND PATENTS ASSETS

                                                                         Art Museum,
lb     a. Bribery of a Public Official as Chairman of Los Angeles County

17        that is defendant and his Coconspirators conspired and agreed that they

                                                                                and
18        would directly and indirectly corruptly demand, seek, steal, receive,

~g        accept items oi' property, papers     documents, J_and   water rights, leases,


GO        and accept buy, sell, barter items of value with his coconspirators

21        belonging to M.L.Wicks and family      in return for being influenced in the

                                                                             States
          performance of his official acts, in violation of Title 18, United

          Code, Section 201(B)(2)(A)

                                                                          to change
24     b. Defendants, NO"1, Coconspirators NO"2 NO"3 conspired and agreed

                                                                                 ut
ZJ        documents, use fraudulent Notary Stamps, falsify land Surveys througho

                                                                           ks Jr. ,and
26        the City cf Los Angeles and elsewhere against M.L.Wicks ,M.L.Wic

                                                                              as
27        made a schemes to defraud Successor Moye Jarvis Wicks of its rights




                    Complaint to Quiet Title     Notice of P.djudication of 19~J2- 39
          Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 40 of 99 Page ID #:40




                                                                                  faith,
              CREDITOR and inheritor in nature. This was deliberately done in bad

              disinterested behavior, biased service, with deceit. Defendants

              NO"1 NO"2 NO"3 should be precluded to assert any other claims other than

  4           the supporting documents filed herein.

                            VII. CONSPIRACY AND VIOLATIONS




                                                                                     thi
            30. The introductory allegations set forth in paragraphs 1 through 29 of

            nformatian are hereby realleged as if fully set herein.

            eginning r_o later than December 4, 1919 after the death of M.L.Wicks "THE

]..J        RINCIPLE OF LOS ANGELES" and within the Southern District of California and

11         elsewhere. Defendants, Conspirer NO" 1 THE MAGUIRE PARTNEFZSHIP, INC aka The

J.2        Maguire Partnership, Inc. M.IMPERSONATED. Wicks DOB:4-22-1852 conspired and

13         agreed with Conspirer NO" 2 ENGSTRUM PARTNERSHIP, Inc. aka Engstrum

:
1          E~artnership, Inc. M. IMPERSONATED. Wicks DOB:4-22-1852 and also conspired and

15         agreed with Conspirer NO"3 FORTY THIEVES, INC aka The Forty Thieves, INC. M.

16         IMPERSONATED. Wicks DOB:4-22-1852, hereinafter collectively referred as

                                                                                       t.
           Coconspirators to commit the following offenses against the Authority given

I~         M.L.Wicks by the UNITED STATES OF P,MERICA, evidenced by Numerous Superior

19         transferable and nontransferable Patents, owned by M.L.Wicks EXHIBITS LAND

L ~~~      PATENTS ASSETS. The defendants commingled our tangible and non-tangible

~~         properties with the City's in some instances.

      _
      :    This was purposefully done to avoid paying City and State taxes or. the

 _,        properties for life.

           Public Officials as well as the Chairman of Los Angeles County Museum of Art

                                                                                 in 1965.
           (LACMA) reportedly became aware of misappropriations and lost items

            That occurred at the museum at its conception.

            The defendants and his Coconspirators conspired and agreed that they would

           directly and indirect-ly corruptly demand, seek, steal, receive, and accept




                        Complaint to Quiet Title   Notice of Ad;udicat_ion of 1902- 40
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 41 of 99 Page ID #:41




       items of property,papers     documents, land , water rights, leases, and accept

       buy, sell, barter items of value with his coconspirators belonging to

       M.L.47icks and family, in return for being influenced in the performance of

       his official acts, in violation of Title 18, United States Code, Section

       201(B)(2)(A)

 i        b. Defendants, NO"1, Coconspirators NO"2 NO"3 conspired and agreed to

          change documents, useing fraudulent Notary Stamps, and falsify Land Survey

 -3       throughout the City of Los Angeles and elsewhere against M.L.Wicks,

 ~~       b1.L.Wicks Jr. , they   made a scheme to defraud M.L.Wicks of its rights.

~0     One would expect defendants to have been conscientious, loyal, faithful,

11     disinterested, unbiased service, to be free of deceit, undue influence, show-

IG     ing no conflict of interest, self-enrichment, self-dealing concealment,

13     bribery, fraud and corruption, and in executing said scheme against United

       States Postal Service and Private Commercial interest carriers, in     Violation
14

15     of Title 18,United States Code, section 1346 and 1343; and

16        c. Tax Evasion, that is, NO:1, NO"2 defendants Coconspirators conspired an

17      agreed willfully to evade and defeat the incorie tax due owing to the United

i8      States, and the County of Los Angeles, San Diego County, and Orange County,

iy      directly to the Wicks Family, for more than forty calendar years, 1919

20      through 2015, by concealing and disguising through various means illicit

21      payments and benefits received by defendants in violation of Title 26, Unite

22      Stites Code, Section 7201.

23                      VIII. METHODS AND MEANS OF THE CONSPIRACY

24      31. In furtherance of the conspiracy, defendant and his Coconspirators used

~~      the rollowing methods and means among others:

26       a. Defendants demanded o sought, and received at least Twenty Two Billion

27      Dollars in in illicit payments and benefits from his Coconspirators in

28      various forms, including Cash, Checks, Meals, Travel, Lodging, Claims,




                      Complaint to Quiet Title   Notice of Adjudication o£ 1902- ~?1
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 42 of 99 Page ID #:42




                                                                         Airplanes,
i       Acquisitions. Contracts, Indentures, Badges, Airlines, Airports,

                                                                            Air
2       Annexations, Marinas, Aquifers, Seas, Rocks, Canyons, Arroyos Seco,

                                                                             ty, Power
        Rights, Ayunamientas ,Museums ,Artifacts, Stones, Artwork, Electrici

                                                                        Maps, Tracts
9       Grids, Solar Energy, Water Companies, Water, Ice, Gold, Silver,

        Subdivisions, Boxes, Carts, Horses, Wind Mills, Golden Chandeliers,

        Helipads, Cars, Boats, Ships, Trucks, Skis, Ski Lifts, Grocery Stores,

        Plazas, Assessors Numbers, Railway Holdings of All Sorts, Electric, Gas,

        Diesel, Propane Papers, Maps, Warehousing, Antiques, Rugs, Yacht Clubs,

                                                                                   it
 ~~     Improvements, Moving Expenses, Buildings Domestic and Foreign, Instruments

        Writing, Historical Records Assets. See LODGErSENT EXHIBITS ,A,1,2 B,C

                                                                                    ,
11      1,2,3,4,5,D1,2,E1,2,3,4,5,6,F1,2,3,4,5„G,1,H1,2,3,4,H,I,1,2,3,J,1,K,L,1,2,3

~2      4,5,6,7,M,N,O,P,1,2,3,4,5,6,7,8,9,10,Q,1,2,3,4,5,6,7,R,S,T,1,2,3,4,U,V,W,

13

14     b . Defendants Coconspirators, NO"1 NO"2 NO"3 used their public office and

i5        fiduciary positions, heritage, political influences to pressure City and

lE        State Officials and the United States Congress personnel to award and

17        execute governmental contracts in manner that would benefit Co-conspirator

18        NO"1 Coconspirator NO"2 and Coconspirator NO"3, by impersonating M.L.Wicks

19        with and through the United States Congress, in which the defendants did,

20        in part because of their receipt above described payments and benefits.

21        _,. Defendants and his Coconspirators attempted to conceal and disguise this

22           conspiracy through various means, including the use of Eminent Domain

23           Acquisitioning, Defendant NO"1 would petition a Charted Agency to

24           Implement and begin Right Away procedures for future private re-

                                                                              ul
2
.5           developers interests, They unlawfully targeted wealthy resourcef

26           (The Dead) persons properties.

                                                                               and
27           Defendant NO" 1 is the Number One working in concert with museums


~_~          historical societies.




                    Complaint to Quiet Title   Notice of Adjudication of 1902- 42
           Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 43 of 99 Page ID #:43




                                                                                acting
     1         Although it is not unlawful to file suit against the dead, these

               defendants sought out the "Dead "to summons them, presumably that they

     s         would not answer the complaints in short they would receive default

     <1        judgments.

                                  "Being Dead They Yet Speak" Hebrews 11:14

     r_;       d. Defendants and their conspirators also attempted to conceal and disguis

                  this conspiracy by the having the cities and states in the United State

                  of America ,file Eminent Domain cases fcr them, Defendants gave the

     9            Cities and States and Officials monies to deposit into Interpleader

10                Funds through the Courts Condemnation Inter-pleader Fund systems, for

11                long term Ownership and Interest Rights in Highway Systems, Ditches,

12                Tunnels Bridges, Alleys, Toll Roads, Ravines, Railroads, Subways, any

13                and all Transmittable Utilities, Funds, Gold, Silver other Assets named

1 ~1              herein were deposited in certain banks and institutions, for more than

15                one hundred fifty years (150), The Court should make note that these are

16                the pioneers and early settlors of the Republic of California holding

1_                the only Keys to Actual Allodia Land Titles, Superior Rights given by

18                the President of the United States for future estates. These matters

19                have been resolved in the United States Circuit Courts re:

~ i1              UNITED STATES OF P.MER7CA vs The SOUTHERN PACIFIC RAILROAD COMPANY

2'~               Case Number 1578 (1911). EXHIBIT -     S-9


G~                These Assets are now being accessed by the defendants, on this date and

~: S              time, defendants are enjoying off-shore accounts they created through

                  these schemes. Defendants have always devaluated the properties, in

~ ,               violation of frauds act, and in many instances the money given far the

<r
'                 scheme as just compensation would later get looted by them also.




                            Complaint to Quiet Title   Notice of Adjudication of 1902- 43
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 44 of 99 Page ID #:44



                                                                            g
i           Defendants are directly and deliberately stealing and concealin

            unlawfully by fraud. Removing funds met for the victims for Just

            Compensation right out from the courts coffers.




 ~
 ,                   IX. METHODS AND MEANS OF THE CONSPIRACY

                                                                              used
       32. In furtherance of the conspiracy, defendant and his Coconspirators

       the following methods and means among others:

           a. Defendants demanded, sought, and received at least Twenty Two Billion

;I     Dollars (22) in in illicit payments and benefits from his Coconspirators in

10     various forms, including Cash, Checks, Meals, Travel, Lodging, Claims,

                                                                                   ,
11     Acquisitions. Contracts, Indentures, Badges, Airlines, Airports, Airplaxies

12     Annexations, Marinas, Aquifers, Seas, Rocks, Canyons, Arroyos Seco, Air

13     Rights, Ayunamientas ,Museums ,Artifacts, Stones, Artwork, Electricity, Powex

1~     Grids, Solar Energy, Water Companies, Water, Ice, Gold, Silver, Maps, Tracts,

                                                                                       s,
15     Subdivisions, Boxes, Carts, Horses, Wind Mills, Chadeliers,Docks,Wharfs,Car

16     Boats, Ships, Trucks, Skis, Ski Lifts, Grocery Stores, Plaza, Assessors

,~     Numbers, Railway Holdings of All Sorts, Telegraphs, Electric, Gas, Electric

13     Cars, Diesel Fuel, Aropane Gas, Papers, Maps, Antiques, Rugs, Yacht Clubs,

                                                                                       ir.
i9     Improvements, Moving Expenses, Buildings Domestic and Foreign, Instruments

20     Writing, Musical Instruments, Underground Facilities Historical Records

21    Assets.

22          b. Defendants became aware the legal cases of     S.J. Nortcutt vs. Wicks


            and WICKS V. RAMPART BOULEVARD CO, 176 Cal. 140 (Cal) on September 15,

24          1917, while fighting in court he and his father was threatened with

25          bodily harm.

26          c. Two years later on December 4, 1919 M.L.Wicks Sr. was run down by

2~          Louis C. Hill of Hollingsworth Construction an associate in business

~3          and diced.




                   Complaint to Quiet Title   Notice of Adjudication of 1902- 94
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 45 of 99 Page ID #:45




             d. TYiree years later in 1922 M.L.Jr. succumbs to a questionable death.

             e. Tn 1949, Percy L. Wicks the third son of M.L.Wicks brother of

 3           M.L.Wicks .7r. Dies at Moor Park, California on M.L.Wicks SUBDIVISION.

             f. Defendants have had all tools available to make discovery as to

             locating and finding the rightful owners of assets in their care and

 h           control. They have and had private ~.nvestigators on their team of

             players.




10     Milton I,. 47icks died in 1972 in Las Vegas Veterans Hospital a Lawmaker and

11     Bank owner. In 1918 he entered the Army not discovering that his rather

12     M.L.Wicks died in 1919. He was injured from the War from Toxic Nerve C~as,

13     never recovering physically, or mentally. He was never to recover any of his

i4     wealth left to hin~. This health impairment is now known as PTSD Syndrome. On

15     point, the defendants knew that he would never contact or molest them, while

10     they were engaging in the unlawful taking of his properties.

1.     g. Defendants have stated that they knew nothing of MOYE JARV'IS WICKS,

18     plaintiff, however defendants are on every property owned by his grandfather,

.9 'i and uncles. It has been held just because the defendants claim they were
]

LO     unaware of plaintiffs standing, there are many cases in which that action is

LZ     supported without any privity between the parties other than what is created

?2     by law. Whenever one man has in his hands the rioney of another, which he ought

23     to pay over, he is liable to this action, although he has never seen or heard

l_4    of the party who has the right.

25
             h. Probate cases of M.L.Wicks Sr., M.L.Wicks Jr. and some of Percy L.
LE
             Wicks case is stolen and gone missing.
L7
       The evidence will prove that defendants:
28




                    Complaint to Quiet Title   P]otice vi Adjudication of 1902- 4
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 46 of 99 Page ID #:46




    l     a. By forgery and fraud manipulated Survey Tract Maps throughout the County

             of Los Angeles.

                                                                                 lands
    }     b. Creatively, invented Five Phase Implementation Plan to take certain

    9        namely described as, Lots 1,11 12,13,14 of Belleview Terrace Tract Blk

    5        ~08,and Lots 6 and    7 of Mott tract in the City of Los Angeles ,County of

             Los Angeles. Purposefully using assessor number 5149-027-01 02 Exhibit

          1 . Phase 1 - Agreement Ralph Simmons to Ettie Lee April 14,1954 Pages 1-3

    0     2. Phase 2 - Recorded Ettie Lee Grant to Ettie Lee Homes, Inc.    Filed on


             December 10,1965     BK D 3143 PG 391 DOC 4699


l         3. Phase 3 - Probate Case in the name of Ralph Simmons (stipulated

11           suspense}Filed on Dec 2, 1976    CASE NCC4365 NOT SETTLED


12        4. Phase 3 -    Opened Probate Case in the name of Ettie Lee Filed on

13           November 18,1977 Ralph Simmons wife Administrator• CASE NCP90496 UNRESOLVEI

14        5. Phase 4 - Co.rporation Quit Claim Deed From Liohona Foundation to Ettie LeE

15           Homes,Inc    Filed on July 26, 1978   Exhibit S-2


16        6. Phase 5A- Eminent Domain case filed C549523 naming Beaudry and Ettie Lee,

17           et,al    filed on May 29,1985 Exhibit S-3

ig        7. Phase 58- Associated Central Library arson fire while eminent domain case

]_9          is filed    April 29,1986


20                                 XI. CLAIM FOR RELIEF


21                   UNJUST ENRICHMENT AGAINST THE DEFENDANTS PERSOIIAL


22       33. Plaintiff incorporates by reference the all~g~tions set forth above

23       as though fully restated herein. Defendants derived compensation, fees

29       and other benefits from the coffers' of M.L.Wicks and were otherwise

25       unjustly enriched for their stealing and concealing during the time of

26       their claims in which the wrongful practices occurred, to the detriment of

27       "OPMLW". Defendants profited by engaging in the wrongful conduct set forth

2~       above. The Individual Defendants `enrichment is directly acid causally related




                        Complaint to Quiet Title   Notice of Adjudication of 1902- 46
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 47 of 99 Page ID #:47




                                                                             by
1           to the detriment of the Plaintiffs. These benefits were accepted

                                                                                 it to
            Defendants under such circumstances that it would be inequitable for

                                                                            NO"2 NO"3
S           be retained with payment. As alleged above, Coconspirators NO"1

                                                                                their
            Individual Defendants breached their fiduciary duties and/or abused

                                                                                    not
            positions of control of the City and State and therefore Defendants are

            justified in retaining the benefits conferred upon them.




    9

10                         XII. FREEZE ASSETS AND FORTFITURE

11          There is no real separation between the company and its o~viiers.

12          The Owners failed to maintain a formal legal separation between their

13          businesses and their personal financial affairs, the corporation or

14          LLC Really have been just a sham (the owners alter ego) and that

                                                                                   or LLC
15          the owners are personally operating the business as if the corporation

16          didn't exist. The defendants paid personal bills from the business checking

17          accounts and ignored the legal formalities that a corporation or LLC must

                                                                   recording them
18 ' follow by making important corporate or LLC decisions without
~       I
            in minutes of a meeting), the court should decide that the defendants isn't

                                                                                    would
20          entitled to the limited liability that the corporate business structure

21          ordinarily provide.

22          The company's actions were wrongful and fraudulent. The defendant's

                                                                                     the
23          owner(s) recklessly borrowed and lost money, made business deals knowing

24          business couldn't pay the invoices, or otherwise acted recklessly or

                                                                               and that
25          dishonestly, the Court should find financial fraud was perpetrated

                                                                                    s NO"1
26          the limited liability protection shouldn't apply to them. The defendant

                                                                             Plaintiff.
27          and NO" 2 should be estopped from asserting other claims against

                                                                              Tenant's,
28          We are CREDITORS the defendants are DEBTORS, held over from other




                         Complaint to Quiet Title   Notice of Adjudication of 1902- 47
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 48 of 99 Page ID #:48




                                                                                  by
 1     (plaintiff haves suffered an unjust cost. The Valuation of Losses caused

 2      defendants are Two Hundred Twenty Billion Dollars.

 3      Defendants NO"1 NO"2 NO"3 has hidden or will hide themselves so that process

                                                                                from
 -1     cannot be served on them .They will remove themselves or their property

                                                                                   to
        this state and fraudulently disposed of any of his property with intent

        hinder, delay or defraud his creditors or has fraudulently hidden or withheld

        money, assets, property or effects which should be liable to the satisfaction

        of his debts.

  j     We will be serve on defendants Notices of Ejectments and are preparing on

_~      persons who have no agreement in writing.

        WHEREFORE, plaintiff prays judgment as follows:

~~      ON THE FIRST CAUSE OF ACTION

1 3     For Declaratory Relief, Stating, among other things:

1 ~1    a . To Quiet Title in the Name of MOYE JARVIS WICKS TRUST, through Its Assigne

                                                                                  of
15      Mumina A .Rahman as the matter has been adjudicated on 1902 in the Matter


16      SW. NORTHCUTT vs M.L.Wicks et, al in favor of M.L.Wicks et, al

17       a.   The underlying Document Number 3143 Page 391 between Ettie Lee and Ettie

18      Lee Homes, Inc. is void, in fact invalid due to the illegal

                                                                                 of
19      M. IMPERSONATED. Wicks DOB: 4-22-1852, by defendants performed violation

20      federal Laws.

21       b. The underlying Document Number 76-812927 between Liohona Foundation to

22            Ettie Lee Homes, Inc. is void, in fact invalid due to the illegal


23            M. IMPERSONATED. Wicks DOB:4-22-1852 by defendants therefore, performed


24            in violation of federal laws.

                                                                               Inc.
25        a. The underlying Document Number 78-812928 between Ettie Lee Homes,

26            and ENGSTRUM PARTNERSHIPS, INC is void, in fact invalid due

                                                                                s and
L~            to the illegal M. IMPERSONATED. Wicks DOB: 4-22-1852 by defendant

28            therefore, performed in violation of federal laws.




                        Complaint to Quiet Title   Notice of Adjudication of 1902- 48
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 49 of 99 Page ID #:49




 1       b. Defendants violation of federal law has harassed Plaintiff:

2        c. None of the Defendants named herein hold any right ,title, estate lien,

3           or interest in or to the property assets.

 4       d. The underlying documents and Certified Instruments in writing describing

 5          Plaintiffs' Superior Claims known to the Trusts and part of its

 6          Properties so described in the complaint.

 7       e. All contracts unlawfully transmitted by defendants NO"1 and NO"2 are voi

 8     Including any contracts or agreements that are to ripen in the year of 2015.

 9     Plaintiff and SECURED PARTY CREDITOR seek to recover property through

10     Article 9 and C.C.P 488.375 488.315. 488.395, 488.455, attaching real property,

11     And shall comply with Section 700.01548.

12     The Assignee herein in her Official capacity is exempt from paying any filing fees

13     and other state or local fees to the courts in any competent jurisdiction in the

14     recovery of embezzled or stolen properties. GOV. 6103

15        I, Assignee M. A. R, declare I am the in the above-entitled matter. I have

16     read 'the foregoing complaint) and know the contents thereof.

17     The same is true of my own knowledge, except as to those matters which are

18     therein stated on information and belief, and, as to those matters, I believe

19     it to be true. Executed on December 22, 20?5, at County, California.

20     I declare (or certify) under penalty of perjury that the foregoing is true anc

21     correct.

22

23

24
                                                Assignee M.A.R for
25

26

L /

                                             MOYE JARVIS WICKS TRUST
28




                     Complaint to Quiet Title    Notice of Adjudication of 1902- 49
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 50 of 99 Page ID #:50




 i

                                 EXHIBIT L-2


        ORDER ON AGREEMENT JENNIE L.WICKS PROBATE

      HELD AT HUNTINGTON BONTANICAL GARDENS AND LIBRARY




 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

~6

27

28

      ( EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                  5
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 51 of 99 Page ID #:51




 3          a                              C aT, l FORr' I A.
                                                                                                                          f
           3
 q
           a    I^? THE "~n'PTFR OF 7"iF ESTATE              ~
                                                                                                                ..
            5                    Of

 r         s    1Fr'I,dIF L. WICKS. DFCF.aSFD.               7



            e                             0 ^n n r R.

           9

           to                ~"~irRT'AS, r'. 9. '~r•?in, Fxevt~±or, hae haretoforc entered
-,
;
           11   into en 3~reem~snt ,vith J. A.lex~dPr Stephens, wit? +.he approval cP
                                                                                  Mf;eJ,~s
11         ~2   !ae coca^t, whereby the claims of ti» estate a<?ainst t:he t,o~
           -_    ~=.:,. ?~wific railway Company •sere sold to Bald Sreytic~s at a price
12
         '+     ~:::~:::i~s Been psid wit. the exception of Fleuen Thousand rollar~                                       r+~
13
                T._ . _. .. _~_-g~- ~-~ereor'.:as bean paid ,4pril 2, ]5~u, ~*:u 4r extur.-
14        '     "" '_' _         '-' _'.... :.. ~`^,L              a'~P,V8:3 ~i_'lU':5 ::.7 ~~.,1»!'3 IOI' ,,...
                                                         ";? $~1C~ r


           -~      _       _ _        —     R   ~~~.~✓, ~i?'t?V~tI9C~ ~"n~g 3:ifr."~S     .S ^.82C~ q;7 &1#.t37']1~
15

16
          ..                 -, -,        '-' S, - - ..=-,,.. __         :s- . -.. '7e ~ropert,y of the
17
                                                                             'o+          u


18         2I   C .,._    ~.. _ .'?~i ...         ~'3".v:? ~i6S     c=.. _. ..-c~       ," ~=_.,.        r?:1t.P.S BP.~


19        i8    :115 ~SS~.._x' b ...^~';' 8S ~^Q ?.=.~5€~         .._ ~. ., .:.Cif'_.               _.     ~^fl:p&hJ'

           e3   fOT' `.^,B .`y~_CSc v. fit... . .._' - ~"           '-   -     '-       _,.._ -:w'_.._Sc9 Of
20
           _,   t:~P. said Los ~.^.~elEs 8^c =:---_~ .:._. ~                  ~G-r_:      ;_.,.     - . -~---.
21
          ~5    ins; 1:he I:os Anc?a1~s and ?~cific .._. ,.., as _.. _:~„ ._.. :i:.                             ._....
22
          `p    the said 'usadPx~a a*~d Pa~iFi~ R:ai]'v~,y Company ~lEIS rei~r<a~:r2t.~d to
23        `     F, A, uF.^lin, i~'xec~.s~o:-, ~c~~ if hus ~~cuired a]1 t!~e bonds sei:~zr•ea

24       '"     by }:.he s;,id ~~~-s~ -°~=~s :...;: ?x:=;:•s •o bQ~om? fhe purchaser oi' sairi

25

26                                                                                                              Wicks Claims
27

28

      EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                          6
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 52 of 99 Page ID #:52




 1

 2

 3                 1 -_           - .-          _ . . . ._.e -;nder Fci•eclosiire soon t:o be
                                                                                              rr~de;                                           F'.
                   2                             ~"T, ~' ~z==-~, '^e stain Pasadena and Pxci Fic                                              ~'
  1                                                                                                             RaiJli~a~~ Com-               ~'
                   3      Pan'f ~=s :'-." =<-^'eti ':^.a~ it desires t.o- secure the said                                                     t
                                                                                       F] even `Pho~i-
                   q      send Do11a~s -~ ?§~t¢ es's=.sp of Jennie L. !'Dicks, deceasF~,
                                                                                         Ly a de-
                   5      posi+., of one '-:~ ~~ryd '::ous~nd dol] srs of its First
                                                                                                         mort~~;e bonds
                   s      soon t,o be iss~~ec                  ir. t,i-,e amount of iotir• Yiund~•ed Thousand dollai~s~

                   7      with fhirt,v years 'e rrn and interest of
                                                                    live per cent, per amm~n;
                                                                                                                                              ~~
                   e                            At•?P, ~.~iFi?r'..~, i'. is da~usd ^est, for the estate to accept
                                                                                                                                              ~
                   9     said bonds as security for s~iri sum of eleven thousand dol]ars;
10                                                                                                                                        ~'
               10                               I7' 1."> T~{,RFFOFr (1RDERFD~on aopli~at:ion of t,nE said ~,                              $~>:
11                                                                                                           . ?.                         ~:`.
               11        Berlin, execu~,or, t.het- he be, and he is ~~ereby
                                                                                                 authorizEd ~-:d dir~a-
                                                                                                                                            {^'
1G            '
              ,~         +ed ?o en+..er into an a-reement with the said J.
                                                                                                  .0.l axander Sttp~Ens
~ -'           -~        f~sr '~e deaos~t i~ t!;e ".ational Trust Company of Los
                                                                                                            Angeles C'cali-
                                                                                                                                         ~:'..
14             --       -_         --~ ~f o~=~ ..`.~~rea `^a~~,sz~d do]]ars of +he said bonds of -as

15             ~~       -=          "---="=~ ~r.~ use ~ c               ,_I`~b ~o~~~n;y as se~:~rity for t}.e r~;r-
                                                                                                                                         ~~
               _.             -     --              __:.~        c~ Q~~~f~ +;^c•,:s~-: ~~,~~prs, the ~~y~ne~,t to be                     ~:
16                                                                                     V                                                 F
                          -- _ -         --         - _ar= ,~ ~r.°.a~-~r 2, 3 6;
17
              --                                                                                                                        ,:
                                              _=      :-.-      .~ ''i~rR, `_teat ine said St Epncns or his zssiPns
18            _-        ~~~,         _    :..       '_ - ._ _~y.~,~tt ed to pay c^ avcourf,
                                                                                            of said e]even
1~            ~-       -- ~~ ~_-= _:-• ,_ _                  _...   :~~z~a~i ~.:ec `~~eriz~ give do]]ars foi• each and

20            --       -w~"':~ -.__              ..__~.        ~.   ._, ~-~~ ~~~i~e +c ~vi'.nriraw from cepcsit ~s                      t•.
              =-             ~- - - ~ .r-
                        _ -_ _.             •- - :
                                      _.... ...- - ~~___               -_,   -
21                                                                     _ .._ _ s:~w:l be returned or s~:rrend~red
              :_          _         __ "~~~~°~~           ass-?~:s ass'_=-s for ?~er~ one hundred and ~w~er,?
22
              ' --                  =~.iP!'S j:Sl.d, ..._ ~] f:^,6 ..Y`C'.8 _^.~F.~".;.E~^.ESS Sk&:~        .,..`IQ 1. Ei:11
23
              Z~       paid; and ~vher. the entire indebtedness is ct~nce~ ]ed any roricis re-                                          '

24            2e       mainin~ en deposit as s-~ --                          ~.•`.      _--_--~.,. _- ~-•--•-.~-- ~.. :.o

25            27       said Stephens or :pis as='_~r.a.

26       E    2~                          1f by the 2nd .',~.r -: . __.. ._ ~, said indebt,edr~ss has
         ~~
2~                     .f,.                                              -      -      ~r ~       ,~~;, ,,,~,        ,.        '1lV~ icks Cl ~ims
                                                                                                                               +y+ '+


28       ~                                    -~.

         E XHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                    -,
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 53 of 99 Page ID #:53



1     ~_.

2                                         T------                   ---.~_.   __        —_   _..----
3       -~~,a ~
                                                                                                                                                   ';;;
                                                                                                                                                     ,y
 q                           ~~;.not been satisfied then said aol]aterals remaining in the hands of
                          ~.;`
                        ~.-:g: said trustee sha]] be de]ivered to said H. A. Fierlin, executor, as
5
                  ~~ ~ .. 3             aforesaid,
6                 t                                                                                                                                 R=
                          4                                                                                                                        c
                                                        PROVIDED, HOWEVER, that interest shall have been prompt-                                   ~;,
                                                                                           ..
                               "~ `]y'psi d:
8
                                                                          this ,~.~ d~V :off ~~~~~/
                                                                               +1
                        ~`~~. Done,, in open court                                                               ]895.                               '
                                                                                                                                                     p
                                                                                                                                                      _
                            ~,
9                         ~ ~.           ..                                         ~
                                                                                                                        -    ,~/J
                  ~ ~
                        ,.
11                           9                                                                                              Jude.
                         to
12
                                                                                                                                               ,
                        11
                                                                                                                                               ~~
13
                        12                                                                                                                     ~"'
14
                        13
                                                                                                                                               ~''~
                                                                                                                                                •:

                                                                                                                                               ~>:
                                                                                                                                                ..:
16                      25


17                      I +~

                   ~~        ~
18
                        ~~
19                                                                                                                                         ,
                                                                                                                                            :;
                        ~~
20
                                                                                                                                               ,
                               ~~
21                      ~.
                                                                                                                                          ~~~
                                    y
22                       _
                                                                                                                                          ~;`
23                      ~=
                                                                                                                                         4y
                                                                                                                                          `~~
                                                                                                                                           .
                                                                                                                                         ~ R'
24
                                                                                                                                           x
                    25
25
                                                    -       -_.                a.   -        _ .._~~..   _   _   ..._
                                                                                                                                         ~.
                    28                                                                                                                 —:~:..
26                                                                                                                                        ~:
                   27
27
                   28

28                                                  ~.~.~         .,..~                                                        Wicks     a
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 54 of 99 Page ID #:54




      Los Angeles Herald, Volume 27, Number 162, 14 September 1887 —Incorporated

                            Incor~rar~.tea.
           .~:
           s~
               ~~~+~~  caf ~c~~~urc~rrriti~~n ~c~~r+ fiic~ti
                a eras of rsuorFscsra~ci~aaY ~verc~ Yiluci
       Dy Lhe I'~wuaic3rs~, I.ox :1n$.31e+sa :anal
      I .an~ 13e+ta~:ta liuiirou~:s C:~ss~~~ray. 'l'Y~ra
       y,~nr~wa~=~ ic~r vvtaic~li LY~i~s cor,~~arastiora ira
      fvrsxaciai are► to uoue~truc.t asaci u~r~Ge si.
      raiir.rrascl trviii a~ Yxat¢at, ia~ car za~x~c ~':aa~u-
      d~eenta trs t► gx~inL on tt~tr 1"~+aii£r., t;l.~r.:~.~i,
      at rar n~szr I.cazi~                   aaa-!x. oud to s~a~a.taxira~
      assd utuiattsin ~iexratw a~nai construct t.~+l-
      of[rsspti Iineiuu.             T'lata c _r tinz~.t.Qc1 I+ea~gLlz. of
       tixo reswr~. ie+'2J5 ycxilcsra.                 T2ac~ :irt:.~syabc+r vY'
       rlires:~tortx too L-~ tiv+~, ntsci LYtc~we+ s~. r
       FS~    IT;ta3ai  irar   l.laa  finest    yeast        s~rce .icatia: ''ti~'.
       cis~dii. [)> J. .Tr~l►nawri. 1~ _ rl. .+LLw~xstvr
      :xczct ~V'_        1~Yullccar     ~tursxa,      of     I  _oas AtsKet+n,
       ~:~ci C::r. '1~~',, C31~v~r, ut 3c~racl~ ~'~t~utwt~axtiei,.
       lZats ituary~Ypt r3f
       '                                   a~tt~itatl            +iWc:lz Y.r► 1 ..,
        y[1 .[1l?t),If?t~3, eiirxaic~~1 iaztu I~l,l~(}tl sl~aar~•et
       ni tt~o vcslai+ei ..:1 ~Ilt)4) r.:s.~}~, u£ ~n-lii.-Li
       ~-~,t5.l7lDf) 3xczrs l.~vcsaa e~ut.r:u•rii,.,.t.
              1~rtfe:l+ia:e aa•~•x~ ssteiw t31~-~i 1.y kt~a I.usa
1~      elriy;+al~es ai~~ri ()e~aasYrr                   !-i.ail~~-~i~•.       'r!►c~
        2.ur'Ewew~+r~ f.,r ~a-l~ici~ t 1~ i:a r•~.~r~.ur:at ir:in craw
       for-~.ueicl ttirc:, tr> s~a~aie►tr~i~•t, vj'stir:~ti~,                 c::oci.
        tr.>i atixx~ ~szuirsGra.in a 1C~c.~ ulC r:rilwaay ; tai
11      f ,~~il~i ateari <r}w~~rxttr~ tt~ll,w'rzi~al~ ia~a.t talc--
        ;~},.~~~..+ llx~..•os, nt:sii clues u7I tl.itsy;-. xxc3c-ic!ea-
       rs:ar}~ 1•. t~rrcl~cs L}aa3 i4stura>s•t-, ~~t ttiu c•c>r-
           sesr~iri~~o~.      `I'ita~ ettttaatres~'~~f .Iirr~. tares t.r~ '
12     ~   w~~ r~i~in=, s~cx~! Yt~+✓s+€s s~jr~x,.it~t.•,3 f.+r tt3a~
       l~r,rsF y..•:~~- ~i r.~ ('. 1               1'cvttiy,.- ~~. s_.3 .`~urlt;a
       i'~.nta ~ [:. 1~'.. k-:I~c~'x~al, ~..~[ 1_.at~}t I.icr:t..•Iti
13      tixz~l I•:. 1;t.e~i~~~t, 4I. !.. ~~'i~•1C1'+ a .~(~T11iLI1:l[1
        I`:i~i.y. 1•:.ltiv.►r~1 li~•~•,~reia.+, ,Fnt~~~ 1~' .
       [ :xry•~.:ex, :\.~ \'~". Ji.Fatci'e:~9.t saaa.I ..+1~.. 't4.', l~~'s~t.~-
        a•ixa<•e., .,f I_. .r+ .\a:ay~ulae:~.             'I'IsE7 aLxaiuu::a4 cif
14      •-ail.itul e+tc~.-L- t.s~ lic: ~.'SlSI?.Ck.1C), aliVida~+ai
        i~ati~ xSiC)tt raliucvcsss of          akl~nl      c3tac-t►, cat «lii.•l.
         ~c_ -~,/)l1() lse~ka kacia•ri              rai~l,as~~riksr~+rt.        "i'l~~-
15       lasn~tla caE Ka.►:ca rraiart iaa ~~ z~xilt~sM_
              .1rLi~iv+s w-c~a-ej~ ►ilcs~..~- .sc~+ tilaa~3 t~4' tf~~~
         t3zat~Las Dicariicu C)utl.wlc Itazilrc~a~J Z`..,~u-
          j~xs~~y.        '~l~«a T~►ars.c,r+r~c+s~ .rf tl~~ .•.,r~,a_~r:.-
16       cic~x~ arm           to a=cscirut,rai+~t,              t.~aerra,.c,, i~x~~l
          a`ii~~itYtatlzn .L ruila^rsmvc.a7              tta IrtaY A~r~.l n-.-1L
      ' rasxtl caartiiC<' y1l3.M1.~ ~.:~c~eaa.teaa~.t sall~t2~.. t.ixxi-
17       isao.crs sx ~~c.•.++~ary to Yurtherr it~as i~~c.t~•ee+t~-.
         of Ltxc a~~,ri~e~rcitivri.                   Ti►~• s+~aa~.! t., x-s~~z
          fro~~t e.>r ex~•air tt~e+ i_csa~ ~~.~~~{artey~ fnnci ~ri-
         al+t~~:.t1<1r+xa.•aa kt,u3lx'~rasa.Ci ~tLuaLi.ati              xs 7ti:a.:~Yaa
18        2~iotaic.~a t+. tl.xa+ uasvassa b~sx:•}i, tlac~nus+ to
          t tao      f11c1 ~raritas A1:onicu                      cixt9c~si    car u
           jx.~irzt nc~rt.taerly tla~rcfrorn, urac3 ~a~s oa~c~
          crE e+atfci c•~at'S¢aaa~ taa         t2i~a    ts~ra:axa~it   1w73t.1    k~tr-
19         t.wrs~esax C3~.- a.•scf5cica~ irauiaCias:aN~! zce~c[ 3t i~a
         In1.va~cic~.t t+r I~s~vu ca Ysrytcacta a~otacs sa-aCla~
         in ic:r~Fttl~ ~~~~ tt►ar ~)ld t?uratu Mors~cti
2~        a-al7ux~ ii ~ I,.• :aiuita Yirst~s ct.~se~ta not ~;c~
      ! tl~.esraat2irr~i~a,;la.         ".L'l,~aa lcspi~t,ta ~YL~ ttae+rc.~~act
          tc~ Lac: i~ciu.r ir~il~z►_          'Tian ~.uao~x.nt c;~t ca.~a~.i-
           tul est~x:3t t.0 lx~ ~t-iC/,00p, cliviciad it~~~.
21        -tt~) ataura~w cif ~10U a3ssczh, ut «-I~ i..•ii
          +!R-tllt~i li~arx bc~sra aristisac-r[kscs~ci.
                1.rt~w~iana~ w^sare~          ss.le~cs        f31o~t     k►y      t1,.-
           ~Vi[cia3a-irucs rtatiora "T"rnac-t Lasri~l tarsal
22        ~Yute~r C`os~a~.cs~y.                Tla~ ~raar~C.ic~eH of tlae,
         crtrr~xsrastic~ta ura Lu t>uy. rsa21 nr~t! cluaal
        in r~ttl csaystattss ucact w~vnt~rr.                        Tlae± a~taia►-
23        k~asr ut .9-3icru~tc►rrs 1G:~ kn~ flue+_                          iCl~c~we~
         ssE►~i:xtcstt fur tl~si l3reEC yc+ur urns ~V:~y.
        Il. E3caa~sll,                Tt~eeo.             ~Vicst~n<tuxz~r.
         ~.71Ift'osc2 ~vunn, `'u3n T~:. I>rrarttlea.rxi,
24       tcxsci .~l►.sNitur ;tiL. .l.rai~rs. aatl isf I..rstis Aa►-
             asi+at3.   '~iac, i~~aiu~arat ut a-,u~►itaal est~..~:lr t~~
       ~    ie+ ~c],ES~U.CHN3. clivls.lasel iratr~ 3Q rslaxira3a cif
                                                    vs-lti3ch l~u:a trNruci
25       ~725(M) oucTk~, said of
          esz,iLr~e-ri tac~st.

26

2~

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                                          9
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 55 of 99 Page ID #:55




      Los Angeles Herald, Volume 27, Number 162, 14 September 18$7 —Incorporated


      Incorporated.
      Articles of incorporation were filed by the Pasadena, Los Angeles and Long Beach
      Railroad Company. The purposes for which this corporation is formed are to construct and operate a
      railroad from a point in or near Pasadena to a point on to Pacific Ocean, at or near Long Beach, and to
      acquire and maintain depots and construct telegraph lines. The estimated length of the road is 25 miles.
      The number of directors to be five, and those appointed for to first year are John W. Green, 0. J. Johnson,
      F. A. Atwater and W. Walker Ross, of Los Angeles, and G. AY. Glover, of South Pasadena. The amount
      of capital stock to lie 11,000,000, divided into 10,000 shares of the value of $100 each, of which X25,000
      has been subscribed. Articles were also filed by the Los Angeles and Ocean Railway. The purposes for
      w hich this corporation are formed are to construct, operate, control and maintain a line of railway; to build
      and operate telegraph and telephone lines, and do all things necessary In further the interests of the
      corporation. The number of directors to be nine, and those appointed for the first year are C. E. French,
l0    of Santa Ana; G. W. Elwood, of Long Beach ;and E. Renton, M. L. Wicks, Jonathan Bixby, Edward
      Records, John W.(green, A. W. Barrett and A. W. Francisco, of Los Angeles. The amount of capital stock
11    to lie $550,000, divided into 5500 shares of $100 each, of which $22,000 has been subscribed. The
      length of the road is 22 miles. Articles were likewise filed by the Santa Monica Outlook
12    Railroad Company. The purposes of the corporation are to construct, operate and maintain a railroad; to
      buy and sell real estate and conduct all the business necessary to further the interests of the corporation.
13
      The road to run from or near the Los Angeles and Independence Railroad station in Santa Monica to the
      ocean beach, thence to the Old Santa Monica canon or a point northerly therefrom, and up one of said
19
      canons to the beach land between the canons mentioned, and it is intended to have a branch of one mile
      i n length up the Old Santa Monica canon if the main line does not go there through. The length of the
15
      road to be four miles. The amount of capital stock to lie $40,000, divided into 400 shares of $100 each, of
      w hich $4000 has been subscribed
16

17

18

19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                lU
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 56 of 99 Page ID #:56




3




    F




10

11

12

13

14

15

l

17

18

19

20

21

22

23

24

25

26

27

28

          EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJfJDICATION 1902 DECREE
                                                   11
           Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 57 of 99 Page ID #:57




 1



 3

 4




 c,
                                    EXHIBIT L-2


            HALLOGRAPHIC LETTER FROM M.L. WICKS TO HIS PERSONAL
 9
            ATTORNEY WHO HANDLED MOST BUSINESS AFFAIRS
io
11            TO JUDGE JOHN D.BICKNELL

12
            ODD FELLOWS CEMETERY LAND PURCHASE
13

            PRESENTED BY SECURED PARTY CREDITOR
14

15           LETTERS, PROBATE HELD WITHIN THE HUNTINGTON ESTATES
lE
l~

,~

1
     ;:;

~~




~~




                                                                             DECREE
            ( EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902
                                                       12
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 58 of 99 Page ID #:58




1

~'

3




 F




 >;

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

      (EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                13
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 59 of 99 Page ID #:59




1

2

3

9

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                19
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 60 of 99 Page ID #:60




    3                           EXHIBIT L-3
    ~;

          AMALGAMATION OF THE LOS ANGELES RAILWAY CO

          SIGNED BY HUNTINGTON,

          HELLMAN, BOREL FEBRUARY 21,1933

          THROUGH JENNIE L. WICKS ESTATE

~.;,
          CLAIMS OF ANNUITIES AND RESIDUALS
11

12

13

14

    ~,

1G




18

1

20

21




23

24

25

26

27

28

           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                    15
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 61 of 99 Page ID #:61




 1

2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17 I

18

19

20

21

22

23

24

25
       Incorporation Papers Amalgamation of Los Angeles
26

27
       Railway February 21, 1933

28

       ( EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                  16
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 62 of 99 Page ID #:62




    1     Hellman, Huntington, Borel, M.L. Wicks


    3
                                EXHIBIT L-4

          Los Angeles Railway Earnings through Huntington probate

    ~;    Case filed 1933

                 ~~OPMLW" INTEREST RIGHTS CLAIMS
    t<
    ~
    ;           FILED BY SECURED PARTY CREDITOR


,,


    -,

~ i



1 ;!



1 b



1




    r



    1




22

23

24

25

26

27

28

           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJiTDICATION 1902 DECREE
                                                    ,~
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 63 of 99 Page ID #:63




 5

 6

 7




10

11

12

13

14

15

16

17

18

19

20

~ :!

22

~~ i




29

25

26

27

28

        EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                 18
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 64 of 99 Page ID #:64




               EXHIBIT A
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 65 of 99 Page ID #:65




                               PIJBI,IC I.AVr/ 95-58fi—NOV. 3, 1973                            92 5'TA'C. L485

          Public Law ~~5--586
          95t}i congress
                                                An AGt
                                                                                                   Nuv. 3. 15~7f1
                      R'o calidaCe certain land coavegan~e~s, nad far otLt~r purpvsea.
                                                                                                   (H.R.7971)
             Be it eryuact~~l h~,/ tluT Scsnute ~znrl Hoaure. of Repreaentui z~ea of the
           lInated fitatex o} A~inzraea in llongreax aaae~a~ilccl~                       l.xnd
                                                                                         MI1VBy8i1C88~,
                                                                                                 validation.
         1`TTLL I—T4 V~.LII7ATE'THE C~OIk•V~YANCE QF CLI~1'AIN
         '
           LAND IN THE STATI: OF CALIFORNIA T3Y TI3E
           SUtI't`~-IERN 1'=ICIFIt` TK~INSPCIRTA7'ION COMPA~+TX
              5~.. 101. S~ibject t+~ motion 1q3, the conveyances exeeutecl by the
          Southern Aac:ific Trnnsp~rtation Company a,~a a~:~~~a u~ ~Cr~on
          1C1i~, involviiig rertuin lttnd in Snn Jo~quln Caw~ty, Gnliforn.isy form-
          ing ~ ~si~t of t1~e r7~l~t-of-~vay ~rantet~ by t~zc~ Unit.~c~ S~~+s to t~►e
          Contral I'ticifia Rnilw~,y C'ampauy raider tlio r1,ct entitled "An Aet to
           aid in the: co~i~tetion of a railroad end telegraph line from tt~e biis-
          sozxri River to the Pacific Ocean, aad to seeu~r, to the G~~vernment the
           ►z:~ caf i;lac~. sama for ~ost~.l, iriilitury, and ok~Zer ~ur~~oses". ~p~~oved
          .Tuly 1,1862 (12 tat. 48A ), as a~nr~nded, ate hereby le~alized, validt~ted,
           and confirtnecl, e,.s far as any interest of the United States in such Iona
          i~ concx,rriec~, and shall hava ilie s~tma farce and r~t~oeG as if f~ho lane!
          involved in a,ach eonti~etirincr had I n h~lei, on the, d~t~ of eonvayu~ico,
          undhr ~~fr~~lut~j f~~~~j si,npi~ tide ~y ~1~~ ~Sc~ut.hern. Pacific `P7~~~s~poi~t,u-
           tzon (:ompany, subject t~o n reservation to the United States of the inin-
          era.ls tr►crein.
               Sr:c. 10~. Tlie conve:~-s~nces refert~ci t~.i in t}ie. fit~t ~t~ction of tl~ir~ Act n~~;~,t;~A.
           aro us fr~1loF~s:
               (1) 'I'ho cam~eyanco entnrrd into bet.~ceen the Southern Pt~,cific
          Transportation (~onipa,~i~, grantc,r, ~t~ul Stokely-~rxn Camp, an Tn:li:ula
          cori~arnt,icm, xs ~~n.nt~e, on &~Iarch ~, 1373, and rrcord~ =~s instru-
           m~~t nurnlx~nc~l ~i~i7:)7 on 7)ec;em~z• 3, 187 , bcwk 3822, page 586, of
           t}18 OfTICIFI~ RCCOI•~is of ~~n Jc~quin Clount~~, Califo~'2118 T C~PS~3•ibing t}ie
            following lands: That certain ~~r~rcel of land situate in the county of
           Sstn Joa~~uin, State a# Gt~lifornia. Uein~ ~t patfi.ian of the west luilf
           a~ ~c~Giun 1~, tvrsnsixi~ ~ nort.li, ~•ar►gr~ fl ~a:~t, AZ~u~~t Uiul~la bz~se end
           n~criiliain, dc~crit~rd ns foll~vvs:
                     The easterly 1'L5 feet of the ~vegtcrly 150 feet. ~f lots 66, 67, 68, E3~,
                  tl~~~ westerly 150 feet of Ivt '70 and the eastNrly 100 feet. of the*.
                  west~riv 1~f} ft~i~t. of lot 71, ns said late tare sh~tivn on the rnn.p of
                  the I~oc~i-liarnl~ut~G Tract, rc~cord~d Navcmt~r 5, 1!)06, in volume
                  3 of 4ir~ps nn~l PIats, p~gti+ ~;9, r~*cords of said ccunty.
          !'t.xeepting Chere.frun; tl7ai nortian ~~f said lc~L (>S lyin easl:arly of the
           a~sterlp bottnclur~' ~f the land cicscrit~ed iii the deed ~ated ~1u~~tst ~7,
            ~9FiZ, to St.~kety-~an Camp, Incorpoc•~tecl, recorded ~aptambar ~,1~3(3~.3,
          in book 2~J2, pale 383, of URiaial Raeords, records of said county,
           nnii :~uutherly of tl~e cnstcrl3~ ~rolor,Rutian of rho northerly boundary
            ttier~sof.
                (2) The can~~~~yana~ eY~te~~cl into k~tsceen the ~ouGhern Pacific
           'i'ransportutian C`c~mp~ny,~n~u.utor, Ana I3ei~nardino I3~ronga, a mnr-
           ried man, :i~ grantee, an June 27, 15 73, anci recorded as instrument.




         AUTHENTICATED
        U.S. GOVERNMENT
          INPORMATION
                  CPO
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 66 of 99 Page ID #:66




          92 S'TAT. 2956               PUBLIC LAW 95-586-1!'JV. 3, 1978

                       numbered 37943 on Augast 9, 197 ,book 3792, padre 21, of the Official
                       Records of Sa n Jaaquin County, California, descr,~bing the following
                       lands: T}aat e~rtni~l ~ureel of Land situated in tho cou~ity of San
                       Joaquin, State of California, being a portion of the southwest grcarter
                       of section 24, township 4 north, rnng1e 6 east, ~onnt Diablo base and
                       meridian, described as follows
                                Commencing at tl~e intersection of the oinginal located center
                            line o! Southern Pacific Transpoc~tation Company'a main trmak
                            (Stacl~tan to Sacramento} with a line that is parallel with and
                             distant 20.00 feet northerly, moasured at right ankles, from tho
                             south line of said ~oirthwesG quarter of seetian ~4,said parallel line
                             being the north line of Acumpo Rosd (formerlp Main Stx~:et~
                                thence north 88 degtees 36 minutes 00 seeonds west, ale eaic~
                             paralle] line,14p.71. f~t~ to a line that:s parallet tivith and~~stant
                            18b.0~ feet ~v~terly, ri~easured at right aaigles, frouz said ari i-
                             nal located center fine and the true point of beginning of t~e
                             panel of Ian~I to he de~rz~ibed;
                                thenco north 14 degrees 58 minutes SO seconds wit, along last
                            said parallel line, 888.1 feet;
                                thence aauth 75 d~~rec~ d1 minutes 30 seeonds vrest, at right
                             an~;Ic~s from last saki~ pai~ellel line 9.40 feet to the southeasterly
                             corner of. the lands of Dino I3aren~;a as aescribE+cl in deeed recacded
                             Se~~teml~r 2:~, 1 }61, in look 2462, ptt~e 29Q, Official ~ecards of
                             said county;
                                tl~enae northerly along the easterly line of said tends on the
                             fol}gwing four coirtses: (1~ north 14 degrees 58 minutes 30 sec-
                             ands wit, parallel with said center line, 14.60 feet, {2) north 11
                             degi~s 33 ralnuta~ 30 seconds west 100.00 feeC,(3} north 9 d ress
                             34! minutes 3p ascends west 50.00 feet, (4} north S degreees 29
                             minutes 30seconds vest 27.60 feet;
                                thence s~irth 6'7 de~grces 42 n~iniates fltl seconds west, along the
                              northerly line of last said lands 69.88 feet to a line that is parallel
                              with anc~ cli~t,ant ~t)O.UQ fist westerly, rn~asured at      ht ankles,
                             fror~; said onginat ]dated centor line, last said pax~ll~line being
                             the westerly line of the 400-foot right-of-way ~~ar~tad by Act of
                             Congress to the Cenkr~l Pacaifie Raili~aad Ct~mpany;
                                thence south 14 degrees 58 minutes 30 s~concls east, alonp~ last
                             said para11e11ine,1048.81 feet to said north line of Acnmpo Road
                                thence south 88 degresa $6 minutes 04 seennds east, alori~ snic~
                             north line, 67.fig feet to the tM~o paint of beginning,cantain~ng an
                             area of 1.565 acres, mots or leas.
                          {3) The coriveytusce ~~~tex~~~ ini:~a b~ttiveen the ~~raut~ern Parifio
                        Transportation Cornrany, ~i~tntor, and Calvin Clariz TII, n married
                        mt~n, as~►rs~ntee, on No+~ernber 4, 1A74, and recorded ~►s instrument
                       numbeY~d 56811 on T3c~~rnl~r !J, 1974, bock :484, p~t~a 6~0, of the
                        Official Records of Sin ~Tonc~uin County, Californ~n. describing the
                        following lands: That certain real prnperty situatod rn the county of
                        Caen Joagitu~, State of C'nlifornia, bain~ a portion of section 24, town-
                        ahip 4 north, rnn~e 6 east, biaunt DiablA base and meridian, more
                        particularly descr~l~ed as follows t
                                Commencing at the point of intersection of a line par~llel with
                             :ind distant 80 feet westerip, measured at right. an~►tes, fmrn the
                              oasterly line of Spcarnore Stzeert, with the ~aastarlp pralon~nti.on of
                              the nort}~~rly line of s~n nlleyl in block 4 as said street, alley and
                              block are shown oti the neap of the town of A.cnmpo;
                                thence snuth $8 de. reel 3K min~~ttus ~1Q seconds east. along said
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 67 of 99 Page ID #:67




                            PUBL[C 1.~1W 95-5$6—NOV. 3, 197"$                                92 S`I'AT. 243i

                 prblan~~tion,zinrtherly line and its easterly ~rrolon~at~.on thereof,
                 4T4.45 feet to a point in tlrs sciuthweatarly li~~e of T~nci (400 f~C
                 wide) of Southern Ptu,ific Trt~ns~ol~ntionCoiupany;
                    thenco north 14 degrac~ 58 n~~nutes 30 soconds avast along said
                 ~outli~ terly line 1~in~ parallel witlti mnd distant 2~tl.0 fit eaukh-
                 westerly, measured nt ri~;l~t angles,from tha on final la~tttc~d cen-
                 terline,of said company s main truck ('Iracy-Po~)~ 168.38 feet to
                 a point iu tha northerly line of land of Dino I3~rengro as de~cribeci
                 in deed r~~ccrrded Se te~r~},~r ~9, 1981, in book 2hfS2 of tine OfG.aial
                 Recoreis, pale 2Q0, ~e~;orcis of San Jaaquin C'oiwty And the actual
                 point of beg~►nninq of the parcel of land to be described;
                    t~iance canti.n~nr~ north 14 dQ~;reas~ 5$ ininuLes 30 second west
                 atong sgid ~ut.hwe~tecly ]iris, 895.8 feet to s point in the souGherly
                 lino of land now or formerly of George L. Keeney and E. M.
                  Sceney ;thence south 88 degrees 57 mitrutes east along tliG ~conds
                  west .long said so~th~vosterly li~t~, 693.8 feeC Ca ~ ~aozi~t d,istn~,rt
                 74.0$ feet westerly, measured ~t z°iKht ~rxglea, from St~~d center line
                  of msein track;
                    thence sotitli 6 rle~re,~s ~2 mi.nutas cost S~a.Q5 feet;
                    thence south f~ degrees ~9 min~xtes ~f? seconds east, ~5f1.88 toet to a
                 ~oint in said northerly line of Dino B~t~engo, being distant 151.12
                  felt ~cesterly, ~~~emeureci at ri~l~t angles, from said center line;
                     thenecr sautl~ 67 do~t~es 42 ~inutos tl0 sn:cunds west along last
                  said narGherly lute, 4 29 feet to tt~e a~~tua~l pnitit cif k~~u7nix~~, co7~-
                  tainiu~ nn aim of 1.343 aci~cs, mots or less;
              (4) The cot~vayr.nce entered into het~seen ~17e Southern Pacific
          '1'ransportatian C~nm~uny, rt4r►tor, end the city of T..c~di. a municipal
          c.~orparation, as ~rantea, on~'ovemUer Q, 1~J74, anti recorded us insfru-
           trtentnumbered 5756# on Decembae 1fi,197~, i~ok 3987, page ]fig, of the
          n~ca~l IS~ee~+c>i~cis of Ss~n «Totu~uin County, (rt~lifor~~ a, de~ritain~ the
           followink lands :'T"U.at certain strip of land 125.00 feet in width, sit.nate
          in the south half of section 36, township 4 no~•tl~, range 8 east, Mount
          Diablo base and me..rid:i.an, cauzity of Sun Joaquin., State of GalifotT►i~.
           end dn~eribe~ll a~ follaw~:
                     A strip of I~r~cl 12a.(~ feet wire ling canti~ttutt~ t~ and hnaterls~
                  of a line parallel with and distantix.40 feet easterly measured at
                  right ain;~les, fibm ~t~e original ]Dented center line of Southern
                 Paaifio Ti•~wcis~ortution Comi~an;~'s main#Yuck (fitocktnn to Palk}.
                  and oxtenc~in~ f~.bm that certain course described as "south 80
                  degrees 47 m~mites west 200 feet, more or less" iti the northerly
                  t~uundary of tl~e land clest;ribed i,n deed dnted .Tiny 15,15}87, from
                  Southern Pacific Compau3 to -Jay I.o~~eless recorded C?etober 1p,
                  1867, in book 3158, pa~e 339, OHicinl Records of San .T~ain
                  (:ounty, northerly, to the norCherl~ lire of the 3.B-AC2'E ~1A1"C!! of
                 land c~ crit~d i~~ deed doted 3UIay Q2, 1g15, from H. ~i~chtlxold et
                  us, to city of Lodi recorded June 25, 1U16, in book `zA", volume
                  266 of deeds, pine 8, San. Joa~_uin (county RPeorcis, said northerly
                 ling being described in said clee+d ~s fallowing the n~e~nclera of
                  the snut~iern bank of t}~g Mokelumne Ziiv+er.
               f 5) 1'he eaaement entered into between the Southern Pacific Trnns-
           portution Company, gr~utor, anci the city of I.ocli, ~, municipal cac~ao-
           ration, as ~r~nntt~, fnr rnad~~ny ttrpc~seesy an November 21. 1A74~ tend
           recorded ns Uustruni~~nt nulnl~e~~e~5528 nn February 7. 1875. hoot: 3952,
           pale 203, of the 4~cinl Records of San .louquin ~C,oimty. California,
           describing nn easement open Glee fatlpwin~ ~rn~et~y : That certRin
           strip of land situflt~+ in the south half of section 36, town~hin 4 north,
           range 6 east;Mount Ditihlo base and meridian, County of San Joaquin,
           State of Cul~fornia, end described as follows
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 68 of 99 Page ID #:68




          92 STAT. 248II                PUBLIC LAW 95-SB6—NOV. 3, 1978

                               1~ strip of liu~d ~5.W feat in width lying; i~onti~u~us to uucl
                            ea,~t~rly of s lLie tyurall~l and concentric w►tli and distant 7G.00
                            fc~;t easterly, me~ured at right anglRs and rudinlly, #rom the
                            original lcacxted c,~ntgr line of Soutl~erii Pucifir. Tiun~portutian
                             C'arr►p:any's main track (St«ktcan to folk), t~uct estend~n~ ~~•ona
                            tlt~ »o~•therly line of thv'~t),4$U sc~uai~.~ foal paz~c~e] of laud dc~scritxyd
                            in Indentm~ ~lnteci Au~~st, •L4, leWl fi~ni :southern Yucific
                            Company to city of Lodi reworded .September 12, 1S~fi0 iu book
                            2334, page X21, San Joaquin Cou~rty ~~ecorcls, ur~rtli~rly, to that.
                            c~ert~ii~i cotu-~, d~scrii~ci us i`soiith Stl ~e r@PS'~7 IIl2RlltHti \tif'$~ ~~K~
                            feet, ~ru~~~e ~r lei," in tl~e no~~tlie~~ly bnun~ary of tic land cie~ci~ibed
                            ui dek~cl dated July 13, lf)67, from 5outliern Pacific Cornpa~iy- to
                            Jay Loveless recorded Octol~r lU, 1967 in book 3158, page 389,
                            Oflirial Records of S~.n Janc~ui.n County, said 25.t~f? fcx~t. wide
                            strip► hut~inubcyvo dchs~;ribc~:i lyeitt~ ul~+o ~:ont~~uous to and we~t~.%rl~~
                            of the wast~ily ling of the lUt7.U~ foot, wit a strip of l~nc~ quit-
                            ~a~;~►~~a c~ any r.~~e~e.~ try ~,a ate.
                       Iteserviiig unty griwtor, its suceessoi~s mnc! ussi~nis, tihe right to con-
                       struct, niamGain, un~l use railro~cl, pipcline, comnitiiucation, and tra.ns-
                       ~aortat.iaY f~ciiities in, upon, ~vcsr, :~lonb, ~r~a ~~,~~~y ~~~a ~~~~~r~y.
                           {6) `i~l~e ranyeyu~~ce ~r~tec~d uif~ laet~reen tlio Saathern Pacific
                       Transportation Con~p~,uy, ~nantar, and Edward. Z'4'. Le Baron and
                       hiable Ii. Le Baron, his wife, Donald Reynolds and Gon~tance E.
                       Reynolds, his wife, and RobeY~t Reynolds and Ca~nlyn `~T. Reynolds,
                       his wife, ~s ~r~cit~s Sri MarGli ~~, 1977, acid recorded ns iissGrument
                       numl~red ~~0~43 on .June+ ~, 19i7, l,aok ~~~67, page 4.5~, of the aPticiul
                       rec;ards of San Jo~c~uin. County, California, describing th~> Collowiii r
                       lands: That certain parcel of lend sitixated in tha southeast quarter o~
                        section r3 and southwest quortar of ~eeetion 24, to~~nship 4 ~iorth, range
                        6 east, lliount I)iubla bfl.ae e~i~c1 mei•icli~n, County of S~ui Jc~:ic~uirt, ~tnte
                        of (:'ulifornin, and mare particularly descril~.l as fallow:
                                Commencing at tha point of mtsesection of a line psrallel with
                             aiici distant ~0 fact ~resterly, m~.4itred at. right ankles, from the
                             8&St8T1~ 11110 Ot SVCAtIlOI•e Street with t~10 it @9fP.l~ly proloti~ution
                             of tha norGherly line of sin alley in block 4, ns Gaid stx~eat, alley,
                             and black ~r~s shown en thc~ mnp of the town of .'~campo;
                                Glre.nea south f;$ de~t~ees 36 minnte~ 00 secancls 4asL, along :;a,icl
                             prolon~ntion, said northerly )ine and its easterly pI•olon~mtion,
                             474.05 feet to u point in the, souGhtvest~rly line of land (~(~ feeG
                             wide) originally ~ec~uinci Uy Central Fttcific Railroc~cl Compitny
                             by vi~t,uc~ of ,~1ct of (.ongi~as~ dated July 1,18$2;
                                thence ncirth 14 de~rnes 58 minute4 .30 seconds west, a~on~ hnid
                             soutli~resCerly line, being ~,nrallel ~+•it_h and distant 200.0 feet south-
                             weatc;rly, measured nt right ankles, from the original location
                             center ~inc~ of main trar.,k (Trac3~-Pol1c) now of this Southern
                             Pacific Trn.ns~~ortntinn Corr►panv, a dist~nae of R6Q.18 feet to the
                             northwesterly corner of the 1.843-acre: parcel of IK~id de~rrit~eci in
                             quitclaim deed dated November 4, 1Afi~ from Sout]irrn Yncific
                             Transportation Cornitany to Calvin C"1nr•k IIT, rernrd~rl D~*~mlyer
                             Q, 19 4 in bark 89~~, pn~e 64Q, Official Retards of Sari Jo~q~iui
                             County, Rncl the trnr point of be~innin~ of the cartel of l:ind to
                             be desarit~d;
                                 thence continuing north 14 degroes b8 minutes g0 seconds west,
                             along said southwesterly line, parallel with a,nd distant 20Q.0 feet
                             soutli~vest.~ely, nion~urod at ri~~tt an~gles, from said center line
                              of main track, ~. ciistaiace of 1,UU0 feet, morn or less, to the north
                              )ine of ~aici southeast quarter of said sectinn 23;
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 69 of 99 Page ID #:69




                           PUBLIC LAW 95-586—NOV. 3, 1978                           92 SI'AT.148~~

                 thence easterly along last ~ttid noi~tli liric~~ 130.;3 feet, mare car less,
              to a point in a line parrt~11e1 with and rixstunt 74,0$ feet sonth-
              wovterly, measured at right aangles, fi~om said aoriter ling of said
              transpai~.ation company's main track;
                 thence south. 14 ciegre~s u8 miriutc~ 3Q t~ec;onc~s east, last said
              parallel Iine, 1,000 feet, mare or labs, to the no~~theasterly corner
              of said 1,343-acre parcel of land described in quid deed dated
              November 4, 1.974 to Calvin Clgrk III;
                  thence north 86 ~~e rees 57 ~ninuteg ~tiest, along tlta northerly
               line of last said par~,131.U2 feet to the true paint of beginning,
              containing sn arna of 2.89 acres, more or )ass.
            Saa.103.($) Nothinginthis:~etsh:ill--
                  (1) c~irninish the right-af-way referred to in the .first section
               at this Act to a ~ridth of 1esg thnn ~ift~ feet on ep.ch side of tho
               center of the main track or tracks established and maintained by
               the Southern Pacific Gompany on tl~o date of t}io enactment of
               this Aet; or
                  (2) vnlids~to or confirm an~~ ri};ht or title to, or iaiter+est in, they
              )and referred to in tho first section of this Act ui~ising out of
                edvet~e po~c~ssion, prescr7ption, or t~bandonment, end not can-
               firmed by conveyance made by the Southern Pacific Cau~psny
                bafare tl~e ei~to of the enactment of this.c1ct.
           (b) Thero is reserved to the United States a12 oil, con1, or other R~lee and
          minerals in the land roferred to in t.lie first motion of this Act,t~~ether ~~~+Uona.
          with the right to Prospect #or, mine,and reniovo such. oil,eonl,or other
          minerals under such rules end re,~,rnlatians as ttas Secretary of tie
          Interic~l• may 15resci-ii~e.

          TITL~N; II—TO CO~TFIRhi A CONVEYANCE OF CERTAIN
            REAL PROPERTY IiI' THE SOUTFTCRl'~ PACIFIC RAZL-
            ROAD C0~4iPANY TO bi. L. SPICKS
             Ste. 201. The conveyance d~~cribed in section 2Q2(a) of this Act
          involving certain r~~,l ~roparty in l'.as An~+les Cc~anty, Cali#nrnia, is
          hereby conSrmed in t~a succexsc~rs in interest to M. I,. Z'Vicl:s, tha
          grantee in such conveyance, with respect to nll inter~,ts of the IInited
          States in the rights to the real property des~eribed in section 2U2(b) of
          this Acct. Portions of tl~e real prop@rty de~cril~tl in each section 2d2(b)
          formed part of tl~e right-a#-~4a}~ grnnted to the Soutl~err~ Pacific l~sil-
          road Company,a corp~rtxtion, by the t?nite~l States by the Act entitled
          "An Act to incorporate the Texas Pacific Railroad C"~mp~ny, and to
          and in tho Constr~ietion of its RoAd,and for other puz•pases",~pprbved
          112arch 3,1871 (16 Stnt. 5i3).
             $~o. 202. (a) Tho conveyance ranfirmed by this Act .vas m~cle by a
          dce+d dated Aiay 4, 1887, bV the Southern Pacific 12ailrond Company,
          n cori~aration, and D. A.14~i11~ and Gert-it I.. Lnnsin~, Trustees, tc~ M.
          L. 1'tricks rind rc~cordeti on Mnc 9, 1887, in the of~iic~ oil the county
          recorder of Los Angeles County,in the I3oak of 08`icial Records, Bonk
          22'? at ~~n~e 172.
             (b) The real ~aroperty refecrcd to i.n the first ~secfi~n of kiiis Act is Deacripuon.
          certain meal property in t}~o x~arthwest quarter of the ndrGheast
           q uarter of section 15,townsl~ip 7 north, range 12 west,San Bernurciino
          Meridian, in Los Angelus County, California, more particularly
           descri}~aci ns follows
                  Badinning e,t the inters ticrn of the easterly line af. sierra
                I3i~hway (formerlp AntelnpQ A~ezrue) fl0 feet wide cis shown
                on county s~arveynr's map numbered 82UU on file in the oH'ice of
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 70 of 99 Page ID #:70




         92 STAT. 2490                    PUBLIC LAW 95-58fi—NOV. 3, 1978

                              tho surveyor of su,id county will, the cu,~terly prnlangnkian of tho
                              northerly l~na of Jackn7an ~tre~st (forniarly Ath SCre~~t~); thQnce
                             easterly along said prolongation to tha westerly lire of the right-
                             of-wt~y, 100 feat w~cl~, sa trs~rvc3d in that certnin deed doted
                              Mud 4, 1887, fmm Southern Pacific IZuilraad Go~rypuny, a ec►rpn-
                             ration, and ~. O. Mills xnrl Gerrit T.. l,ansir►~, trubteas to :~Z. I..
                              Wicker, recorded May A, 188?, in lia>k 22l at page 17Z, official
                             records of said ~~unty; thence noi~t.l~erly along ~utid ~retitcriy
                             right-of-way line {324.34 feet moro or low to the southerly line of
                              A venue I (formarly Sier~~ Madre R.~ad) ; t}ienc~ ~vesierly alan~
                             :said sniitherly line of A~~~nu~yIto the enstcsrly line of tukic~ ~,irrrn
                             Hi{;hwuy; thence southerly alon}~ said eest.~rly line of tiierr•a
                             Highway to the mint of tx+g~nnin .
                           ~sc.2U3. a) Nathm~ in tl~i:s Aet sl►a~l—
         Right-of-wsy.           (1) ~itr►ini~h the right-of-~'ttv refert~ed to in tltc fiat section of
                              this Act to a~ width of l~.s;.~ t~~~u~ 50 feet. on cuc.~~ side of the center
                             of the main tract. ar trtu:ta estMt~lishea and rnaintuinerl by t~hc
                             Southern Yurific Comp~uy on the duke cif tlia enactment of this
                              Act; or
                                 (2) vuliclatA csr ccsnfir9T1 2111 1•i~;l~t ryr title trr, or interest in, Chi
                             i~n<i ~Y:fe-rrcxl to in the first :~ctton of this Act ~rigin~ o~~t of
                              sulverse passion, prn~riI~tion, or abandonment., atTd noL con-
                              firmcsci by oanvey anccs mode by the Southern Pacific, Company
                              t~cfo~~e t.lie ciz~te of tl~e enuctiuent of this r1ct.
         tiulee and        (b) '!`here is reserved to the United Skates all. oil, coal, ar other
         ragu►a<<ona.    minet~ls in thy+ land n+ferreci to in ~l~e fit~st section of this Act, taget~ier
                         with tho ri~~l►t. to protipect for, mine, and ~romovo such oil, coil, ar ether
                         minerals under such rules tend m~ilations ~fl the Seri~etary of the Lrte-
                         ►•iocmay ptrscril~c+,

                         TITLE III---TU YROVTDE FOR TIIE CONVEYANCE OF
                           CERTAIN PIII3LIC' LANDS IN b~ONT:1vA 'I'n THE UCCLT-
                           P~1NTS OI' 'i'HE LAND
                            S~:o. 301. T'he:~ea~~etary of t:he Interior is hereby authni•ized to canvt~y
                         to Fraaicis T. Olson and Zona I. Ulason, iiusbnnd and nife; I)an I2ay-
                         mond and Elizabeth Louise Raymond, Husband and wife; and Fdwarc~
                         J. I3onderenko or their successors in intorest, all ri~hk, title, and interest
                         of the United States, oaenpt right, title, and intarnst in d~~c~its of all
                         minei~,ls, in lands identified as tr~ctx nun~t~ered 1, 2, an<i 3 in that ~~rt
                         of the west half, soutlnvc~ yuarter of the Ziort~iwest qcarter, sectioat 2,
                         township 10 north, rnn~►e 1 Rest, Montana rrinci~aal meridian I.nwis
                         and Cla2•k County, Montana, lym east of Clie °Erroneous Survey
                         I.in~",lying north of tlio county ran~ri~;ht-of-way as shown on I3urett►x
                         of 1Zeclamntion c~cmwing ntimbor 29Ei-6U~-170, datc~l St~ptarnber 24,
                         1971, and ns deterr~iineci av~ilablo for rate try the Sc~ret.siy of the Inte-
                         rior. Such conveyance shall Ue made only upon applications by such
                         aforementioned individuals themfor ~~ithin siz months after the date
                          of this Act, at~d u~~ai pa~yrn~~nt ~f tho appraised fair ia~arkAt v~~.lae of
                          tha land as of this dates of sr~la plus the ~.riminista~tivt~ cr~sts2 nclu~tin~;
                         costa of a land survey, of making the canvnyance, ~s cietnnn~necl by thh
                          Secretary of the Intoc•tor within one, ~•onr uftor notification by the Sec-
                          retary of th0 Intea•ior of the amount due. In dekermining tha fair
                          nxs~rkat value of the land, the Secretary of the Triteriorsliall not include
                          any values added to ChaI nd by Francis T. Oteson and Lone I.41Qson,
                         husband and wifa; Dan Raymond and Elizabeth I.ou ee Raymond, hns-
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 71 of 99 Page ID #:71




                          PUBLIC L.AW 95-586—NOV. 3, 178                            92 S'1"A'I'. 2491

          band and wifo; a~ztd Edward J. Bonderenko ar their succ~~sscira in intsr-
          ast, or their heirs. Any conveyn~nce m€~de pursuant t,o this Act shall
          reserve to the T7niteci Mates all deposits of all rnincrnls in tl~e lands
          to~at}zer with tho iz~ht to mine and remove the same,cinder ap~livable
          laws and regitlat:ians e~atat~lisl►~c~ by the Secretary of the Interior. waiver.
             Sic. 30L. A.0 ept;a~ice of Fr:~ncis T, Oleson acid Zona T. Olc~sc~n, hus-
          band and Rife; Dan Ida mond and Elizabeth Louise Ra~rnond, hus-
          band and wi#e; ana r~'rvard .J. I3onderen~;o or their successors iii
          inter~.~t of any ccu~veystnce ni~idc hermundrr sliail canetitixtd t~ wtaiv~r
          and relea~ by them of any and atl claims against the United States
          arising out of the o~eration, maintenance, or construction of the
          C"9Ti~0I1 Ffl1T~ Uril#~~ Pick-loan Missouri T3~.Sin program, ~,s now or
          hereafter authorized.

          'TITLE: IV—Tn AUTHORIZE THE SECRETARY OF THE
            INT~RIQIi, 'T'O CONVF~.' ALL RIGHT, TTTLE, AN77 INTER-
            EST OF THE UNITED STA7`ES IN AND TO A TRACT OF
            LAND IAC~IITED IN THE I~AIR;nA1~KS RFCORDIN(~ DIS-
            TiZI(~T, S7`ATE 4F A.~SKA,'TQ T~iE Fd~IIZilANKS NORTI~i
             STAR BOItOUf3H
              ~~c;. ~1. `I"he 3ecreta,ry of t.h~ Interior is autharized Go conv~~ all
          right title, and interest of the United Stag its and to the follaw-
          ing ~esc:i~ibed real property, loeatecl in the Fairbanks Recording
          District, to the Fairbanks North Star Ht~roa~h ~vithouC payment of
          r..nnsider~tiun
                               ~u~ wE~r rom~ox of aLocx sog
            A tract of land situated in the northwest qu~ er~er section 15~, town-
          ship i sout.h, n~nge 1 west, F.B. and M., also known as i7nited Staten
          Surve~~ t#9 of the Homstead Claim of Stavin Rickert de~seribed as
          follows
                 Commencing et corner nurabar 8, U~~itad Stites Survey ?~Turt~-
               bered 849, (hence south Sfl degrees 57 minutes 14 seconds east, a
               distsnco of 2,300 foot, moms or less; u,lang a southerly line of said
               survey numhc~~red 849 which lies between co~•ners numtyer~cl 2 and
               3; thence south $9 de~•rasa C7 minutes Ofl secancis east, e. distance
               of 30 feet, more or less; thence north 0 degree 58 minutes 34
               seconds west, a distance of 10 feet, more or less; to the true paint
               of ba~inn ng; thauce north 4 de R~c~e 56 r~inatex 34 secc~ad~ west,
               a distanco of 837 feat, maro or ~ess; thence south 89 degrees 52
               minutes 43 r~ecgnds ease, a distance of 518 feet, more or less; thencs
               south 0 degree 07 minutes ].7 seconds ~r~st, a d sttince of 3.~7 feet,
               more or less; them north 8tl de~r~es ~fi minutes 09 ~conrls west, a
               distancs of b10 feat, morn or less, to the tree point of beginning,
               and containing 278,218 squai~ feet, more or le,~.

           TITLE V—PROVIDINQ~ F4~t REINSTATEDSENT AND VALI-
             DATION OF T7NITED STATE$ OIL AND Q~AS LEASE$
             ZdLTMBERED ~I-12871, U-!.2872, II-128fi4, U-1287, I7-128fi6,
             U-12877, U-12Sfi8, U-1ZSf31, A1~T"U U-13B66
             Sac. 5Q1. Not~vit~~stn,ndin~{ sny cieci~ion t.n the contrar~ heretafare
           made by the Secretary of tt~e Interior of the TTnited estates or hip
           authorized ageats oi~ representatives, subject to tho requirements of
           section 502 of this Act
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 72 of 99 Page ID #:72




         92 STAT. 2492                     PUBLIC LAW 95-566—NOY. 3, 1978

                            (a) IInited St,a#as oil and~as leases numbered U-12871, t1-12872,
                           U-12874,iT-1287b, U-12878, U-12877, U-12878, and U-122&1 shall ba
                           hold not to liavo terminated by operation of law or otherwise on
                           Decsember 1, 1~7b, birt HhaIl be deemed to be in full force and effect
                           for the farm of said leases provided tJ~at ronta~ls for subseryuent y~rs
                           are paid or tendered within the time required Uy law grid the terms of
                           such leases.
                             (b) United State oil and,~as lease numbered U-13666 shall he held
                           nit to h~vo terminated by oYaem.tiati of luw, or othr~r~vise ou April 1,
                           19fi6, and the term of said lease is hereby eetended to a date t~centy-
                           four mont)Ys uft~er tho edectiva date of t}us Act and so long therenfter
                           ae ai.l or ;gas is pre>citiced 9n ~aying~ quantities, pravideci that: re~~t~ls
                           for subsequent years are paid or tendored within the time renuired by
                           lam and the terms ofsuch lease.
                             SEc. ,502. Within thirty days after tl~e effective dat,~ of this Act, Che
                           Secretn,ry ~liall ~itie notice to the last. record balder of th~i oi.l and gas
                           leases listen in the first section of this Act of the remount of unpaid
                           rental then accrued under said lenses or that ~~otild hive aacruQd hid
                           thn ic~ses not terminated, 1'Vithin thirty days after receipt of such
                           written notice, the last i~coT•ci holder o~ snob Ic~.Ses, their succeasc~rs
                           or assigns, shall tender payr►~ent of the amount of rental to tha ~~~ci~e-
          'l~erminatiun.   ~~. If puymee~t is not rnRde within tho required time, the ~rmc~isians
                           of th e Act ah~11 termin~tn end tie of nn force and effect with re~p~ct
                           to those lenses for which payrnenG wus not made.

                           TI.TI.F `'Z—F4R THE: RELIEF OT' MARIAN LAVP SH:~LF:
                             ~iOLi.OtiVAY, ADELINE; MARY GTT.L GFIARLES, ~NI)
                             ELIZA SHALE CARSTENS
                              SEa. 601. (a) Natwithstanciin~ any oilier provision of lave, the Serre-
                           tary of the Interior is authorized and directed to pay, out of at~y
                           money aPpropriated to the Department of the Interior, to 3Snrinn Law
                           Stile Iinlloway, Acl~line Mary (grill Charles, and F.lix~ fihnle Carstens
                           (or t~o their estates) such stems as ho determines eaali is le~,ally and
                           equitab]y entitled to as cam}~ensntion for lossr~ (including reasonable
                           attorney fees) resulting from his erroneous approval of p~irPort.ed
                           convoyands of parts or all of lot fi, section 35} tn~rnship 24 north, ri~n~,re
                           13 west, Willamette meridian, containing ei~htee~i and seventy-five
                           hundredths acres, more or less, according to the Gave~~nment anrvey
                           thereof, such property k~in~ a portion of the allotment of Hattie
                           Smith, deceased, Quinault ullatt~ee numbcreci 420, and which is not
                           subject to homestead entry. Such property is situated in Jefferson
                           County, State of Washington on the Quinault Indian Reservation.
                              {b) Thc~ paymeat and ~ccept~nco of each compensation pursuant to
                           this Act shall be in fu11 satisfaction of all cl~itns (1) of the said
                           Marian La,w Shale ~-Iollowav, Adeline Mary Gill Charles, and Eliza
                           shale Carstens, Against the ~Jnitecl States or any ofl~cer or employee
                           thereof ariein~ <>ut of or ui connection with this purpurted conveyanec~
                           of such property or portions th~+reof approved by or on be}ialf of the
                           Sflaretary of the Interior nn February la, 19n1, Se_ ptember 3, 1853,
                            and April 19, 19;~b:and (2) by Adeline M~~rq Gill Charles and ~tiza
                            Shnlo Carstens a~t~~nst Marian Law $hale HoAow~,y arising oat of or
                           in connection with the purported conveyances of portions of each
                           property approved by or on behalf of flee secretary of the Interior on
                            September 3,1fl53, and Apri119,19~5.
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 73 of 99 Page ID #:73




                          PUBLIC LAW 95-58fi—NOV. 3, 1.978                        92 S'T"AT. 2493

           (e) As a condition precedent to receiving payment of such com~~en-
          sation pursuant to this Act, t11e said lltui•ie~n La~v Shale Hc~llacnay,
          Adeline ~inry Gill Charles,and Eliza Shate Carstens(or tUe executors
          of their agtu.tes) shall execute such raleases and other dacumonts as
          the Seci~atary of thg Interior dat~rmines ara neces~t~ry to fulfill the
          pur~c~ of t1►is Act and remove nay cloud an tie title of such property.
            $Ea. 602. No part of tha amount ~p~aropriated by this Act in excess
          of 10 p~,r ceiitum tlierenf shall ba paid or cieliverecl to ar mceived by
          anyt~ant or ttttainiey on account oP services rendered in canneation
          with this claim, and the same shall lie ~uilau~ful, any contrnet too the
          contrary notwith~tandin . Violation of tha prosisions of this section is Penalty.
          ~ mi~dayiea»or punisli~.b~c~ by ~. fine nat to e~caed $1,000.
          TITLE VIZ—GOSPEL-HUMP AREA BOUNDARY CHANQ~E$
            Sic. 701. Sec~tian 4(a) {],) of Che pct of Fa~rua~•y 24, 1978 (18
          U.S.C. 1182, Public I.nw 95-287) is amended bg striking the words Ana, p. 43.
          ".Tununry 1978" and ins~rtin,g in lieu thereof "September 1~J78".
                TI1ZE VIIT-1{AI.biTC?PSIS ~VILDEI~,NESS btAP
                               DEST(~NATION
             Spa 801. Seetian 3 of the Endaugereci .flmorietin wildcrnegs Act of
                                                                                  1~ USC 1132
          1fl78, Public I.aw 95-237 (93 Start. 43) is n►nended by adding a nBw note.
          subsEction (f) as follows:
             "(f) 'The nxu~ rofPresncod in para~r~ h (a) of this section, depict-
          ing the botmdaries of tha Kalmio~asis ~~ilderness Additions is super-
          seded by a map entitled`K~lmiops~s ~'Vilderness Additions—Proposeal'
          :and dated October 1978 which is on file and avnilablc~ for public
          inspection in the od'ice of fihe Chiesf of k-ha Forest Servires.".
             TITLE IX—~'RYINGPAN-~RKEiIv'SAS RECLA.111ATION
                              PKOJECT
               SEa 901. Subsection (a) of section 1 of the Act of August 16, 1982
           (76 Stat. 389; 43 U.S.C. 818 et aeq.~, is amended by insarting after th0
          wards 00Ru~di Dim end Reservoir, Colar~do," khe wards °~~nd as
           further madified and described in the description of tl~a pi~posal con-
          tained in the, ftnAl ennironmentnl statement for said project, dttted
          April 1G, IUi5,".
               Sic. 902. Subsection (e) of section 5 of such ~.ct is amended by 43 USC 616d.
          inserting after the word "therein" a comma and the words "inctud-
          in~g those. lativ~ of the State of Colorado x~lQting to the esl;r~bliahmant of
          muumum atresmftotvs for the reasannble protection of trio natural
          environment, to the extant that such laws are not inconsistent with the
          operntin~ principles identified in subsection 8(a) of this Act".
               Sac. U~3. Subeectian a of section 3 of suoh Act is amended by A3 USC 616e.
          inserting after thn word("~ongre~" a semicolon and the wordy "and
           shall be fiirther operated pnrsttant Eo diversion rates established iindor
           the laws of the State of Colorado: Provaded, That the rata of project
           clivorsions from the, FIutttor Creek watershed sli~ll not ~a~esd an
           a~;gre~tc+ of 270 cubic feet of water per second of time. W'ators so
           diverted may be utilized for all authorized pry)ect purposes as set
            forth in section 1(a) of this Act. Sash watoi~s, ezGlusive of tha amoant
           diverted for Roazring Fark exchanges provided for in subp~,ragra~h
          9(1) (c) and paragraph 11 of the above referenced operating prui-
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 74 of 99 Page ID #:74




          92 STAT. 294                      PUBLIC LAW 95-586—NOV. 3, 1978

                         ciples shalt bec;oine. Isurt of the prnject water supgly aq limited by sub-
                         paragrnph 8(1)(a) cif the above rrfQreneed o rnt-iu~ principles. No
                         ciivet~ions shill ~+ r7xade from thy± ITun~ar Cree~wat,~r~hed ~r}uch wi11
                         reduce the rernnining stt~ean~ftows at the paints of diversion to lei than
                         4 cubic feetpox ascend an Na Noma Greek, 5 pubic feed per second
                         cin Midway Cheek, end I2 cut►ic feet pesr s~eond on Hunter Creek".

                               TITLE X—TO CONVEY GERTAIAT Q~EOTHERI4T:~J.
                                 RESOGTRCES `TO THE CITY OF BOISE, InAHO
                            SEa. 1W1. (a) 7~hs Congi~e~.+ hereby uutharizaq and directs thasf t}r~
                         rights to tUe ~geothsrmal rPsonrees incluciin~ minei~ls present in the
                         geott~er~nal fluic.~, rra~ntly vested in the.IIniteci States of America in
                         real property d~s1~~aCec1 as Tra,et 37 (contained in                  . Q and 11) cnn-
                         sistin~q of 4.18 acres, snore or lass; 'I`ract 38 (cantaincsa in secs. 1, 2, it
                         and 12) cnnsi~ting of 449.18 ncr€s~ zrine~ ar le~~; Tract. 3A (contained in
                         sc~. 2) ranaigtin~ of 14.64 acres, more or less; and Tract: 40 (contained
                         in sec. 11) consigtin~ of 4.~5 aci~s, more ar 3ess,: n11 in T. BN., R. 2F.,
                         23.M.; t.~~ther ~ri~h a parcel des~cribeci as follows: Commenci►~g tzt tho
                         santhwest corner of the ()id Fort Boise Military Reservation, tl~encc+
                          Werth :~evonty cie~recss zero minutes east one thoc~snncl fauc• lxundred
                          forty-~ig17t and two-kc~nths feet; th~tic.e north foctr cis; Y'C+~l.3 t~111'CV-tW0
                         rninutrs east six hundred and twenty-seven feet to L~e true point of
                         be~innin,~; tl~enco the following cour~+s and dis#antes :South ei~lrt -
                         sovendegrees eight minutes ~~est sis hundred ninety-six and flue-tents
                          feet; thence north twenty-one degree,9 two minutes west five hundred
                         and thirty-two feet; thence math ,z~~cty-nine de~iroes four minutes west
                         twenty-one anti nine-tenths feet; thanes north twenky-two degrees
                         forty minutes wit• eighty-six and three-t~enth5 fact; thence north
                         eighty-four da~ees fifty minutes e:~st nixie )nandred ninety-tht~c3e and
                         six-tenths f~f; thence south four de~ree~ thirty-two minutes west six
                         hundred twenty-four and ninety-five, one-l~unclrndtlys feet to the point
                         of beginning; consisting of ll.68 acres, more or ]ass (c~ont~ined in sec.
                         11, T. ~#N., R. 2E., B.bi.) ; be transferred by the Secretary of the
                         Interior m fey to t ie City of Bais~s upon pn~ymenG by the City of Raise
                         of the fair market value, as determined by tlz~ .'"secrn#ary, of the rights
                         conveyed.
                            (b) T)evelnprnent of ~therma~l resources puisc~ant to this Act. shall
                         not be ~roundg for the Secretnr~ of the Interior to assert t]ie raver-
                         aionary mterost of the United Skates in the subject lt~nds.
                            Spa 10(?2. T}f4V8IOpTC1811t p'~ Y}18 ~flO~I18TY11~I I'CSO11Y'CBfl COIl~Byei~ ~}~ tI119
                          Aar shall net unreasonably intQrfflre with development of other min-
                         eral interests rettiined by the UniCed States. The City of Boisc3 shall
                         permit the IInited States, its lns            anti agrents acc~~.~ for explor~4.ian
                         of mineral t~esnurccss not conveyed to the City.

                          TITLE. XI—TO ADD CERTAIN l'.ANDS TO THF. T~R(~NEE
                                      NATIdNAL FOREST, InAHn
          Efoundarirs       ~~c. 1101. The boundaries of the Tar~l~ee National Forest in Idaho
          m~a~fi~i;on.   are hereby modified to inehide within sstid national forest tl~e follow-
                         ing descnbeci l~ncis: ~i/,SWy,/a; '4VI/2~Ei/,~; anti ~SEi/aNEI/a, all in
                         Section 26, Township 18 North, Range 42 East, Boise Mend~an, in
                         F`t~mant Cloiinty, Idaho.
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 75 of 99 Page ID #:75




                            PUBLIC LAW 95-586--NOV. 3~ 19?8                         92 STAT. 2495

               TITLE XII—GRAND CANYON NATIONAL PARK
            The Act of February 26, 1816 (4U Stat, 1177; 16 ['.S.C. X22) is
          amonded by adding the foltawing ~entt~nco: "Under such terns and
          conditions as tie deems advisabte end con:~iste,nt with the r~c~uitrnients
          of section 4$8a of title Sl hereof, the att~ccrntury is authorized, witl~n~it 31 U5C 483a
          derogation of any of tl~e water rights of the United Statea and not-
          withstanding any provision of la~v to the contru:r~y, to smell by contract
          wester located within Grand Canyon ~~tional Park for the ns~ of
          customers within Visayan, Arizona, to ~, nonprofit enkity authorized
          to resc;eive and di~Gribut$ cvat~r within 7"usa~an, Arizona by tho lnws
          of the Stato of Arizona, uppn his dc~tc~rmin~tion that such solo is not
          detrimental to Lhe protsct.ion of t.}io resources of Grand Canyon
          National Perk or its viaitoi~ and tl►at appropriate measures to
          provide for such protection, includin~ n right of immediate termi-
          natian,are included in the t-rt~nsact~ion.' .
             Approved November 3. 197$.




          L.EGISI.ATIVE Hi5TORY:
          HOUSE REPORT No. 95-1008 (Comm. on taterior and Insular Affairs}.
          SENATE REPORT No. 95-1287 (Comm. on Energy and Naturel Reeourcea).
          CQNGRESSIONAL RECORD, Vol. 124 (1y78):
                Apr. 18, cwnsidtred aad passed House.
                Act. 12, considered aad peased Senate, amen~lcd.
                Oct. 14, House concurred in Senate amendments.
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 76 of 99 Page ID #:76




  ~                    l                             L                         l           L                                                                                       ~~~~ ~,,,~

                                                                                                                                                                                                      ShoppingCar
                  ~;~~rch D~rair~ 3dBt                     Rafer~na~ Center                     5uppart            Pathtiroder

 ~ march Documents ~ Results List
                                                                                                                                                                                                   Printer Friendly


      aatents                                                                                                                                                     land patent document, and has
                               Note: An Itnlic entry denotes data that has not been indexed against the
                               no image.
                                                                                                           to        DpcM       State          Merl is         L ~r+n-$nq.         Aliquots   Sec.Y       County,
                              Image —            cessla                     ~4P14~4m —

                                                                                                   6/25/1900         5565      CA       Sen Bernordino          ! 007N -072W                  15      :Los Angeles
                                        CA1060 .404               ~ WICKS, MOSES L

                                                                                                   6/25/7900         5565      CA       San ~ernvrdino           OU7N •012W                   15       Los Angeles
                                        CACAAA 0741.46            ~ WICKS, MOSES L



                                                                                                                                                      y               r
usa.cuv I             qG! I D~( I Q§9laimer ~ ho D             I ~ ~~ I Get Adube Reacl~n9 ~ White House I pL'S~4IYt R PerPonnance ~ ggar Financial Rerc
                                                                                                                                         ~        tiiP;canduct I Sorial P.1~ilia
Fr,vacV FrAi.:p I 1=61h I Wtln PnIiCY 1 1'orua::t l;s ~ Acet~„iN,ild9 ~ 61;,~ I Plnrne ~ Ohire of Civil Riglite I EF.O Violntlp~i Notices Re~~ort
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 77 of 99 Page ID #:77




                                                            CS.8200
                 ~
                 l~ ~                         L-~

                 ~ ~~e     ~               y~....~-.~+
_ ~-    -- - ~ --Y--~~.oa-                    sr.
                                                -~--
                 i~      -




                   MAP OF THE
       TOWN OF LANC.4SiER
                  -  9H0W~NG                           -
             CENTER L1v£9 OF STREETS n5
        E'9TABL/JHED AY 7HE COUNTY 3URVEVOR                ~

          COUNTY JUNVEMR3 MAP Me200
         J- E.Fixw~.o~o    Cou.v'ry 3~wvcvow
                 3~wvcric 'Ocrn~i~ IaIY.




~,
 I                               .~~r     /




                           .rtrw.r
                       wi~~
 ~F     a..i•M+ F~.M.M
                                        ~~..r.
 O
 N~     nor.. w..r~.~..~r ~ti
 O



                        w~.:.~:,.:.: ~ ~op.:
                        L M.~e                                 j
                                                                              Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 78 of 99 Page ID #:78




        ma .a+w,..r r~s ~t~sa.r ae~ae n~rr,. ~v....r                     1:
                                                                   ic2   1:



                                                                   J
                                                                   7
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 79 of 99 Page ID #:79




                                               x.... P ~    ~` _,~ An~~i
                                                                      ~Rii ( , @ h'A' ~r          ~ ~`~~ ~ ~   rN~ ~~,~~   a   ro~ R r           ~ ,,


                                                                                                     P.                         ~`ft'
                                                                                                                                                                                        }w:}     ~ F, j
                                                                                                                                                                                         ;~`      .+



                                                  :If\ 1



                            >            1 i                                                                                                 ^~~iY~~~~,
                                             ~ _ i
          ~
              ~ ~ ~ ~t.w '-^~`~..~.~,-~-'~~ -'_`
                    :._         T                    ~~~ . J ~_. ~ i . _ I~ .~~ _u.~
                                                   .M,. ~.r ~. T                ~..
                                                                                                                                                                                                            ~,
          ~i        '~
                     y. t
                                (.i      ~                  (`1      ~      ~                     ~._.., _
                                                                                                                                                      f                i                                     f
                                '''
                                ~'    ,~; ~          ~                                                                                  _:....    ~       .~
                                                           _.J,~'..,~r.~,..,L.....~                                                                                    .,    o,..._,.A_..._           ~            ..
                                                                                      .~     ~.




                                                                                                                                                          j f'          ~


          h

                                                                                                                                                 V ~ ~ ', i a
                                                                                                                                                                            l ~~.                  :,
                                                                                                                                                               ~i                   ~^


          h                                                                                                                                                                 , ~
                                                                                                                                                                                                                    -.
                                                                                                                                                                                                           _,~'~
                                                                                                                                                               ~


          D                                                                                                                                                                  ~ ~          ~y,,
                                                                                                                                                                        ~.i
                                                                                                                                                                   1` i j ~E ---
                                                                                                                                                                    I ~ '~' I~
          r                                                                                                                                                         ;~ .~ 'j ~~ ~ ._
                                                                                                                                                                                     ,
                                                                                                                                                                            ~ l ~

                                                                                                                                                                         IKi4
                                                                                                                                                                         • ~ l
                                                                                                                                                                         Iai 4 ,
                                                                                                                                                                            1 ~
                                                                                                                                                                        i I ;
                                                                                                                                                                           .  . .r.. _. ...           ,.

          ii}Z3


                                                                                                                                                                        `           ~
                                                                                           i 8K `~
                                                                                            x128;
                                                                                            ._~




                                                                                                                                                                              CIl'1' Cl~ LANi,A~?E~
                                       ~    rte,   . .          . . ..
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 80 of 99 Page ID #:80
                                                         ~:
                                                           ~.
                               A~A~' ,err




         '~~

     .>

   ~ti



                  . ~
                 r y~'
                * rfi,~
                                                                          ~t~~ ~
               ~~~
                 f~                                                        ~fi            k
                                                                                          N        '~

                                                                         !                    ~y              ~
                                                                          ~              ~~'' '               a
                                                                          t i x~         ~
                                                                           ~;~~ ~ ~ iw
                                                                          "+~~""~         r
                                                                          ~~..

                          ~I                                                                       ~ ~.
                                                                          ~,,, ,                   ;.
                                                                          ,~,~
               t r   ~*                                                   -~,,,
               i                                                         ,
                                                                         r * ~`~d
                                                                                ~.


          ~~                                                                        ~~


                                                                                               ~~,,^'".
                                                                                               1
                                                                                                       j
                                                                                                       9
                                                                                                       ~'
                                                                                         ,,



                                                                                                        ~ ~ ,~ ~„
                                                                                                                 ~.



                                                                                                                  {
                                                                                                                      ~.
                                                                                                                      r.

                                                                                                                      k




                                                                                                                           i


                                                                                         .
                                                                                         .~e~                                  ,.
Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 81 of 99 Page ID #:81




                   EXHIBIT B
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 82 of 99 Page ID #:82




1

              Ft Cif                                                                                   '~~tMI bK~(}
             ' ~ { ti..
         ~ 9~+~~Y
             ,
                                                                                                                                                                                  {
2        + ~y' ` '"

                              x            ICtt~              ~
3        .,          ~             ~                ~~~

4            +                 'l              +5                                                                                 ,~ . ..a-.

5
        ~                                                                   ,a                  ~,~~
6                             yy           ~.y}~              ~'


               :3 ~ ~ t                                                                                    .t ~~~
 s
 9

10

11
                                              #~
12                        i • 3.~&                                 p
                                                          i
                                                                       ~~      ~yt                                                                             g
                                                    }                                           ~,
13
                                                                                                                                                               '
                                                                                                                                                               4
                          ~                           `       ~   r                                                                                                k
14
                              1 -      k i                                                           ~i1fi~V'M

15                                        ~C t~

                                                                                                                                   ~ i34°~.~fll~                   j¢



16
                                              {~. ,                                                                   ~ ~
17
                                       ~                                                ~1.              ~ ,tai?
18
                                                                                                                        i
19                                                                       ~ ~
                                                                       `,                                     ry
                                                                                                                                                                         i
                                                                                                                                  ~ a 7 s:: 4~ ~~ ~ ~""~
2~
                                                                                                                                                           i

21                                                                                                                                                         i
                                                                                                                                                           i
22

23
                                                                                                       ~ ~~r~~P

24                                                                              a~;~,.... .a,                                                                           la~it~s
                                                                                                                        ,~,~.~:
25

26

27

28

      EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                                                                            19
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 83 of 99 Page ID #:83




1

2

3

4

5 ~

6

7

8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27



       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                20
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 84 of 99 Page ID #:84




1




}




5

6

    -,




10

11

12

13

14

15

16

17

18

19

20

21

22




24




26
    ,
L

~:~

           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                    21
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 85 of 99 Page ID #:85




                                                        ~~,~          ~     ~ .,                                                                           ,~                         ~r i ~/
                                                                                                                                              ~ r~                            ~t
                      . r. .-._                                                                                                       ~~         ~A ~
                                                                                                                                                               F~

                                                                                     ~             ~
                                                                                                                                                                    „~                      «~
                                                                                                                                                 i~


                                                                                                                                                                    ~ x&<         ~        l~il iR' ~' ~„►
                                                                                                                        1h        ,
                                                                                                                                # ~ F ~ ,ar t' ~► '~
                                                                                                   ry
                                                            ~ ~ ~* 1~a tf
                                                            [                      ~
                                                                                                                                                                                                 ~' ~ ~3
                                                                      ~                                                               ,
 5                                                   ,. _                   ~^                 ~r                                                                                                ,
                                                                                                                                                                                                             F
                                                                                                                                                                                                             ~,
                                                                                                                                                                                                       Yr
                                                                 :.         ~•              ; ; ~.         ,ak• ~`
                                                                                                                                                                                                  3


                          ~ ,:
                                                                                                                                                                                                     '~ r
                      ,. ~'~                                                                                                                                                                         ~ __ .~
                                                                                                                                                                                                       ~ "
                 ~t vlt t !~. ~t►11+a~! ~ !~tt t~ ~#~r~rt O~l~       tt                                                                                                                                 ~~ ~
               ~
           ~ilp ~~►#~ ~+t ~f ~~# ~ ~Nt~, ~ ~lb~ ~, T~t~ ~                          ~t,~~l~ ~ ~                                                                                                          ~ ~ :,~
 9       ~ ~ tip                                                        ~r~~  'fir                                                                                                                      ~~
io          ~ ~~        ~t  ~r ~r l   t~ t~~ ! t~t, ~tt~ et~rr+a~~`riM~~ r+~ ~i t~ r~Ott                                                                                                                ~m.
         ~                                                      t~
~~              l~' ~~r b~~~ lrttt~t~~ o~ t~i~ ~tt~t~ ~'! ~~       ~~ 1t  ~~e t~►1~a~4 ~t~~
          ~ ~ICJ ~r ~~r~b~ ~t ~l~+~d          ~1    dl~o ~d t~
                   ~~ ~ f~r ~ o~   ~i ~ ~~r ~it ~o
                                                 4 ~r ~    m~ e ~~ lI~Y ~t~t r~r~
~2            ~ 4~                         ~
13
                                                                                                                                                                                                             a



                                                                                         b+~r~                                                       1~             ~t ~~
                                                                  ~ +rte, +►r~ the ~11~a
                                                                                                                                                                                                                  ~
                       ~;~r~ ~~           t~t~ ~ ~                                                                                                                                                            ~a
                                                                                                                                                                          s                                 _ #,
16
                         f                                                                        ~ t~~~                              ~~           'pit' It
                 ~
                 ~ ~M ~~D ~~0~                          ~                        ~~f~~~4N1 ~! '~A
i~
                                                                      N~ ~i t                      tn~a~                  it tt~~
18
                       ~~             ~
                                     +~ ~d
                                          ~~ 1u~d ~
                                           ~a ~u ~# ~~ ~f     ~~ ~i~ b it ~                                                                                                                                       Y
~9            it ~r it~d i~ p~ ` 1 ~
             , #~l do flt~                                                ~~                                                                                                                                      i
             ~                                    tout~ ~d ~i~~~' t~ ~                                                                                                                                            ~{
Zo                ~~                  ~' ~~ tit x!1!0 t1~t~+~tA~'! l~~               ~i~ ~► tt ~ t~# ~1~~ A~~ M►~#~'                                                                       f :~k '~:
                                                                                                                                                                                                                  1



                                  at 9~~~ fit                  #if~~t~~ +i 1~l ~ #~t
2~         ili         a ~ti                                                                                                                                                                       $.

                                                                                                                                                                                                     ,....
                                                                                                                                                                                           a~F-aM r~
                                                                                                                                                         y~t i+/ u~      ~ =1 Y .r
                                                                                                                                         .
                                                                                                                                       a~{e     g., +n i ~
                                                                                                                                                y
                                                                                                                        a       a.
                                                                                               il/'q ~' y 4
22           .z                   {           .}               ~~ ~. Ar          ~ ~ M~
                                                                                 h                                                              r~ m ,,~+y          ~~p
                                                                                                       `+ x              <      K                                   tom' ~ ~'~b'~'ll
                                                                                                                                .~    i~        aN"' ~[ twi i                   ~w~,.,
                                                i                                                                       s, ,
                                                                          a~ t̀Y~`       ~'~ ~ "w.~ ~ If i~
                  ~                       ,, a * ~     ~, • q ~'t /II ~
23           '~ r          .~     ~

                                                                                                                                                                            r~,       ~~               i
                                                                                                                                                                                                       Sr
                                                                                                                                                          .'        !
                                                                                                                ,. .t     ~~~             i'~     x~!
                                                                                             ~.i        ,,.f,                    1!

2 Jc
                                                                                                                                                                                          ~
                                                                                              ~~                                                                                   ~~l~i~~~1 I „~~ "
26                                                                                                                                                                                              ;',v

27

28
                                                                   N   02 DECREE
         EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF AD~7ZJDICATIO 19
                                                                                                         22
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 86 of 99 Page ID #:86




 S




 Ci
                                EXHIBIT L-5

         PREDICTED FUTURE EARNINGS THROUGH THE RAILWAYS
 ;,

10

11
                        1892 TO 2028

,~
~~
15

16

17

18

19

20

21

22

23

24

25

26

27

'E.I:~

         EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                  ?3
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 87 of 99 Page ID #:87




    1



    }




    ~.


    v

    _~


     t




lU

11

1

1

1q


15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                    1902 DECREE
           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADNDICATION
                                                    29
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 88 of 99 Page ID #:88




                       ~~
1                                             tea .
                                           ~;:'   e
                                    ~. ~;~-S                                                        ~;
                          ..rti ~'         4                                                                    _
                        a~~                ~~
2
                                                               . .,          ,.                         ,_                ~: .,
3

4

5
                                                  y ~'
                                                     ,,
6

7                '
                 ,             ~,

8
                                                                                                ~.~
9
                                                                            ~ ~t
1~                                                             P ..         ~a~ ~„



11
            . ~~ ~~~ ~                     ~~~ ~~
                                              ~ ~                                              ..
12
           '                    ~'         fi k.
                                 1 4. ~ ~, .                                 .~g


13                                   S:.                              ~4~

                 r                                       's
14

15
                                                                                      .,       A

16                                         ~ .i
                                             p*       ~ f~`)
       + :~~is
       .             ~lF,~,i
                           ~~;a !{b { 7X
                                      ~:                                                            N,R±fP .   Mwel
                ,,~ ,,                                                                    ..
17       x , ~,~:.~ t~E,.~
                      ~ "` ~ ~~~ ~+LI ~~J
18                      ~~                                                                                            ~
                            4,
19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                                     25
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 89 of 99 Page ID #:89




 1



  }


  q

 ,~


 6

 7

 8

                            •            a
  9



                                             r



'i L


,~
  ~;
15

16

17
                                                 u
18

19

20

21




23

29

25                                                          C ~..~ i t~~ ~.~~i~~4~ft~~ih
26




         EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                  26
       Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 90 of 99 Page ID #:90




  C~




1 ~i



  1



LG
,



1 .~



"' Q



15

16

17

18

19

20

21

  ~>

23

24

25

-~

27

28

         EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                  '_ ~
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 91 of 99 Page ID #:91




1

2

3

4

5

6

7

8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                28
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 92 of 99 Page ID #:92




                       ~ u,            i
                              ~~,,,,        h
1                             ~~
                                           R.
                                                k
2

3

4
                                                    V~NYU~A C~UN?Y
5
                                                       LIGI~T RAIL
6
                                                      P APOAL
8
9
                                                                   /,
10

11

12

13

14
                                                                    b~'
15
                                                                    JQ~I~I ~.. LYNN
16                                                                  Sup~~r~~i~~~r, ~tl~ Diatrict
17

18                                                      ven~ur~ ~otit~ty lent Kafl ~'reseiitat~an
19                                                                              bcta~e Diu VCtC F~~~~ f~~ atl, i~vt

20

21

22

23

24

25

26

27



                                                                      DECREE
       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902
                                                              29
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 93 of 99 Page ID #:93




               ;;'
            . ~:
9             ~
              "

            r~>
r.

7     ,'
        s
      r

9      i

10

11

12

13

19

15

16

17

18

19

20

21                                                                               y.

22

23

24

25

26

27



                                                           CATION 1902 DECREF.
       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDI
                                                30
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 94 of 99 Page ID #:94




   1




   y
   ^



   J



   J
   F




, f1
'



'~




 1. _{



 l~



 l ~~




 17



 18

 19

 20

 21

 22

 23

 24

 25

 26




                                                                ATION 1902 DECREE
           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDIC
                                                    31
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 95 of 99 Page ID #:95




1

2

3

4

5

6

7

8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                32
         Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 96 of 99 Page ID #:96




    ~t



L

~,



,~

,~

,;

lb


1~


18


19

20

21

22

23

24

25

26

27

28

           EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                    33
     Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 97 of 99 Page ID #:97




1

~,

3                                                              ,~:
                                                                     k ~~`
4                                                  ~_ ,, ~_:
                         ~      ~~ x ''~     ~
                         w
5                        ~` y   ~',~' ~ ~,              _/
                                                 ~
                                                 ~
                                      ~:,;                                   ~   ;~'--
                                                                                 ,.
6                                    }ar         4~,y

                         :
                         %           ~~          ...~ ::dam►
7                                      ,~--                  r:
                                                          ~ ,.
8


9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                  34
      Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 98 of 99 Page ID #:98




1

,
.




       ~!

                                                                                       '
                                                   ~_       J
                                                            ~ ~           ,.
 F.
                                                                     .,



                                                                                                    .+~;


                                                                               '                      j,....
                                                                                                          ~
                                                                                                             .     ft #j


~o                                                              it

                                                                               It ;,                ..
11
        F
12

13
                   .iMs~e~~~,.~s~+ssw
14

15

16

17

18                                                 ~l~ J~~.~J.~ ~rr~:.I~i

19

2~
                                                                ~/`let~o ~~cll
                  ~,
                                                                                                                        ~J
21
                                                 ~.~    J                  ~                    /
22
                                                                                                                 "/,j
23

24                                               ~l~lt[~e ~p~~va~atdcr'                                             b
                                                                                                                                       ~t
25
                                                                                                                             ~
                                              a~,~,~ra~. Uf,rr.ra rrnr:err
            t o=; ,v~~.,~.i ~ ~ ~,~ i ~ E•~                                                                                      ;;~
26

27

28

       ( EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION 1902 DECREE
                                                                                           35
        Case 2:24-cv-00167-ODW-AJR Document 1 Filed 01/08/24 Page 99 of 99 Page ID #:99




 l




  y


  r~



  r




  `r5


    i



1 (_i



11



~Z




19      I



15

16

17

18

19

20

21

22

Cj



24

25

26 I

 2~

 28
                                                                      1902 DECREE
            EXHIBITS AND LODGEMENT QUIET TITLE NOTICE OF ADJUDICATION
                                                     36
